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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  TCL COMMUNICATION                       CASE NO: SACV 14-341 JVS(DFMx)
  TECHNOLOGY HOLDINGS, LTD.,
  et al.,                                 CASE NO: CV 15-2370 JVS(DFMx)
      Plaintiffs/Counterclaim-Defendants,

                     v.
                                                     181&352781&
   TELEFONAKTIEBOLAGET LM
  ERICSSON, et al.,                                     September 14, 2018
    Defendants/Counterclaim-Plaintiffs,

  ERICSSON INC., et al.,                             WR0$5&+
  Plaintiffs/Counterclaim-Defendants,

                     v.

  TCL COMMUNICATION
  TECHNOLOGY HOLDINGS, LTD.,
  et al.,

    Defendants/Counterclaim-Plaintiffs.


 Amended
 Memorandum of Findings of Fact and Conclusions of Law
 (16#-*$3&%"$5&%7&34*0/)




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      Amended Memorandum of Findings of Fact and Conclusions of Law

        This case focuses on the licensing of patents in the telecommunications field
 affecting 2G, 3G, and 4G1 cellular technologies. As discussed below, TCL
 Communication Technology Holdings, Ltd., TCT Mobile Limited, and TCT
 Mobile (US) Inc. (collectively “TCL”) manufacture and distribute cell phones on a
 world-wide scale. Telefonaktiebolaget LM Ericsson and Ericsson Inc.
 (collectively “Ericsson”) hold an extensive portfolio of telecommunications
 patents. TCL seeks to license Ericsson’s patents, but the parties cannot agree on
 terms.

       There is a critical overlay to this dispute. Standards organizations have
 evolved with the development of technology. The adoption of standards facilitates
 the overall development of technology and provides a common base which allows
 many manufacturers’ devices to perform reliably and interchangeably in a given
 telecommunications environment. The relevant standards organization here is the
 European Telecommunications Standards Institute, or “ETSI.” The acceptance of
 a patent holder’s patent into a standard is of great value to the patent holder, and
 enhances the monopoly which the patent holder has by virtue of his patent. The
 accepted patents are referred to as standard essential patents, or “SEPs.” Anyone
 who wishes to manufacture in accordance with the standard must secure a license
 from the patent holder. However, in exchange for acceptance of a patent as part of
 a standard, the patent holder must agree to license that technology on fair
 reasonable and non-discriminatory terms, or “FRAND” terms.

       The task of the Court here is three fold.2 The Court must determine whether
 Ericsson met its FRAND obligation, and then whether Ericsson’s final offers
 before litigation, Offer A and Offer B, satisfy FRAND. If they are not, the Court
 must determine what terms are material to a FRAND license, and then supply the



 1
  Unless otherwise specified, 2G refers to GSM, GPRS, and EDGE, 3G refers to W-CDMA, and
 4G refers to LTE and LTE advanced standards.
 2
  TCL’s complaint contained a cause of action for breach of contract, here the ETSI third party
 obligation. (Docket No. 31, Second Amended Complaint, First Cause of Action.) However, the
 Court granted summary judgment on the claim as to damages only in light of TCL’s discovery
 defaults with regard to damages. (Docket No. 1061.)

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 FRAND terms.3 (Docket No. 1055 at 3-5.) The Court is presented with two
 principal schemes for determining the proper royalty rate. TCL advocates a “top-
 down” approach which begins with an aggregate royalty for all patents
 encompassed in a standard, then determines a firm’s portion of that aggregate.
 Ericsson turns to existing licenses which it has negotiated to determine the
 appropriate rates. Ericsson also offers an “ex ante,” or ex-Standard, approach
 which seeks to measure in absolute terms the value which Ericsson’s patents add
 to a product.4

       The Court discusses the procedural and factual background of the dispute,
 considers the ETSI overlay, and then turns to the parties’ competing royalty
 approaches.

        At the end of the day, the Court reaches the following conclusions:

        • Ericsson negotiated in good faith and its conduct during the course of
        negotiations did not violate its FRAND obligation.

        • It is unnecessary for the Court to determine whether the failure to arrive at
        an agreed FRAND rate violated Ericsson’s FRAND obligation. Regardless
        of the answer to that question, the Court is required to assess whether
        FRAND rates have been offered in light of the declaratory relief which both
        sides seek.



 3
  The claims here are framed by the following pleadings in Case No. SACV14-341: TCL’s
 Second Amended Complaint (Docket No. 31), Ericsson’s Answer, Defenses and Counterclaims
 (Docket No. 59), and TCL’s Reply (Docket No. 66), as well as the following pleadings in Case
 No. CV 15-2370: Ericsson’s First Amended Complaint (Docket No. 17), TCL’s Answer,
 Affirmative Defenses, and Counterclaims (Docket No. 22), and Ericsson’s Amended Answer and
 Affirmative Defenses to TCL’s Counterclaims (Docket No. 52). However, the only claims tried
 were the parties’ respective claims for breach of contract and declaratory relief regarding
 Ericsson’s compliance with its FRAND obligation and declaratory relief for determination of
 FRAND rates. The parties’ respective claims regarding infringement, invalidity, and other
 substantive patent defenses were previously stayed. (See Docket No. 1448-1, p. 3.)
 4
  The royalty rates determined by the Court will also form the basis for the calculation of a
 release payment from TCL to Ericsson to compensate for TCL’s prior unlicensed use of
 Ericsson’s patents.

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         • Ericsson’s Offer A and Offer B are not FRAND rates, and thus the Court
         proceeds to determine FRAND rates, and does so.

       Pursuant to Federal Rule of Civil Procedure 52(a), the following constitute
 the Court’s Findings of Fact and Conclusions of Law.5

                                 PART I: BACKGROUND6

 I.      The Parties’ License Dispute and Litigation.

         A.      The Parties’ Negotiations and the Foreign Litigation.

       On March 6, 2007, two TCL affiliates–T&A Mobile Phones Limited (later
 renamed TCL Mobile Ltd.) and TCL Mobile Communication (HK) Company
 Limited–entered into 2G licenses with Ericsson with seven-year terms. (Exs. 64,
 65; Brismark Decl. ¶ 76; Guo Decl. ¶¶ 19-20.)

       Although there were some prior discussions, it was not until 2011 that TCL
 and Ericsson began to negotiate a 3G license in earnest. (Alfalahi Depo., Jan. 12,
 2016, pp. 206:20-207:6; Ex. 102 at 14-15.) TCL did not sell a meaningful volume
 of 3G phones until that year. (Trial Transcript (“TT”) Feb. 28, 2017, p. 103:11-15;
 Ex. 142.)

         In 2012, while the parties were still negotiating, Ericsson initiated a series

 5
  Although the court has labeled its final section as Conclusions of Law and so by implication the
 remainder are Findings of Fact, these labels are only applied to aid in understanding the opinion.
 See Tri–Tron Int'l v. A.A. Velto, 525 F.2d 432, 435–36 (9th Cir.1975) (“We look at a finding or
 a conclusion in its true light, regardless of the label that the district court may have placed on it....
 [T]he findings are sufficient if they permit a clear understanding of the basis for the decision of
 the trial court, irrespective of their mere form or arrangement”) (citations omitted); In re Bubble
 Up Delaware, Inc., 684 F.2d 1259, 1262 (9th Cir.1982) (“The fact that a court labels
 determinations ‘Findings of Fact’ does not make them so if they are in reality conclusions of
 law.”).
 6
  The parties have filed extensive evidentiary objections, some of which the Court ruled on during
 the trial. (E.g., Docket Nos. 1378, 1494, 1497, 1507, 1571, 1627, 1635, 1638.) Where evidence
 is cited, the Court overrules all objections. With regard to the balance of the objections, the
 Court does not rely on those matters and the objections are moot.

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 of foreign litigations against TCL for alleged infringement of Ericsson’s SEPs.
 Between October 2012 and late 2014, Ericsson filed at least 11 lawsuits against
 TCL and/or its affiliates in 6 different jurisdictions— France, the U.K., Brazil,
 Russia, Argentina, and Germany. (Docket No. 279-1, pp. 6-9; Brismark Decl. ¶
 78; Guo Rebuttal Decl. ¶ 59.)

         TCL continued to negotiate with Ericsson. In 2013, the parties began
 negotiating a license covering Ericsson’s 4G patents. (Ex. 102 at 19-20.) That
 year TCL started selling 4G phones, and Ericsson offered 4G rates to TCL for the
 first time. (Id.; Ex. 142.) But there was no offer or counteroffer exchanged that
 TCL considered to be on FRAND terms. (TT Feb. 15, 2017, pp. 17:7-19:9.)

        The rates Ericsson offered evolved over the course of the parties’
 negotiations. For example, Ericsson’s first 4G offer on March 25, 2013 was a
 running royalty rate of 3% for 4G handsets and tablets, with a $3 floor and $8 cap
 (on top of a $10 million release payment). (Ex. 102 at 19-20.) Less than two
 months later, Ericsson reduced the cap for 4G devices to $7. (Id. at 21-23.) About
 a month after that, Ericsson dropped the floor to $2.50 per 4G device. (Id. at 24-
 25.) After TCL filed this lawsuit, Ericsson made another offer on April 23, 2014,
 reducing the 4G rate to 2% and eliminating the floor and cap for any sales
 exceeding $3 billion U.S. (plus lump sum payments of $30 million per year for 5
 years and a release payment). (Id. at 27-29; Docket No. 138, Ex. A at 9-10, ¶ 7.1.)
 On February 11, 2015, Ericsson made another offer, reducing the 4G rate to 1.5%,
 with a $2 floor and a $4.50 cap (plus a release payment but no lump sum
 payments). (Ex. 102 at 29; Docket No. 138, Ex. B, pp. 8-9, ¶ 6.1.)

        Ericsson’s 3G offers show a similar drop during the negotiations.
 Ericsson’s first offer on July 25, 2011 was a 2% running royalty rate with a $2
 floor and $6 cap. (Ex. 102 at 14-15.) By the time Ericsson proposed Option B on
 February 11, 2015, Ericsson had reduced the running royalty rate to 1.2% with no
 floor or cap. (Docket No. 138, Ex. B, p. 8, ¶ 6.1.)

       At a meeting in February 2014, Ericsson made the license offer to TCL that
 would later form the basis for Option A. (Brismark Decl. ¶79; TT Feb. 14, 2017, p.
 169:13-18.) TCL’s George Guo followed up with an email stating that “[w]e just
 had an internal discussion on your proposal, it looks promising. We will form a
 team quickly to start the detail negotiation.” (Ex. 137 at 2; TT Feb. 14, 2017, pp.

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 169:19-170:8. ) However, TCL filed this lawsuit before the process could proceed
 further. (TT Feb. 14, 2017, p. 170:9-15.)

       At that time, the parties had already engaged in more than six years of
 negotiations: Ericsson had made over a dozen offers to TCL and multiple
 concessions in the process. (Brismark Decl. ¶¶ 78, 82; see also Exs. 1471, 1477,
 1481, 1483, 1485, 1487, 1491, 1494, 1497.) In addition, when the parties’
 negotiations failed, TCL and Ericsson agreed to engage in a binding court
 adjudication of terms for a worldwide portfolio license. (Guo Rebuttal Decl. ¶ 60;
 Brismark Decl. ¶¶ 76-82.)

           B.     The Filing of This Lawsuit and Subsequent Anti-Suit Injunction.

        In March 2014, the 2G licenses between TCL and Ericsson were set to
 expire. (Exs. 64, 65.) On March 5, 2014, TCL initiated this action. (SACV 14-
 341,7 Docket Nos. 1, 31; Guo Rebuttal Decl. ¶ 60.) Among other things, TCL
 sought a declaration that Ericsson had failed to offer FRAND terms and
 conditions, as well as a determination of the FRAND rates to which TCL is
 entitled. (Docket No. 31, p. 41, ¶¶ A, D, G.) Ericsson asserted counterclaims.
 (Docket No. 59.)

        On June 3, 2014, Ericsson filed what was essentially a mirror-image action
 against TCL in the Eastern District of Texas. (C.D. Cal., Case No. 2:15-cv-
 02370-JVS-DFM (as transferred), Docket No. 1.) In that case, Ericsson sought a
 declaration that it had complied with its FRAND obligation. (Id. ¶¶ 53-59.) In the
 alternative, Ericsson asked the Court to “declare what steps would be required to
 achieve such compliance.” (Id. p. 18, ¶ G.) Ericsson also sought a “compulsory
 forward royalty” in lieu of an injunction. (Id. ¶ I.) TCL asserted counter-claims.
 (Id., Docket No. 22, pp. 12-54.) On April 2, 2015, the Texas action was
 transferred to this Court. (Id., Docket No. 104.) On June 29, 2015, the transferred
 action was consolidated with TCL’s lawsuit. (Docket No. 279-1, p. 16.)

       On May 7, 2015, TCL filed a motion to enjoin Ericsson “from further
 prosecuting any actions alleging infringement of its 2G, 3G, and 4G patents until
 the FRAND issues are resolved here.” (Docket No. 195, pp. 12-13.) On June 29,

 7
     Unless otherwise noted, docket number reference as to Case No. SACV 14-341 JVS DFM.

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 2015, the Court granted TCL’s motion and enjoined the foreign litigation.
 (Docket No. 279-1, pp. 5-11.) In the Court’s view, a stay of the foreign litigation
 would allow the parties to concentrate on the overriding FRAND issues.
 Moreover, during the course of this litigation, TCL agreed to be bound by the
 Court’s determination of FRAND terms and conditions for a worldwide portfolio
 license, including a release payment for TCL’s past unlicensed sales. This
 effectively mooted Ericsson’s pending patent infringement claims against TCL in
 this Court and other courts around the world.

       C.     Ericsson’s FRAND Contentions.

        On February 24, 2015, the Court ordered Ericsson to file its “FRAND
 contentions,” i.e., what Ericsson contended would constitute FRAND terms for a
 license to its SEPs. (Docket No. 120.) Ericsson’s FRAND contentions contained
 two offers: “Option A” and “Option B.” (Docket Nos. 138, 205 (as amended in
 March and May 2015).) Options A and B are based on Ericsson’s April 23, 2014
 and February 11, 2015 offers, respectively. (Brismark Decl. ¶ 84.)

       Both Options A and B, if accepted, would grant TCL a forward license to
 Ericsson’s 2G, 3G, and 4G SEP portfolios, with coverage for TCL’s global sales
 of 2G, 3G, and 4G standard-compliant end user terminals,8 external modems, and
 personal computers (as those product categories are defined in the offers). (Exs.
 458, 459.) Both offers specify a release payment intended to compensate Ericsson
 for TCL’s unlicensed use of Ericsson’s SEPs in the past. (Exs. 458, 459.)

        Under Option A, for mobile phones, TCL would make an annual payment of
 $30 million for its first $3 billion in sales, with percentage running royalties for
 additional sales. (Brismark Decl. ¶¶ 89, 90.) The running royalty rates were 0.8%
 of the net selling price for phones with 2G GSM/GPRS, 1.1% for phones with 2G
 EDGE, 1.5% for 3G devices, and 2.0% for 4G devices, with a 50% discount for
 sales in China. (Brismark Decl. ¶¶ 89, 90.) For the first $3 billion in sales, TCL
 would pay an effective percentage rate of 1.0%. However, lower or higher sales
 volumes would produce a higher effective rate.
 8
  End user terminals are defined in Options A and B to include handsets (feature
 phones and smartphones) and tablets. (Ex. 458 at 2; Ex. 459 at 2.) In this Order,
 the Court uses the terms “end user terminal,” “handset,” “cell phone,” and
 “device” interchangeably.
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        Option A also included running royalty rates for external modems and
 personal computers. For external modems, the non-China per-unit rates are 1.5%
 of the net selling price for 2G or 3G with a $0.40 floor, $3 for 4G if the net selling
 price is $60 or more, and $1 for 4G if the net selling price is under $60 (the China
 rates are half as much). (Brismark Decl. ¶ 89.) For personal computers, the non-
 China per-unit rates were $0.50 for 2G GPRS, $0.75 for 2G EDGE, $2.25 for 3G
 single mode, $2.75 for 3G multi-mode, and $3.5 for 4G (the China rates are half as
 much). (Id.)

       Under Option B, for mobile phones, TCL would pay percentage running
 royalty rates as follows: 0.8% of the net selling price for 2G GSM/GPRS, 1.0%
 for 2G EDGE, 1.2% for 3G, and 1.5% for 4G with a $2.00 floor and a $4.50 cap.
 (Brismark Decl. ¶ 96.) For external modems, TCL would pay $0.75 per unit for
 2G or 3G, and 1.5% of the net selling price for 4G with a $2.00 floor. (Id.) For
 personal computers, the rates are the same as the non-China rates in Option A.
 (Id.)

        Ericsson’s Option A and Option B offers also contained a variety of other
 license terms. TCL subsequently agreed that certain terms—those regarding
 Non-Exclusivity, Licensed TCL Products, and the License Period—were
 undisputed and could be adopted into a final judgment. (Docket No. 935- 2, pp.
 15-16.) The Court later adopted these concessions. (Docket No. 1055, p. 9.)

        On March 22, 2016, well into this litigation, Ericsson offered TCL a license
 based on a pure dollar-per-unit rate structure. (Exs. 213-14; TT March 1, 2017,
 (Sealed Vol. 1) p. 18:13-23.) This was the first time in the lengthy negotiations
 that Ericsson had offered a per unit royalty. Ericsson later filed a motion to
 supplement its FRAND contentions with its March 22, 2016 offer as “Option C.”
 (Docket No. 694.) The Court denied Ericsson’s motion because Ericsson had not
 been not diligent and the late change would prejudice TCL. (Docket No. 760, pp.
 5, 6.)

       D.     The Trial.

      Following the Court’s ruling that TCL failed to provide evidence of
 damages because of its discovery defaults, the Court ruled that TCL’s remaining

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 claims were equitable and the trial would be before the Court. (Docket No. 1448-1
 at 2.) The Court held a 10-day bench trial starting on February 14, 2017.
 Following the Court’s standard procedure for bench trials, the parties submitted
 their direct examinations by declarations. The Court heard live testimony from
 twenty-four witnesses and received additional written direct testimony from two
 experts in foreign law. Closing arguments occurred on May 18, 2017. Prior to
 closing arguments the parties prepared proposed Findings of Fact (“FOF”) and
 Conclusions of Law (“COL”) which the Court cites to for each party’s contentions.
 (Docket No. 1650 (Ericsson’s proposed FOF and COL); Docket No. 1651 (TCL’s
 proposed FOF and COL).)

 II.   ETSI and the FRAND Obligation.

        ETSI is a not-for-profit association under French law. (Fauvarque-Cosson
 Decl. ¶¶ 14, 18; Stoffel-Munck Rebuttal Decl. ¶ 11.) The parties do not dispute
 that this case is governed by the ETSI Directives, and that the ETSI Directives are
 governed by the laws of France. (Fauvarque-Cosson Decl. ¶¶ 14, 18; Stoffel-
 Munck Rebuttal Decl. ¶ 11; ETSI IPR Policy § 6, Ex. 223 at 69.) Similarly, ETSI’s
 Intellectual Property Rights (“IPR”) licensing declarations state that “[t]he
 construction, validity and performance of this IPR information statement and
 licensing declaration shall be governed by the laws of France.” (ETSI IPR Policy
 Annex A, Ex. 223 at 9.) Thus, the FRAND commitment must be interpreted, and
 its performance evaluated, pursuant to French law. Fauvarque-Cosson Decl. ¶18;
 Apple, Inc. v. Motorola Mobility, Inc., 886 F. Supp. 2d 1061, 1081-1082 (W.D.
 Wis. 2012).

         ETSI’s acceptance of a patent holder’s patent as an SEP forms a contract
 which includes the patent holder’s obligation to license. Under French law, TCL
 is entitled to enforce this contract through the doctrine of stipulation pour autrui,
 or stipulation on behalf of a third party. (Fauvarque-Cosson Decl., ¶¶19-22.) The
 doctrine is akin to the concept of a third-party beneficiary at common law. ETSI is
 the promisee, the owner of a SEP who submits the IPR licensing declaration is the
 promisor, and the third-party beneficiaries are prospective licensees who benefit
 from the stipulation. Id.; Apple, Inc., 886 F. Supp. 2d at 1085.


 9
 For the ease of readers, when the Court cites to the ETSI IPR Policy or ETSI Guide on IPRs it
 will cite to both the documents’ internal section numbering and the trial exhibit number.

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         Under French law, a contract must be interpreted unless its terms are “clear
 and precise.” (Stoffel-Munck Rebuttal Decl. ¶ 12.) Although many contract
 interpretation rules exist, none are mandatory. (Id.) The main objective is to
 determine the common intent of the parties. (Id. ¶ 13.) If that cannot be
 discovered, the inquiry focuses on the understanding of a reasonable person. (Id.)
 It is common to use extrinsic materials, including negotiation documents, in
 following these rules. (Id. ¶ 12.) Contracts should also be interpreted such that
 they are internally consistent, and in a manner that complies with the law. (Id. ¶¶
 20, 21.)

       For this case, the two relevant parts of the ETSI Directives are the ETSI IPR
 Policy (Ex. 223) and the ETSI Guide on IPRs (Ex. 224). The actual form signed
 by each SEP-holder is ETSI’s IPR Licensing Declaration Form, which is part of
 the ETSI IPR Policy. (ETSI IPR Policy, Annex A, Ex. 223 at 9-10.) The FRAND
 commitment is found at § 6.1 of the ETSI IPR Policy and states:

              When an ESSENTIAL IPR relating to a particular STANDARD or
              TECHNICAL SPECIFICATION is brought to the attention of ETSI,
              the Director-General of ETSI shall immediately request the owner to
              give within three months an irrevocable undertaking in writing that it
              is prepared to grant irrevocable licences on fair, reasonable and non-
              discriminatory (“FRAND”) terms and conditions under such IPR to at
              least the following extent:

              •     MANUFACTURE, including the right to make or have made
                    customized components and sub-systems to the licensee’s own
                    design for use in MANUFACTURE;

              •     sell, lease, or otherwise dispose of EQUIPMENT so
                    MANUFACTURED;

              •     repair, use, or operate EQUIPMENT; and

              •     use METHODS.

              The above undertaking may be made subject to the condition that
              those who seek licences agree to reciprocate.

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 (ETSI IPR Policy § 6.1, Ex. 223 at 1-2 (emphasis added).) The capitalized terms
 are all defined in the ETSI IPR Policy’s Definitions section. (Id. § 15, Ex. 223 at
 6-8.) The Court will discuss ETSI’s definition of essential below.

        ETSI’s definition of IPR is “any intellectual property right conferred by
 statute law including applications therefor other than trademarks. For the
 avoidance of doubt rights relating to get-up, confidential information, trade secrets
 or the like are excluded from the definition of IPR.” (ETSI IPR Policy § 15.7, Ex.
 223 at 7.) As is clear from this definition, ETSI does not grant rights to IPR, and
 the FRAND obligation is not a supra-national patent. Instead, the FRAND
 undertaking is to be expressly interpreted as an encumbrance on the IPR, where
 applicable under the laws of the jurisdiction. (Id. § 6.1bis, Ex. 223 at 2.)

        A. The Mechanics of ETSI.

        Under ETSI’s IPR Policy, patent owners must disclose a patent which is or
 may become, essential to a standard. (Bekkers Decl. ¶ 37.) When ETSI becomes
 aware of a patent that is, or may become, essential to a standard, it asks the owner
 to declare that it is “prepared to grant irrevocable licences on fair, reasonable and
 non-discriminatory (‘FRAND’) terms and conditions . . . .”10 (Id. ¶ 38, quoting
 ETSI IPR Policy § 6.1, Ex. 223 at 1-2.) If a patent owner refuses to commit to
 license on FRAND terms and conditions, ETSI will attempt to design around the
 patent, and if that is impossible, then work will cease. (Bekkers Decl. ¶¶ 39-40,
 citing ETSI IPR Policy §§ 8.1.1, 8.1.2, Ex. 223 at 3.) According to ETSI, “in the
 absence of an agreement between the parties involved, the national courts of law
 have the sole authority to resolve IPR disputes.” (Bekkers Decl. ¶ 41, quoting
 ETSI Guide on IPRs § 4.3, Ex. 224 at 15.)

        In formulating its IPR Policy ETSI was concerned, among other things, with
 addressing the problem of “hold up.” (Bekkers Decl. ¶¶ 31, 46-50; Kennedy
 Rebuttal Decl. ¶ 259.) Hold up occurs when a patent holder seeks to extract more
 for the use of his patent than the value which his patent adds to a standard. ETSI’s

 10
   ETSI’s process does not assess whether declared patents actually are essential. This leads to a
 substantial over-declaration of patents. As discussed below in Part 2, Section IV.B.2, this is an
 issue where an SEP holder’s share of an aggregate royalty is based in whole or in part on patent
 counting.

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 precursor noted an IPR policy was necessary because “a standard may bestow a
 ‘windfall’ monopoly position for an individual supplier.” (Bekkers Decl. ¶ 31,
 quoting Ex. 1069 at 1.) Similarly, in 1993 the ETSI Chairman of Technical
 Assembly explained that an IPR Policy was needed because of the investment
 lock-in created by a standard. If a firm takes a license and incorporates that
 technology in its product, it cannot easily take an alternative path in developing
 and marketing its product. This lock-in “tilts the negotiating balance in favour of
 the IPR owner,” such that “the term ‘fair and reasonable’ for royalty becomes
 whatever anyone cares to demand,” increasing the risk that “[s]mall enterprises get
 pushed out of the market.” (Bekkers Decl. ¶ 52, quoting Ex. 1027 at 3.)

        ETSI was also concerned with price discrimination among potential
 licensees. (Bekkers Decl. ¶¶ 46-50, 57-60; Bekkers Rebuttal Decl. ¶¶ 20-28; TT,
 2/16/17, pp. 24:24-32:5.) For example, ETSI’s predecessor noted that absent
 uniform IPR commitments, “there will be a serious risk of distortion of market
 forces against [small and medium-sized enterprises] and in favour of large
 multinationals.” (Bekkers Decl. ¶ 47, quoting Ex. 1584 at 14.)

       The ETSI IPR Policy forbids discrimination based on nationality or ETSI
 membership, but the policy is not so limited. (Bekkers Rebuttal Decl. ¶ 21; ETSI
 IPR Policy § 6.1, Ex. 223 at 1.) ETSI organic documents specifically note the
 concern with protecting small and medium-sized enterprises. (Ex. 1584 at 14; Ex.
 5289 at 4, 6.) They also demonstrate that ETSI sought to extend the same
 protections against discriminatory terms and conditions for ETSI members to
 non-members. (Ex. 5289 at 5.)

        Yet the precise contours of the FRAND obligation were never crystalized in
 a definitive formulation. Over time, there have been several efforts within ETSI to
 further define the meaning and application of the FRAND obligation. (Bekkers
 Rebuttal Decl. ¶¶ 7-12; Ex. 238 at 8-9, 19-22, 67; Ex. 239 at 2-6; Ex. 240 at 1-2;
 Ex. 241 at 2; Ex. 242 at 2-4.) During these efforts, two camps emerged among
 ETSI’s members: They disagreed on whether to further define FRAND in the
 ETSI IPR Policy, and if so, how. (Bekkers Rebuttal Decl. ¶¶ 7-12; see also Ex.
 240 at 2.)

       The first camp has sought a more specific policy that would provide
 information that implementers of the standards believe would prove useful by

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 removing ambiguities (e.g., by defining specific practices as non-FRAND, and
 identifying a common royalty base). (Bekkers Rebuttal Decl. ¶ 10.) The second
 camp sought to preserve the policy’s status quo, such that aggrieved implementers
 (or patent owners) can go to the courts or submit to arbitration in order to resolve
 IPR disputes. (Id. ¶ 11.) This camp took the view that there is “no sense in such
 attempts [to define exemplary non-FRAND practices] as each case is different and
 the decision on FRAND conditions is, finally, a matter for the courts of law.” (Id.
 quoting Ex. 238 at 9.) Ultimately, the efforts within ETSI to further define
 FRAND were unsuccessful because the two competing camps could not find
 sufficient common ground to pass any reforms. (Bekkers Rebuttal Decl. ¶ 12.)

       The inconclusive history of ETSI’s development of FRAND presents the
 Court with difficulties in applying the concept. ETSI’s IPR Special Committee has
 explained that “[t]he absence of an agreement on a more detailed definition of
 FRAND or on compensation elements under the FRAND commitment does not
 imply their inexistence.” (Ex. 4622 at 6 (October 2012 report).) Early ETSI
 documents also show that ETSI did not want to “tilt[] the negotiating balance in
 favour of the IPR owner” by defining FRAND so broadly as to mean “whatever
 anyone cares to demand.” (Ex. 1027 at 3.) The lack of consensus within ETSI
 about further defining the FRAND obligation has left the resolution of
 FRAND-related disputes to the national courts. (Bekkers Rebuttal Decl. ¶ 18; see
 also Ex. 241 at 2.)

        There is at least some guidance in ETSI’s consideration and ultimate
 rejection of the “most favored nations (or here licensee) concept.” The 1993
 version of ETSI’s IPR Policy contained a “most-favored licensee” provision. (Ex.
 1583 at 46.) This provision concerned the re-opening and re-negotiation of
 existing licenses that would require a licensor to:

              promptly notify a licensee of any licence granted by it to a third party
              for the same IPRs under comparable circumstances giving rise to
              terms and conditions that are clearly more favourable, in their
              entirety, than those granted to the licensee and allowing the licensee
              to require replacement of the terms and conditions of its licence, in
              their entirety, either with those of the third party licence, or with such
              other terms and conditions as the parties may agree.”



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 (Id.)

        ETSI’s members ultimately approved an ETSI IPR Policy that did not
 require such re-opening and re-negotiation of prior licenses. (Bekkers Decl. ¶¶
 59- 60.) In particular, the 1994 version of the IPR Policy did not include the
 “most-favored licensee” provision quoted above. (Id.) However, the obligation of
 the patent owner to license its patents on non-discriminatory terms and conditions
 remained essentially unchanged between the 1993 and 1994 versions of the ETSI
 IPR policy, and continues in effect today. (Bekkers Decl. ¶¶ 56, 60; TT, Feb. 16,
 2017, pp. 22:22-24:23.)

       Neither the history of ETSI’s policy development nor the meager case law
 development of the FRAND concept provides the Court definitive guidance in
 assessing whether Ericsson’s offers have been non-discriminatory. As TCL
 suggests, the Court must turn to law, logic, and economics. (TCL FOF,¶ 81.)

                       PART 2: TCL’S TOP DOWN ANALYSIS

         Before turning to the royalty setting analyses advanced by the parties’
 experts, the Court makes one central observation as the fact finder in this case.
 The search for precision and absolute certainty is a doomed undertaking. See
 Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1315 (Fed. Cir. 2014). The
 complexity of the analyses and the number of variable components inevitably lead
 to criticism. Indeed, there are facial limitations in the analyses themselves.11 The
 Court’s effort has been to determine whether each expert’s work has a reasonable
 level reliability and convincing force that allows the Court to make a judgment
 whether to accept the ultimate conclusions advanced.

        To establish the appropriate FRAND rate in this case, TCL advances a so-
 called “top down” approach. A top down model aims to value a portfolio of SEPs
 by determining a fair and reasonable total aggregate royalty for all patents that are
 essential to a standard. It then apportions that royalty to the SEP owners based on
 the relative value of their portfolio against the value of all patents essential to the
 standard. (Leonard Decl. ¶ 40.) In simplest terms, TCL’s top down approach
 computes a fraction of the aggregate royalty where the numerator is the value of
 11
  For example, Dr. Leonard only used United States patents in his survey of SEPs. And Dr.
 Kakaes looked only to English language patents in his work.

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 the SEPs owned by Ericsson for that standard, and the denominator is the total
 value of all SEPs in that standard.

        The appeal of a top down approach is that it prevents royalty stacking.
 Stacking occurs when each individual SEP holder demands a royalty which when
 totaled exceeds the value of all the SEPs in a standard. Because the top down
 methods starts with the maximum aggregate royalty burden and works down to a
 fair and reasonable rate, it avoided the possibility that licensees will be forced to
 pay an unreasonable amount in total. If the total aggregate royalty is properly
 based upon the total value of the patents in the standard, it can also prevent hold-
 up because it prevents SEP owners from charging a premium for the value added
 by standardization.

        The top down approach used by TCL directly examined the essentiality,
 importance, and contribution of Ericsson’s patents for each standard and provided
 a method to account for the value of expired and acquired patents, as well as
 regional differences in Ericsson’s patent portfolio. A top down method, however,
 cannot address discrimination as the Court interprets the term, and is not
 necessarily a substitute for a market-based approach that considers comparable
 licenses.

       Significantly, Ericsson did not present its own top down model.

 I.    Summary of TCL’s Top Down Approach.

       TCL presented its top down analysis in nine steps.

       Step 1: Dr. Gregory K. Leonard selected a maximum aggregate royalty of
 6% of the price of a 4G handset, and 5% of the price for a 2G/3G handset.
 (Leonard Decl. ¶ 73.)

       Step 2: Dr. Zhi Ding, Dr. Apostolos Kakaes, and teams at Concur IP and
 Ernst & Young India determined the total number of SEPs for each standard as of
 September 15, 2015. (Kakaes Decl. ¶ 31.) This became the denominator for
 calculating Ericsson’s proportional share of each standard. The remainder of the
 analysis focused on determining the appropriate numerator and modifiers to apply.



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       Step 3: Dr. Kakaes and Dr. Nikil Jayant ranked all of Ericsson’s 192 claim
 charted patent families on a scale of 1-3 for essentiality.

       Step 4: Dr. Kakaes and Dr. Jayant then evaluated the importance and
 contribution of each patent family they found essential.

        Step 5: Dr. Leonard then applied certain adjustments to arrive at royalty
 rates. He adjusted the numerator based on the importance and contribution
 rankings from Dr. Kakaes and Dr. Jayant to reflect the relatively low value of
 Ericsson’s patents.

       Step 6: Dr. Leonard then confirmed his view on the value of Ericsson’s
 patents with a forward-citation analysis, which attempts to determine the value of
 U.S. patents based on the frequency with which they are cited in later patent
 applications. (Leonard Decl. ¶¶ 109–117.)

       Step 7: Dr. Leonard then adjusted for changes in Ericsson’s portfolio due to
 acquisitions and expirations. (Id. ¶¶ 120–131.)

        Step 8: Dr. Leonard then accounted for Ericsson’s weaker patent portfolio
 in some countries, by determining its patent portfolio strength in each region
 relative to Ericsson’s strongest patent portfolio, which is for the United States.
 (Id. ¶¶ 132–134.)

        Step 9: Dr. Leonard then used TCL’s sales data to weight the royalty by
 region and blended the regional royalties together to create a single global royalty
 rate for each standard. (Id. ¶¶ 67, 139, 142.) He determined that a fair and
 reasonable royalty for Ericsson’s 4G SEPs was .16%, and for 2G/3G was .21%.
 (Id. ¶ 11, Table 1.)

 II.   Summary of Court’s Conclusions

       As explained below, the Court rejects TCL’s analysis presented in steps 4-6,
 and 9 on factual and/or legal grounds. This ultimately meant that the Court did not
 accept Dr. Leonard’s final results. However, the Court uses the data it did accept
 to construct a number of rates based on different assumptions and approaches. The
 Court adopts a simple patent counting system which treats every patent as

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 possessing identical value, and then applies the numbers that it found reliable from
 the analyses provided by TCL’s experts. The formula for Ericsson’s royalty rate is
 its proportional share of the total aggregate royalty. This can be expressed as:




 Ericsson’s proportional share can be further broken down as:




 Throughout this section, the Court refers to the number of unexpired SEPs owned
 by Ericsson as the numerator, and the total number of SEPs as the denominator.
 As explained below, because Ericsson’s SEP portfolio is weaker in some countries
 than others, the Court also had to apply a regional strength ratio. The full top
 down formula used by the Court can be expressed as:




 III.   Summary of Experts and their Qualifications

       TCL’s top down approach primarily relies on the testimony of three experts,
 Dr. Kakaes, Dr. Ding, and Dr. Leonard.

        Dr. Kakaes is a consultant at Cosmos Communications Consulting
 Corporation. (Kakaes Decl. ¶ 1.) He holds a B.S. and M.S. in Applied
 Mathematics and Electrical Engineering from the University of Colorado. (Id.) In
 1988, he was awarded a Ph.D. in Electrical Engineering from the Polytechnic
 Institute of New York. (Id.) From 1987 to 1994, he worked in the Department of
 Electrical Engineering at George Washington University, Washington D.C., where
 he developed and taught George Washington University’s first course on mobile
 communications (Id. ¶ 2.) As part of his consulting work, he provides advice on

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 telecommunications patents, their features, and their technical development. (Id.)
 He has also served as an expert witness in a number of cases involving SEPs. (Id.
 ¶ 4.)

        Dr. Ding has been a Professor in the Department of Electrical and Computer
 Engineering at the University of California, Davis, since July 2000. (Ding Decl. ¶
 1.) He holds a Ph.D. in Electrical Engineering from Cornell University, and a
 Masters of Applied Science from the University of Toronto. (Id. ¶ 2.) He has
 published over 160 peer-reviewed research articles on communications and
 signals, as well as an introductory textbook to communications systems. (Id.)
 Since 2007, he has engaged in extensive work as an expert in litigation involving
 cellular and Wi-Fi SEPs. (Id. ¶ 10.)

        Dr. Leonard is an economist and partner at Edgeworth Economics.
 (Leonard Decl. ¶ 2.) He received his bachelors degree in Applied Mathematics-
 Economics from Brown University, and a Ph.D. in Economics from the
 Massachusetts Institute of Technology. (Id.) He currently serves as a senior
 editor of the Antitrust Law Journal. (Id. ¶ 4.) He has published over sixty papers
 in scholarly and professional journals, many of them addressing econometrics,
 intellectual property, and FRAND royalty rates. (Id. ¶ 3.) He has also served as
 an expert witness in a substantial number of cases over the past four years. (Id. ¶
 6.)

        Even though the Court did not accept each expert’s opinions in their
 entirety, the Court found the experts well qualified in their fields of endeavor.

 IV. The Components of TCL’s Top Down Analysis.

         The Court reviews TCL’s steps in more detail, including Ericsson’s
 criticisms.

       A. Setting the Total Aggregate Royalty Burden.

        Ericsson has long argued that a fair and reasonable royalty rate for a SEP
 license can be determined using a top down approach, or what the Court calls a
 simple patent counting system. This is significant apart from the specific
 aggregate burdens Ericsson has advanced. In 2008 for example, Ericsson stated

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 on its website that its licenses complied with the “prevalent industry interpretation
 of FRAND, i.e. the basis is a reasonable maximum aggregate royalty rate to which
 each patent holder is entitled a proportion according to its relative share of all
 standard essential IPR.” (Ex. 1152 at 1.) Ericsson has repeatedly affirmed its
 policy of calculating rates based off of a total aggregate royalty burden in its
 interrogatory responses, depositions, and during trial. (E.g., Ex. 131 at 26, 34; TT,
 Feb. 28, 2017, p. 14:1-19; Brismark Depo., Dec. 18, 2015, pp. 65:9-21.)

        Historically, Ericsson has advanced specific targets for an appropriate total
 aggregate royalty burden. TCL has not advanced a methodology to independently
 determine a fair and reasonable total aggregate royalty. Instead, TCL pegs the
 total aggregate royalty to statements made by Ericsson and other SEP owners
 before each standard was adopted. These statements are important because (1)
 they were made prior to, or around, the time the respective standards were being
 set, such that they reflect the ex ante expectations of what a reasonable aggregate
 royalty burden should be before the standard was adopted and manufacturers are
 locked-in; and (2) they were made at a time when Ericsson was both a licensor and
 licensee with respect to SEPs that read on handsets, and thus Ericsson had an
 incentive to strike a reasonable balance. (Leonard Decl. ¶¶ 77, 78.) These
 statements were thus intended to provide insight and incentives to encourage other
 companies to invest in the standard. (Brismark Rebuttal Decl. ¶ 12.)

         Ericsson contends that any method for determining a FRAND rate that starts
 with the total aggregate royalty should be excluded because it does not account for
 subsequent releases of the standard that include additional valuable features.
 (Ericsson FOF, ¶ 258.) The only feature added to any standard after Ericsson’s
 initial estimates of an appropriate total aggregate royalty is carrier aggregation for
 4G. (Id.) However, Ericsson knew that 4G would continue to advance just as
 every standard before it continued to advance. Carrier aggregation itself was a
 part of 3G, and given its participation in 3GPP Ericsson certainly should have
 anticipated that carrier aggregation, along with other valuable features, would be
 added to 4G. (Kakaes Decl. ¶ 389 (describing 4G carrier aggregation as “a simple
 extension of well-known techniques, plus a bit of common sense”).) Adding
 features to a standard does not undermine TCL’s reliance on statements Ericsson
 made to induce the market to adopt Ericsson’s preferred standards. The Court
 does not believe that Ericsson’s shift from advocating a top down approach to
 preferring a comparable license analysis was caused by or at all related to

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 subsequent additions to the standard. The Court would have certainly considered
 applying a higher total aggregate royalty than the one initially announced by
 Ericsson if Ericsson had provided evidence that showed the value of subsequent
 additions to each standard. However, without any such evidence the Court cannot
 simply assume that additions to the 3G or 4G standards make Ericsson’s own top
 down methodology unreliable. Finally, Ericsson has patents for later additions to
 each standard which are included in the numerator of a top down calculation.
 Thus, Ericsson does receive credit in its proportional share for later additions to
 the each standard.

      The Court now discusses the press releases where Ericsson and other
 companies publicly announced total aggregate royalty rates for each standard.

       1. 2G/3G.

       Beginning in at least 2002, Ericsson endorsed the concept of an aggregate
 maximum royalty. In a joint press release with other companies in the industry,
 Ericsson told the market:

             Industry leaders NTT DoCoMo, Ericsson, Nokia and Siemens today
             reached a mutual understanding to introduce licensing arrangements
             whereby essential patents for W-CDMA are licensed at rates that are
             proportional to the number of essential patents owned by each
             company. The intention is to set a benchmark for all patent holders of
             the W-CDMA technology to achieve fair and reasonable royalty rates.

             The companies together own the clear majority of the essential
             Intellectual Property Rights (IPR) relevant to the W-CDMA standard
             selected already by about 110 operators worldwide. This arrangement
             would enable the cumulative royalty rate for W-CDMA to be at a
             modest single digit level.

 (Ex. 333 at 1; emphasis added.) In the same press release, Nokia endorsed a 5%
 figure and NTT DoCoMo advocated for “keeping cumulative royalty rate below
 5%.” (Ex. 333 at 2.) Equally important is the fact that these companies advocated
 a licensing system based on a proportional number of SEPs owned by each
 company which treated each patent equally. In other words, none of the

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 adjustments made by Dr. Leonard were reflected in the industry pronouncements
 at the time.

         Ericsson did not dispute the press release or its intentions, but instead
 sought to put it in context. (Brismark Rebuttal Decl. ¶¶ 15–16.) In 2001, NTT
 DoCoMo introduced the first 3G handset, which retailed for $560, or $800 with a
 video camera, and in 2003 Ericsson (through its joint venture with Sony) released
 its first 3G phone which was priced at $835. (Ex. 5397; Brismark Rebuttal Decl. ¶
 16.) Ericsson executive Lars Gustav Brismark stated that “These are the 3G
 mobile phone prices that we had in mind when we made the public statements
 found in the 2002 press release . . . .” (Brismark Rebuttal Decl. ¶ 16.) A 5% total
 aggregate royalty applied to phone prices of $560, $800, and $835 would provide
 a royalty of roughly $28, $40, and $42, respectively. It is not clear whether
 Brismark had the foundation for these observations, given that he was on the
 engineering side of the business and was a project manager for W-CDMA radio
 access networks at the time. (Brismark Decl. ¶ 5.) Regardless, the Court is
 unconvinced by his attempt disavow Ericsson’s commitment to calculate royalties
 based on a proportional share of a total aggregate royalty capped at a modest
 single digit. These statements were about the overall rate for the industry, and
 Ericsson has provided no evidence that shows they were conditional on specific
 returns for itself. More telling is the fact that three of the documents Ericsson
 annexed to its 2014 sale of SEPs to Interdigital were: the ETSI IPR Policy, its
 2002 press release, and the 2008 press release discussed below. (Ex. 1150 at 128,
 135, 136.) Ericsson has not produced any evidence that shows that these public
 statements were conditioned on a particular set of prices or return to Ericsson.

        The Court finds that on this record 5% is an appropriate number to use for
 the total aggregate royalty for 2G12 and 3G. While outside groups not a part of this
 press release may have expected higher rates, Ericsson advocated and expected a
 rate close to 5%. Ericsson may feel that such a rate for its 3G SEPs would
 undercompensate it now, but it has not shown that its desire for a higher rate today


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  TCL creates a blended 2G/3G rate, which necessarily means that its 2G-only devices would be
 subject to the same 5% total aggregate royalty, although it provides no similar statements from
 Ericsson regarding 2G. However, Ericsson does not dispute that if 5% is an appropriate total
 aggregate royalty figure for 3G, it is also an appropriate total aggregate royalty for 2G. The
 Court therefore accepts that 5% is appropriate total aggregate royalty for both standards.

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 is fair, reasonable, or sufficient to ignore the commitment it made that successfully
 induced manufacturers to adopt the 3G W-CDMA standard.

       2. 4G/LTE.

       In April 2008, Ericsson again stated its commitment to a total aggregate
 royalty approach. In a posting on its website, Ericsson advised:

              . . . Ericsson expects to hold a relative patent strength of 20-25% of
              all standard essential [4G] IPR. Ericsson believes the market will
              drive all players to act in accordance with these principles and to a
              reasonable maximum aggregate royalty level of 6-8% for handsets.
              Ericsson’s fair royalty rate for LTE is therefore expected to be around
              1.5% for handsets.

 (Ex. 1152 at 1.) Ericsson also issued a joint press release with Alcatel-Lucent,
 NEC, NextWave Wireless, Nokia, Nokia Siemens Networks, and Sony Ericsson
 that announced:

              Specifically, the companies support that a reasonable maximum
              aggregate royalty level for LTE essential IPR in handsets is a single-
              digit percentage of the sales price. . . . The parties believe the market
              will drive the LTE licensing regime to be in accordance with these
              principles and aggregate royalty levels.

              This framework balances the prevailing business conditions relevant
              for the successful widespread adoption of the LTE standard, which
              continues its progress toward definitive adoption by the industry in
              the applicable standards forums and organizations.

 (Ex. 1146 at 1.) The press release also invited “all interested parties to join this
 initiative which is intended to stimulate early adoption of mobile broadband
 technology across the communications and consumer electronic industries.” (Id.)
 Brismark confirmed at his deposition and at trial that Ericsson had repeated its
 commitment to a “single-digit aggregate royalty burden for LTE” during its 2015
 arbitration with Huawei. (TT Feb. 28, 2017, pp. 24:22-25:9; Brismark Depo. 18,
 2015, p. 66:4-18.) Ericsson also confirmed its commitment to a single-digit

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 royalty for LTE in its interrogatory responses to TCL in this case. (Ex. 131, p.
 26:8-10 (“Ericsson’s position is that the total accumulated royalties for 4G
 standard essential patents should be in the single digits, and Ericsson has been
 consistent in this position over time.”).

       Ericsson admitted making these statements, but argued that: (1) they were
 intended to be a prediction or hope for where the market would eventually drive
 royalty rates, (2) these statements were made against the backdrop of much higher
 industry estimates of the total aggregate royalty burden, and (3) they were made in
 the context of higher average selling prices for 4G phones which Ericsson did not
 expect to drop so low. (Ericsson FOF, ¶¶ 246, 249.)

        On the first point, the Court does not interpret Ericsson’s statements merely
 as a prediction of the market. Ericsson is a major player in the
 telecommunications industry, and a joint press release with other major companies
 is fundamentally different than, for example, a prediction by an academic in a
 journal. The statements were current endorsements of a conceptual approach that
 sought to have LTE adopted as the 4G standard instead of two competing
 standards, UMB and WiMAX. (Brismark Decl. ¶¶ 38-39.) At the time of
 Ericsson’s press release, WiMAX had a substantial head start because two U.S.
 carriers had already launched WiMAX networks, while LTE would not be
 commercially launched for another eighteen months. (Id. ¶ 41.) The joint press
 release was designed to entice manufacturers to invest in LTE over WiMAX and
 UMB by promising them that Ericsson and others would use this approach with
 these expected LTE royalty rates. Ericsson was willing to do this because it was
 invested heavily in LTE, but had not invested at all in WiMAX or UMB.13 (Id. ¶
 38; Ex. 4366 at 30.) If LTE were not adopted as the 4G standard, Ericsson’s
 investments would have been wasted, and instead it would be forced to pay other
 companies in order to build its own infrastructure equipment. Ericsson was
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   This reason also requires the Court to find that the announced rates are implicitly for multi-
 mode devices. A 4G multi-mode device, for example, can use 4G, 3G, or 2G networks.
 (Parkvall Decl. ¶ 22.) Backwards compatibility is especially important when a standard is first
 adopted so that carriers and consumers can continue using existing products and gradually
 transition to newer standards. If the rates Ericsson and others announced in their press release
 were for single-mode devices, it would undermine an important advantage of LTE over WiMAX,
 and would create obvious stacking issues if these companies actually expected to add the 4G total
 aggregate royalty to the 3G total aggregate royalty and multiple 2G total aggregate royalties.
 (Brismark Decl. ¶ 39.)

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 ultimately successful: Qualcomm announced in November 2008 that it was
 abandoning UMB, and by late 2011 WiMAX was being phased out. (Id. ¶ 40-41.)
 Now both standards are essentially obsolete. (Id. ¶ 41.) Ericsson’s statements
 were thus not a hope or prediction, but a pledge to the market that if the market
 adopted Ericsson’s championed standard, the total aggregate royalties would be
 calculated as described above. Brismark also clarified in response to a question
 from the Court that Ericsson believed the market would drive the royalty to 6-8%
 in particular, and that Ericsson thought, and still thinks, that a single digit
 percentage royalty is a reasonable royalty rate. (TT Feb. 28, 2017, p. 113:1-9.)
 This leaves the Court with the view that before the adoption of the 4G standard,
 Ericsson thought a total aggregate royalty for 4G would be as low as 6% (if not
 lower), but certainly not higher than 10%.

         Ericsson also cited to various studies and papers that estimated a much
 higher 4G total aggregate royalty rate. The Court discounts these. These include
 three surveys by an industry consortium called Next Generation Mobile Networks
 Alliance that combined anonymous industry surveys to produce total royalties of
 33%, 37.3%, and 28.8%, respectively. (Ex. 1172 at 7; Ex. 1173 at 8, Ex. 1155 at
 6.) Ericsson also pointed out that the publicly declared rates in 2010 from just
 nine SEP owners totaled 14.8% of the handset selling price. (Ex. 1063 at 3.)
 However, these figures were volunteered by individual companies, virtually all of
 whom had yet to convince anyone to pay anything close to these rates because the
 first connection between an 4G device and a 4G network only occurred in October
 2009. (Brismark Decl. ¶ 29.) The Court would actually expect that the rates
 companies publicly declared in 2008-2010 to be artificially high because each
 company knows that the figure it announces will naturally turn into the ceiling for
 what it can demand from future licensees. In addition, no one was checking
 whether the individual rates that companies announced were fair, reasonable, or
 based on anything other than a desire to maximize royalty revenue. (E.g., Ex.
 1063 at 3.) Simply totaling individually announced rates plays into the trap of
 stacking, a vice which standardization seeks to avoid. The total aggregate royalty
 announced in the joint press release is more accurate and reasonable because those
 firms faced a countervailing pressure to keep the aggregate estimate low enough to
 encourage investment and adoption of LTE over the alternatives, they know that
 they will be asked to pay the same rates as licensees, and because if LTE was not
 adopted then their investments in it become obsolete.



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        Ericsson also suggested that its statements in 2008 cannot be used in this
 case because it did not anticipate the decline in the price of phones. (Ericsson
 FOF, ¶¶ 248-48.) Ericsson is correct that 4G phone prices have fallen since 2008,
 but Ericsson certainly expected that to happen. In 2008 the average price of a 3G
 smartphone was $430, and Ericsson anticipated that 4G phones would initially be
 priced at over $500. (Brismark Rebuttal Decl. ¶ 17.) This was initially true, and
 when 4G smartphones debuted in 2011-2012, the average retail price was $630.
 (Id.) Sony Ericsson’s phone, the Sony Xperia V was priced around $750. (Id.)
 By 2015, however, nearly half of all smartphones sold for less than $150.
 (Kennedy Rebuttal Decl. ¶¶ 176, 178.) Ericsson’s argument that in 2008 it did not
 anticipate phone prices would drop is not credible in the face of Brismark’s own
 testimony that starting in 2005-2007 Ericsson had just seen the prices of low-end
 3G phones drop more quickly than expected. (Compare Ericsson FF, ¶ 248 with
 TT Feb. 28, 2017, p. 81:7-22.) This drop in prices was even borne out by the
 prices of Ericsson’s own phones. Ericsson’s first 3G phone retailed for $835 in
 2003, while its first 4G smartphone debuted nine years later already showed a
 decline in prices and cost $750. (Brismark Rebuttal Decl. ¶¶ 16–17.)

        It is also unclear why the drop in the price of phones matters, because
 Ericsson’s public statements were never conditioned on a particular dollar-per-unit
 return. If Ericsson had wanted that, it certainly could have proposed that, such an
 idea would not have been shocking to the industry because in that same press
 release in 2008 Ericsson announced a royalty in dollar per unit terms for notebook
 computers. (Ex. 1146 at 1.) Moreover, while Ericsson earned less royalty revenue
 because prices dropped, Ericsson also earned substantially more revenue as 4G
 technology became cheaper and spread around the world. IDC estimates that in
 2008 global phone sales were $245 billion, while in 2015 global phone sales were
 $438 billion. (Ex. 1000.)

        The Court therefore finds some merit in applying a top down approach
 starting with a total aggregate royalty. While this approach is not perfect, it has
 merit because: (1) it relies on statements that Ericsson and other SEP owners made
 to induce people to adopt and invest in each standard when the risk of hold-up was
 low; (2) these statements were made before the standard was adopted, providing
 the SEP owners with incentive to be reasonable with their overall expectations and
 greatly reducing the risk of hold-up and royalty stacking; (3) Ericsson was a
 licensor and licensee, giving it stronger incentive to be fair and reasonable with its

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 own estimate; (4) Ericsson still stands by this methodology, (TT Feb. 28, 2017, p.
 113:1-9); and (5) it at least provides the ceiling for a FRAND rate, because
 increasing the royalty rate after the standard has been adopted, without showing
 that the increase is due to additions to the standard, is the definition of hold-up.
 Use of an aggregate figure in fact hews to the principle of setting rates to reflect
 Ericsson’s own estimate of the total value the licensed technology contributed to
 the product.

       The Court applies the 5% figure to 2G/3G, and applies both 6% and 10% to
 4G.

       B. Ericsson’s Proportional Share of Standard-Essential Patents.

       With a total aggregate royalty in place, the next question to resolve is
 Ericsson’s proportional share. This is a ratio calculation taking the number of
 Ericsson’s SEPs (the numerator) over the total number of SEPs for the standard in
 question (the denominator). (Leonard Decl. ¶¶ 39-42, 94-95, Table 4.) To
 determine essentiality the Court relied on ETSI’s definition of essential:

              “ESSENTIAL” as applied to IPR means that it is not possible on
              technical (but not commercial) grounds, taking into account normal
              technical practice and the state of the art generally available at the
              time of standardization, to make, sell, lease, otherwise dispose of,
              repair, use or operate EQUIPMENT or METHODS which comply
              with a STANDARD without infringing that IPR. For the avoidance of
              doubt in exceptional cases where a STANDARD can only be
              implemented by technical solutions, all of which are infringements of
              IPRs, all such IPRs shall be considered ESSENTIAL.

 (ETSI IPR Policy § 15.6, Ex. 223 at 7.)

       The only dispute that arose concerning ETSI’s definition of essential was
 whether the informative annex was part of the 3G standard. Ericsson argued that
 ETSI’s definition of standard includes “any standard adopted by ETSI including
 options therein . . . .” (Id. § 15.11.) This means that the optional parts of the
 standard are still a standard, and thus patents that cover the optional parts of the
 standard are essential. However, informative annexes “shall not contain

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 provisions to which it is necessary to conform in order to be able to claim
 compliance with the ETSI deliverable.” (Ex. 404 at 12.) Based on this definition,
 TCL argued that patents covering optional parts of the standard cannot be
 essential. The Court agrees with TCL that patents for inventions solely in the
 informative annex, while part of a standard, are not standard-essential patents. To
 hold otherwise would rewrite ETSI’s definition of informative annex. This is
 further confirmed by the definition of normative annex directly above the
 definition of informative annex, which states that provisions in the normative
 annexes are necessary to conform in order to be able to claim compliance with the
 standard. (Ex. 404 at 12.)14

      The Court first determines how many SEPs are in each standard (the
 denominator), and then determines how many SEPs are owned by Ericsson (the
 numerator).

        1. Determining the Number of Industry-Wide SEPS: The Denominator.

       To estimate the total number of industry-wide patent families related to user
 equipment (“UE”) (such as handsets) that are essential to the 2G, 3G, and 4G
 standards, Dr. Kakaes, Dr. Ding, and teams of engineers from Concur IP, and
 Ernst & Young India conducted an extensive industry-wide essentiality study.
 (Ding Decl. ¶¶ 35-87; Kakaes Decl. ¶¶ 28-42.)

       First, the team from Ernst & Young India, supervised by Dr. Kakaes,
 conducted a census of all IPR declarations submitted to ETSI as of September
 2015 for the 2G, 3G, and/or 4G standards.15 (Kakaes Decl. ¶¶ 29-30, 315.) As of
 September 15, 2015, there were over 153,000 patents and/or patent applications

 14
    The Court therefore finds that Ericsson’s P08333 family and corresponding U.S. Pat. No.
 5,991,330 (“’330 patent”) are not essential to the 3G standard. Ericsson makes additional
 arguments for why the ‘330 patent is essential to the 3G standard, (Cason Rebuttal Decl. ¶¶ 24-
 28), but since Ericsson cannot identify a required part of the standard covered by this patent, the
 Court has no basis to find this patent essential.
 15
    The patent census involved extracting the declarations of essentiality from the ETSI database.
 (Kakaes Decl. ¶ 318.) There were 1800 declarations submitted to ETSI, representing 119,850
 patents and applications. (Id.) ETSI rules also specify that the FRAND commitment applies to
 all members of that patent family, unless a specific exclusion has been made. (ETSI IPR Policy §
 6.2, Ex. 223 at 2.) Based on International Patent Documentation Center data, this added an
 additional 34,030 patents to the census. (Kakaes ¶ 319.)

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 declared essential to the 2G, 3G, and 4G standards. (Id. ¶ 31.) Dr. Kakaes and Dr.
 Ding then supervised Concur IP in the industry-wide essentiality study. (Ding
 Decl. ¶¶ 59-60; TT Feb. 17, 2017, p. 73:2-10.)

        Dr. Kakaes then excluded patent families that either had only expired
 patents, or were not published in English. (Kakaes Decl. ¶ 31.) Dr. Kakaes did
 not provide an explanation for excluding expired patent families. For reasons
 discussed in the next section, this was an error. Nonetheless, it is an error which
 favors Ericsson, and it may have been necessary to conduct a feasible study. Dr.
 Kakaes also excluded patent families that did not have an English language patent.
 (Id.) He explained that he did this because there were relatively few non-English
 patents, and including them would not have made a significant difference because
 the vast majority of families contained at least one English-language patent. (TT
 Feb. 17, 2017, pp. 69:24-70:3.) This exclusion is corroborated by Ericsson itself,
 because, despite being a Swedish company, it has more patents in the United
 States than any other jurisdiction. (E.g., Ex. 1122.) The Court is satisfied that the
 subset actually examined was a reasonable surrogate for the whole.

         There were 11,469 patent families with at least one patent that is still active
 (i.e., non-expired) and was published in English. (Kakaes Decl. ¶ 31.) After
 excluding patent families that did not have any patents with claims directed to user
 equipment, there were 7,106 patent families remaining. (Id. ¶¶ 31-32.) These
 7,106 patent families were divided into 2G, 3G, and 4G depending on which
 standard they were declared essential to, and then sorted by patent holder for the
 15 largest patent holders. (Id. ¶ 34.) Concur IP then analyzed the essentiality of a
 random sample of one-third of the patents in each standard, per patent holder,
 which totaled 2,600 patent families because some patents are essential to multiple
 standards. (TT Feb. 17, 2017, p. 72:3-20.) Dr. Ding then sampled and checked
 442 (or 17%) of Concur IP’s essentiality determinations for accuracy. (Ding Decl.
 ¶¶ 64, 68.) When Dr. Ding was in agreement with Concur IP, he recorded the
 determination as accurate. (Id.) When he identified a discrepancy, he and Concur
 IP reexamined the claims and if Concur IP’s original essentiality determination
 was changed, Dr. Ding recorded the original determination as inaccurate, and
 noted the direction of the error.16 (Id. ¶¶ 64-68.) The overall error rate for Concur
 IP was only 9.5%. (Id. ¶ 69.) The error rate regarding whether patents were

 16
  Given the somewhat subjective nature of these determinations, “disagreements” is probably a
 more accurate label than “error.”

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 essential went in both directions, and thus the small number of errors largely
 balanced each other out over the course of the study. (Id. ¶¶ 69-71.) Specifically,
 out of the 442 patent families that Dr. Ding reviewed, 36 out of 305 patent
 families (or 11.8%) were changed from non-essential to essential, and 6 out of 137
 patent families (or 4.4%) were changed from essential to non-essential. (Id. ¶¶ 70-
 71.)

       From these adjusted totals, Dr. Ding then calculated the total number of
 essential patent families in each standard. For 2G, the total estimated number of
 essential patent families is 446. (Id. ¶ 77.) For 3G, the total estimated number of
 essential patent families is 1,166. (Id. ¶ 81.) For 4G, the total estimated number of
 essential patent families is 1,796. (Id. ¶ 85.)

       However, TCL does not actually use the total number of SEPs per standard
 created by Dr. Ding because that would create a global rate and make it impossible
 to account for geographic disparities in Ericsson’s patent portfolio. (Leonard
 Decl. ¶ 94.) Dr. Leonard therefore took Dr. Ding’s world-wide results and
 determined how many total SEPs are registered in the United States for each
 standard. This actually causes the total number of SEPs to decrease slightly for
 each standard. (Id. Table 4.) Dr. Leonard calculated that there are 413 essential
 2G families, 1,076 3G families, and 1,673 4G families.17

 17
   Dr. Kakaes and Dr. Jayant also conducted an essentiality analysis on Ericsson’s patents to
 determine the appropriate numerator (see Part 2 Section IV.B.2 below). This led to 55 patent
 families that were analyzed both by Dr. Kakaes and Dr. Jayant for the numerator, and Concur IP
 for the denominator. This therefore provides a useful cross-check on Concur IP’s results. Of the
 55 patent families that were analyzed twice, everyone reached the same conclusion on 41 of
 them, meaning they initially agreed roughly 75% of the time. (Kakaes Decl. ¶ 345.) Of those 14
 families where they disagreed, Dr. Kakaes provides an explanation for 4 of the disagreements
 that are unrelated to the substance of Concur IP’s analysis. (Id. ¶¶ 346–48.) One of them was
 explained because Ericsson’s claim chart is broader than the declaration it submitted to ETSI,
 one was because of an inconsistency related to ETSI’s database, and two errors were because Dr.
 Kakaes examined the file history, which showed that the patents were not essential. (Id.) Of the
 remaining ten disagreements, seven occurred when Dr. Kakaes or Dr. Jayant found the patent
 essential and Concur IP did not, and three where Concur IP found the patent essential and Dr.
 Kakaes or Dr. Jayant did not. (Id. ¶ 349.) This provides an error rate for Concur of 7/51 (13.7%)
 in favor of non-essentiality, and 3/51(5.8%) in favor of essentiality. These results are remarkably
 similar to Dr. Ding’s, who checked 442 of Concur IP’s assessments and found error results of
 11.8% and 4.4% respectively. (Ding Decl. ¶¶ 64, 68.)


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        Ericsson made numerous challenges to the process that produced these
 numbers, although it proposed no alternative numbers. Ericsson challenged the
 results of this process because: (1) Concur IP team spent an average of 20 minutes
 and charged only $100 per patent, (2) they did not read the entire patent
 specifications, (3) the individuals in the Concur IP team lacked the qualifications
 to perform this work, and (4) Concur IP team knew whom they were working for
 and against. These criticisms led to Ericsson’s ultimate conclusion that patent
 counting studies are highly subjective and inherently unreliable. The Court
 disagrees.

        Ericsson argued that based on the total billing from Concur IP they must
 have spent on average about 20 minutes per patent, and charged $100, and this is
 plainly insufficient. By way of contrast, Via Licensing for example charges
 $10,000 to determine whether a single patent is essential before accepting the
 patent into a patent pool.18 (Mallinson Decl. ¶¶ 91-92.) The Court is not
 persuaded that the tasks for which Concur IP charged are comparable to the task
 performed by Via Licensing. Patent pools ask customers to pay for each specific
 patent in the pool, so the greater the certainty in their process and the stronger the
 patents the more they can charge and convince customers and patent owners to
 join. (Mallinson Decl. ¶ 92.) Conversely, if prospective licensees discovered that
 a patent pool included non-essential patents it would undermine the patent pool’s
 entire business model. Patent pools therefore require substantially greater
 certainty than is necessary or reasonable for counting the number of SEPs in a
 standard. While charging on average only $100 per patent family may be cheap,
 this process is only intended to provide a workable size of the relevant universe
 and has no need to be as precise as a licensing pool must be. The Court does not
 think that the internal procedures used by either patent pools or Ericsson to
 determine the essentiality of their own patents are fair bench marks for assessing
 quality of the analysis done by Concur IP. While they are similar tasks, they
 require very different levels of certainty because the results are being used in very
 different ways.19

 18
    A patent pool is a vehicle for collecting and licensing a group of patents held by multiple
 owners. The business of a patent pool is to license rather than practice the patents.
 19
    In addition, Concur IP conducted a similar study for another company, which allowed them to
 work much more quickly than if they were doing this for the first time. (TT Feb. 17, 2017, pp.
 99:21-100:10.)


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        The Court is also not persuaded that the individuals on the Concur IP team
 lacked the qualifications to perform this work. At trial, Ericsson attempted to
 show that the members of the Concur IP team lacked the qualifications to perform
 this study because their industry experience was in consulting work, which
 Ericsson argued was insufficient to show they were persons of ordinary skill in the
 art. (Ericsson FOF, ¶ 265; TT Feb. 17, 2017, pp. 83:15-85:8.) However, nothing
 that Ericsson elicited on the stand from Dr. Kakaes convinced the Court that the
 Concur IP team lacked the qualifications or experience to complete their assigned
 task. In a similar vein, while it would have been better had the team not known
 who the parties were in this case, there is no requirement that an essentiality study
 be conducted in a blind manner, and the same concern applies with equal force to
 every expert in every case.

        Ericsson’s arguments regarding the patent specifications are more salient.
 Dr. Kakaes testified that the Concur IP team read the patent claims, but they did
 not read the entire patent specification. (TT Feb. 17, 2017, p. 100:20-21.) This
 means that Concur IP may not have noticed if a patent contained a means plus
 functions claim, likely would not have noticed if a patent used its own
 lexicography, and would not have read any specification disclaimer or the file
 history. (Id. pp. 100:20-110:15.) As discussed above, Dr. Kakaes found that the
 file history showed that the patent family was not essential for one 2G patent
 family (P07288 2G) and one 4G patent family (P10867 4G) out of the 55
 overlapping patent families that were also examined by Concur IP. The Court
 therefore adjusts the total number of patents in each standard to account for
 Concur IP finding too many patents to be essential because it ignored file
 histories, as described below. (Kakaes Decl. ¶ 344, Table 16.) While Ericsson’s
 concerns regarding means plus function claims, lexicography, and specification
 disclaimers could be substantial, they could also be entirely trivial. The Court
 declines to speculate on how often they would impact the essentiality
 determination.20

 20
    The Court also notes an inherent tension in Ericsson’s position on essentiality. It criticizes
 Concur IP for finding too many patent family essential because they ignored things such as the
 file history, but Ericsson itself initially claimed that it owned 235 essential patent families
 (Kakaes Decl. ¶ 95) and at trial only argued that it owned 179 essential patent families. The
 Court gives little weight to Ericsson’s criticisms when it appears to have made the same errors
 despite spending 50–80 hours assembling claim charts and employing an extensive review
 process involving multiple patent attorneys. (McLeroy Decl. ¶ 10.)

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        Ultimately the Court finds that the flaws are not enough to justify rejecting
 TCL’s experts’ calculation of the total number of SEPs entirely. However, the
 Court does find it appropriate to make certain adjustments to TCL’s calculation of
 the overall number of SEPs. The only cross-check on the total presented by Dr.
 Ding and Concur IP occurred when they examined the same patents as Dr. Kakaes
 and Dr. Jayant. Excluding 2 families where the disagreement was not caused by
 the substantive analysis, Concur IP disagreed with Dr. Kakaes on the essentiality
 of 12 of the 53 overlapping patent families. (Id. ¶ 349.) These 53 patent families
 represent 6 2G family/standards pairs, 16 for 3G, and 35 for 4G.21 (Id. ¶ 344,
 Table 16.) There were three 4G families that Concur IP said were essential that
 Dr. Kakaes said were not essential. Giving Ericsson the benefit of the doubt for
 every dispute between Concur IP and Dr. Kakaes, Concur IP over-declared 4G
 patents to be essential four out of thirty-five times, or 11.4%. The Court uses this
 figure for adjusting the total number of SEPs in each standard downwards. While
 the Court makes the adjustment because it is warranted, shrinking the
 denominators favors Ericsson in determining its share of the overall royalty
 burden.

        TCL’s final step in calculating the total number of patents in each standard
 was to calculate the U.S.-specific number of total SEPs. This is necessary in order
 to adjust the rate to account for differences in Ericsson’s patent strength in each
 country, which requires a numerator and denominator stated in terms of U.S.
 patents. Because the essentiality analysis examined one-third of the total declared
 patents, Dr. Leonard multiplied the number of U.S. patents that were analyzed by
 three to determine the total number of U.S. SEPs in each standard. (Leonard Decl.
 ¶ 94, Table 4 n.3.) Dr. Ding calculated that globally there were 446 2G SEPs,
 1116 3G SEPs, and 1796 4G SEPs. (Ding Decl. ¶¶ 77, 81, 85.) Dr. Leonard then
 calculated that there were 413 2G SEPs, 1076 3G SEPs, and 1673 4G SEPs.
 (Leonard Decl. ¶ 94, Table 4.) Applying the reduction for over-declaring patents
 to be essential in order to give Ericsson the benefit of the doubt leads the Court to
 adopt the following totals for the number of SEPs in each standard: 365 for 2G,
 953 for 3G, and 1481 for 4G.

           2. Determining the Total Number of SEPs Owned by Ericsson: The
           Numerator.


 21
      The numbers do not total 53 because some patents cover multiple standards.

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        Ericsson identified 235 patent families it contends are essential to the 2G,
 3G, and 4G standards, although Ericsson only provided claim charts to support its
 contentions for 192 of the families. (Kakaes Decl. ¶¶ 95-96.) Because Ericsson
 contended certain families are essential to multiple standards, there were a total of
 219 patent family/standard pairs that had corresponding claim charts. (Id. ¶ 97.)
 Ericsson’s patents were each evaluated by either Dr. Kakaes or Dr. Jayant to
 determine if they were truly essential. (Id. ¶ 20.) Dr. Kakaes conceded that many
 of Ericsson’s patents were essential to a standard, but also testified that many were
 not essential. (Id. ¶ 22.) Ericsson provided testimony from its experts that
 disputed some of the findings of non-essentiality by Dr. Kakaes and Dr. Jayant.
 (Cason Rebuttal Decl. ¶¶ 13, 15-188; Sågfors Rebuttal Decl. ¶¶ 20, 23-295; Chen
 Rebuttal Decl. ¶¶ 14-15, 18-81; Bruhn Rebuttal Decl. ¶¶ 46, 49-69.)

        As described below, the Court chose to apply the top down formula twice,
 using TCL’s conceded number of SEPs, and using Ericsson’s disputed number of
 SEPs. This more accurately reflects the reality faced by parties in a licensing
 negotiation who each have different views how many SEPs the licensor owns.
 The Court also adopts Dr. Leonard’s conclusions regarding the impact of patents
 that will become essential during the course of the license, but the Court made its
 own calculations to account for the expiration of Ericsson’s SEPs during the
 license. (Leonard Decl. ¶¶ 126-131.)

       a. TCL’s Essentiality Analysis.

       Dr. Kakaes analyzed 180 out of the 192 patent families Ericsson alleged
 cover the 2G, 3G, and/or 4G standards. (Kakaes Decl. ¶¶ 1-6, 20, 96.) Dr. Jayant,
 an expert in speech coding, analyzed the remaining 12 out of the 192 patent
 families that Ericsson alleged cover portions of the 2G and/or 3G standards related
 to speech communications and primarily adaptive multi-rate (AMR) speech
 coding. (Jayant Decl. ¶¶ 1-13, 15.) Much of the analysis Dr. Kakaes and Dr.
 Jayant presented to Ericsson was not new because other licensees had taken the
 same positions during their negotiations with Ericsson. (Exs. 1289, 1689, 1715,
 1717, 1718, 1729.)

      The essentiality analysis performed by Dr. Kakaes and Dr. Jayant was
 conducted using ETSI’s definition of essential described above. (Kakaes Decl. ¶¶
 105-106; Jayant Decl. ¶ 60.) When conducting the essentiality analysis, Dr.

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 Kakaes and Dr. Jayant ranked the patents on a scale of 1 to 3, where a 1 meant
 they did not see any evidence precluding a finding that the claim is essential under
 ETSI’s IPR Policy, a 2 meant that under a proper claim construction the claim is
 not essential, and a 3 meant the claim is not essential under any reasonable claim
 construction. (Kakaes Decl. ¶ 113; Jayant Decl. ¶¶ 67-68.) For some patent
 families, Ericsson produced multiple claim charts for claims within the patent
 family. (Kakaes Decl. ¶ 100.) For those families, the entire patent family was
 given the rank associated with the highest ranked claim. (Id.)

        For 2G, Dr. Kakaes and Dr. Jayant gave 29 out of 41 of the patent families
 an Essentiality Rank of 1, one of the patent families an Essentiality Rank of 2, and
 11 of the patent families an Essentiality Rank of 3. (Kakaes Decl. ¶ 172.) For 3G,
 they gave 33 out of 51 of the patent families an Essentiality Rank of 1, two of the
 patent families an Essentiality Rank of 2, and 16 of the patent families an
 Essentiality Rank of 3. (Id. ¶ 173.) For 4G, Dr. Kakaes gave 74 out of 127 of the
 patent families an Essentiality Rank of 1, seven of the patent families an
 Essentiality Rank of 2, and 46 of the patent families an Essentiality Rank of 3. (Id.
 ¶ 174.) Thus, Dr. Kakaes concluded that Ericsson owns 29 patent families that are
 essential to 2G, 33 patent families that are essential to 3G, and 74 patent families
 that are essential to 4G. (Id. ¶¶ 172-174.) The Court refers to these as TCL’s
 patent numbers.

       At trial, Ericsson provided testimony from four of its employees who argued
 TCL’s experts were wrong and additional Ericsson patents were essential to the
 standards. (Cason Rebuttal Decl. ¶¶ 13, 15-188 (arguing for the essentiality of 27
 patents); Sågfors Rebuttal Decl. ¶¶ 20, 23-295 (arguing for the essentiality of 23
 patents); Chen Rebuttal Decl. ¶¶ 14-15, 18-81 (arguing for the essentiality of 11
 patents); Bruhn Rebuttal Decl. ¶¶ 46, 49-69 (arguing for the essentiality of 2
 patents).) These 63 disputed patents represent 2 patent families that are essential
 to 2G, 14 patent families that are essential to 3G, and 51 patent families that are
 essential to 4G.22 The Court refers to these as Ericsson’s patent numbers.

           b. Accounting for SEPs added to Each Standard.

       Ericsson’s proportional share will change as new patents are added to each
 standard because the denominator will grow, and some of those will belong to
 22
      The numbers do not total 63 because some patents cover more than one standard.

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 Ericsson. To account for patents added to each standard, Dr. Leonard created a
 model to determine the number of SEPs that will be added to each standard, and
 from that determined how many Ericsson SEPs will be added to each standard.
 (Leonard Decl. ¶¶ 127-131.) Dr. Leonard’s model calculated the net result of
 these two changes, along with patents that expire, and then provided the net result
 of all three as a change in Ericsson’s “value share,” which is Ericsson’s
 proportional share weighted by TCL’s importance and contribution analysis
 discussed below. (Leonard Decl. ¶¶ 92, 126-31.) However, Dr. Leonard did not
 provide his calculations on the individual inputs or identify what specific sources
 he used in a meaningful way, although Ericsson also did not raise this point during
 the trial. (See Ex. 1119 n.2.) As a matter of general industry practice, licenses
 covering SEPs typically also cover patents issued or acquired during the term of
 the license. (Leonard Decl. ¶ 120.)

        Dr. Leonard’s model ultimately showed that newly issued patents will not
 significantly affect Ericsson’s proportional share because Ericsson can only obtain
 additional patents when the standard also grows. (Leonard Decl. ¶ 130.) The
 Court is skeptical that his model is the best way to estimate the growth of the 4G
 standard, but ultimately the Court agrees that newly issued patents will not make a
 significant difference to Ericsson’s overall proportional share. Even assuming
 new patents will be added to each standard during the license, there is no evidence
 that Ericsson will be more successful in obtaining SEPs in the next five years than
 it has been in the past.23 The best case scenario for Ericsson is that it will acquire
 future SEPs at the same rate as it has in the past. Thus, Ericsson’s newly acquired
 SEPs will be offset by SEPs being added to the standard. Therefore the Court
 accounts for the effect of new patents added to the 2G, 3G, and 4G standards by
 keeping Ericsson’s proportional share constant.

        c. Accounting for Expired and Expiring SEPs.

        Both sides argued over the essentiality of patents that expired before any
 license would begin. (See, e.g., Kakaes Decl. ¶ 172 n.5.) United States patent law
 does not permit Ericsson to demand value for patents that have expired. Brulotte

 23
   The Court actually suspects that Ericsson will be less successful in obtaining future 4G patents
 than its current proportional share of 4G SEPs suggests because 4G LTE is based on 2G GSM, so
 some of Ericsson’s 4G SEPs reflect investments in research and development Ericsson made
 years ago

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 v. Thys Co., 379 U.S. 29, 32 (1964) (“we conclude that a patentee’s use of a
 royalty agreement that projects beyond the expiration date of the patent is
 unlawful per se.”). Because the FRAND undertaking is an encumbrance and
 commitment that exists on top of national patent systems, FRAND cannot permit
 what domestic patent law prohibits. (ETSI IPR Policy § 12, Ex. 223 at 6.)24 SEPs
 that expire before a license begins therefore have no bearing on a fair and
 reasonable prospective royalty rate. Absent suggestion or stipulation by the
 parties, the Court adopts the date of closing arguments (May 18, 2017) as the most
 appropriate date to use for determining whether SEPs have expired. Expired and
 expiring SEPs have the largest impact on Ericsson’s 2G SEPs. For example, while
 TCL conceded that Ericsson owns 29 2G SEPs, 7 of them expired before closing
 arguments were made, and another 15 will expire before May 1, 2022. Unlike
 other adjustments which should generally affect both the numerator and the
 denominator of the proportional share, expirations should only modify the
 numerator. Because the total aggregate royalty represents the value of all expired
 and unexpired inventions in the standard, also removing an expired SEP from the
 denominator treats the invention as no longer having value. The invention,
 however, still has value, that value has merely been transferred to the public
 domain. To remove expired patents from the denominator (without decreasing the
 total aggregate royalty) would result in transferring the value from expired
 inventions to the remaining patents in the standard instead of the public. By
 removing expired SEPs from only the numerator of the top down formula the
 Court therefore apportions their value from the still patented features of the
 standard. Ericsson, Inc. v. D-Link Systems, Inc., 773 F.3d 1201, 1232 (Fed. Cir.
 2014).

        The first step in adjusting for SEPs that expire during the course of the
 license is to determine when Ericsson’s U.S. patents expire. The Court relies on
 Trial Exhibit 1116. If that exhibit lists a U.S. patent for any standard, then the
 Court applies that expiration date to all other standards covered by this family if
 Ericsson argued that the U.S. patent was essential to each standard. (Ex. 1577.)
 For two families (P11899 and P14897), no U.S. patent was listed on Trial Exhibit
 1116 for any standard, although the patent family did include U.S. patents. For
 those families the Court applied the expiration date of the European patents that
 were listed on Trial Exhibit 1116.
 24
   The ETSI IPR Policy does not oblige its members to act in violation of national laws or
 regulations, except where derogation by agreement between the parties is permitted.

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        After compiling the expiration dates of Ericsson’s U.S. SEPs at issue, the
 Court calculates how many months each SEP will be valid over the course of the
 license. The Court prefers to calculate based on months instead of days because it
 provided much more workable numbers.25 After determining the total number of
 months of validity for each of Ericsson’s SEPs in each standard, the Court divides
 that number by 60 to represent the effective number of unexpired SEPs Ericsson
 will own throughout the license. This did result in some fractional results for the
 numerator, but this is not a problem because there is no particular reason the
 numerator must be a whole number.

       The results were that based on TCL’s patent numbers Ericsson owns 12 2G
 SEPs, 19.65 3G SEPs, and 69.88 4G SEPs. Based on Ericsson’s patent numbers, it
 owns 12 2G SEPs, 24.65 3G SEPs, and 111.51 4G SEPs.

        3. Calculating Ericsson’s Proportional Share of SEPs.

       Ericsson’s proportional share of 2G, 3G, and 4G essential patents can be
 determined by dividing how many patents the parties assert Ericsson owns for
 each standard (the numerator) by the total number of patents in each standard (the
 denominator).

       For 2G, both parties agreed that Ericsson owns 12 out of 365 essential
 patent families, which is 3.280% of all 2G essential patents.

         For 3G, TCL conceded that Ericsson owns 19.65 out of 953 essential patent
 families, which is 2.061% of all 3G essential patents. However, Ericsson argued
 that it owns 24.65 3G essential patents, which would give it 2.58% of 3G essential
 patents.

       For 4G, TCL conceded that Ericsson owns 69.88 out of 1481 4G essential
 patents, which would give it 4.761% of 4G essential patents. However, Ericsson
 25
   Doing so required the Court to assume that each patent expires at the end of the month, and to
 treat the license as if it started on May 1, 2017 and ended on May 1, 2022. A patent that expired
 May 2017 would therefore have 1 month of validity, while a patent that expired April 2022
 would have 60 months of validity. Both of these assumptions very slightly favor Ericsson
 (generally less than 1%), but the Court believes these assumptions are justified in view of TCL's
 failure to justify its own expiration calculations, as well as the simplicity they add to the
 calculations.

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 argued that it owns 111.51 4G essential patents, which would give it 7.525% of
 4G essential patents.

       C. Adjusting Ericsson’s Proportional Share to Account for the Relative
 Strength of its SEPs.

        After determining how many Ericsson patents were essential to each
 standard, TCL then analyzed the importance and contribution of Ericsson SEPs it
 conceded were essential to determine how valuable they are compared to other
 SEPs. While the Court reviews TCL’s analysis, it found it too flawed to be used
 to calculate the overall rates which the Court derives from the top down analysis.

       The rationale for evaluating the importance of SEPs is that even in the
 universe of standard essential patents, many are relatively trivial, while some are
 key features of the standard. TCL ranked Ericsson’s SEPs on a scale from 1-3,
 with a 1 for patents that were important or technically valuable, 2 for patents that
 were moderately important, and 3 for patents that were only marginally important.
 (Kakaes Decl. ¶ 12.)

       “Contribution” as TCL used the term in this context evaluates the invention
 compared to the alternatives that were available at the time the standard was
 adopted. This is because there are many parts of the standard that are essential and
 even very important because they add substantial value, but are a small
 contribution because there were other almost as useful options ETSI could have
 chosen when the standard was adopted. A contribution rank of 1 meant that TCL
 did not identify a viable alternative to the patent, a 2 meant the patent provided
 moderate improvement relative to the alternative, a 3 meant the feature provided
 marginal improvement relative to the alternative, and a 4 meant it provided no
 improvement to the standard relative to the alternative. (Id. ¶ 13.)

        Dr. Leonard then used the importance and contribution scores to determine
 how many of Ericsson’s SEPs would be ranked in the top 10% of SEPs. Based on
 a study done of patents in various industries, Dr. Leonard concluded that the top
 10% of SEPs provide 65% of the value of the standard. He used this study to
 create a value share, which is Ericsson’s proportional share adjusted based on the
 value of Ericsson’s SEPs relative to the value-distribution of all SEPs in the
 standard.

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       1. The Importance and Contribution Analysis.

        The importance analysis began by identifying the sections of the 2G, 3G, or
 4G standards cited in Ericsson’s claim chart. (Kakaes Decl. ¶ 116.) Key claim
 limitations of Ericsson’s patents were then determined by considering what the
 patent described as the heart of the invention, or by reviewing the arguments and
 amendments the applicant used to overcome prior art, and/or the reasons identified
 by the patent office as the patentable subject matter. (Id. ¶ 117.) Once these key
 claim limitations were identified, the corresponding features of the standards cited
 in Ericsson’s claim charts were identified. (Id. ¶ 118.)

        The overall value of the key features to the standard were then analyzed by
 considering the following factors: (a) a prior technical solution (if any) that was in
 the standard prior to the adoption of the key feature, and if so, the incremental
 improvement (or technical value) of the key feature over the prior technical
 solution; (b) the incremental improvement of the key feature over other well-
 known prior art, including technology identified in the background section of the
 patent, or prior related standards; (c) the impact of removing the key feature from
 the standard in terms of performance degradation and implementation cost; (d)
 whether the accused technology is optional to the standard; and (e) how widely the
 accused technology/key accused feature is deployed in major markets. (Id. ¶¶ 119-
 120.)

        For the contribution analysis, Dr. Kakaes identified alternatives to
 Ericsson’s SEPs through a variety of ways, including: (1) written contributions
 submitted to ETSI or a 3GPP working group (e.g., TDocs and Change Requests);
 (2) prior art technical solutions identified in the patent at issue (e.g., applicant-
 admitted prior art); (3) prior art references cited during patent prosecution; (4) any
 technical solutions that were known in the art as evidenced by patent and non-
 patent literature; and (5) any other technical solutions that would have been known
 to a person of ordinary skill in the art and that could have served as alternatives.
 (Kakaes Decl. ¶ 122.)

       Overall, 146 family/standard pairs that were given an Essentiality Rank of 1
 or 2 were also given Contribution and Importance Rankings. (Kakaes Decl. ¶ 294,
 Figure 55.) Only 13 of the 146 family/standard pairs received both importance



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 and contribution scores of 1 or 2, while 58 family/standard pairs received an
 importance score of 3 and a contribution score of 4. (Id.)

       2. Dr. Leonard’s Use of the Importance and Contribution Analysis to
 Create a Value-Share.

         Dr. Leonard attempted to adjust Ericsson’s royalty rate based on the
 strength of its patent portfolio as compared to other SEP owners. The logic behind
 this is that if Ericsson’s patents are above average in value, it should receive a
 higher royalty share, while if its patents provide less than average value for SEPs,
 it should receive a lower royalty rate. (Leonard Decl. ¶ 96.) Phrased another way,
 Ericsson’s share of the total aggregate royalty depends on where its patents fall in
 the value distribution of all SEPs. (Id. ¶ 97.)

         Dr. Leonard attempted to do this by applying a principle from an academic
 paper that shows that across numerous industries most patents are worth very
 little, and that the top 10% of patents are worth 65% of the value of patents in the
 industry, the next 10% make up 14.6%, and eventually the bottom 50% of patents
 make up 4.8% of the value in the industry. (Id. ¶ 100). Dr. Leonard treated all
 patents that received an importance score of 1 or 2 and a contribution score of 1 or
 2 as top 10% patents. (Id. ¶ 105.) Using the 10%/65% ratio above, this led to
 Ericsson owning 3.1% of the U.S. 4G patent value share, 4.0% of the U.S. 3G
 patent value share, and 6.7% of the U.S. 2G value share. (Id. ¶ 108, Table 6.)

        As a cross-check on his results, Dr. Leonard confirmed his results using a
 forward citation analysis, which attempted to determine the strength of patents by
 examining how often they are cited in future patent applications. (Leonard Decl.
 ¶¶ 102, 109-117, Table 7.) The economic logic behind using forward citations as
 an indicator of patent value is that a patent that is more important and valuable
 would be expected to generate a greater number of future innovations that then
 cite back to the patent in question. (Id. ¶ 102) Dr. Leonard argued that the
 positive relationship between forward citations and patent value has been
 confirmed by some empirical economics research. (Leonard Decl. ¶ 102; e.g., Ex.
 1104 at 1-20.) The results of the forward citation analysis demonstrate that
 Ericsson owns a 4.0% value share of U.S. 4G patents, a 5.7% value share of U.S.
 3G patents, and an 8.1% value share of 2G patents. (Leonard Decl. ¶ 116, Table
 7.)

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        3. Flaws with the Importance and Contribution Analysis.

        There are three flaws with TCL’s importance and contribution analysis.

        First, TCL uses the importance and contribution analysis to weight
 Ericsson’s portfolio according to its relative value, but it never applied that
 analysis to the rest of the SEPs in the standard. (Leonard Decl. ¶ 108.) This
 means that TCL’s “value share” is a ratio with inconsistent units, and it is unclear
 what it actually represents. Because TCL only analyzed the importance and
 contribution of Ericsson’s SEPs, there is nothing to compare its rankings against
 to determine the strength of Ericsson’s portfolio.

        Second, in determining contribution scores, TCL ignored important legal
 and factual issues that determine how an SEP’s contribution affects its value. In
 identifying alternatives to each SEP, Dr. Kakaes caused what Ericsson
 characterized as a “ripple effect.” This is because Dr. Kakaes did not analyze
 whether his alternatives are mutually inconsistent with each other, would perform
 worse than the standard, would even create a viable, functional standard, or
 require other patents owned by Ericsson (thus defeating the point of the
 analysis).26

        TCL’s contribution scores are also legally flawed because Dr. Kakaes did
 not examine who owned his proposed alternatives. An SEP’s contribution is only
 relevant to its value because, prior to the adoption of the standard, patents with
 viable alternatives have less value than patents without viable alternatives due to
 competition. Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 314 (3d Cir.
 2007) (“Although a patent confers a lawful monopoly over the claimed invention,
 its value is limited when alternative technologies exist.”). The degree to which
 alternatives will lower the value of a patent will depend on the quality of the
 alternatives, and who owns the alternatives. TCL’s 1-4 rankings do not reflect
 who owns the proposed alternative patents. How much proposed alternatives will

 26
    However, Ericsson’s critiques would be stronger had Dr. Parkvall gone through more of Dr.
 Kakaes’s alternatives and shown that they were inferior, impossible, or infringing. Dr. Parkvall
 instead testified that he did not go through most of Dr. Kakaes’s alternatives because he “found
 his methodology such flawed and not a good one, I didn’t see the point in wasting time trying to
 check each of his gradings.” (TT Mar. 1, 2017, pp. 77:25-78:2.)

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 affect the value of a patent depends on a number of variables, including whether
 the alternative is unpatented, expired, part of the previous standard, owned by
 another company that lets manufacturers use it for free or at a low rate, an entity
 that aggressively protects its intellectual property, or by the company itself. See In
 re Innovatio IP Ventures, LLC Patent Litig., No. 11 C 9308, 2013 WL 5593609, at
 *20 (N.D. Ill. Oct. 3, 2013) (finding that the price of an SEP will be driven down
 more by an alternative in the public domain than an alternative owned by a
 competitor).

        Third, Dr. Leonard assumed that any patent which received a contribution
 score of 1 or 2 was in the top 10% of patents in the standard that provided 65% of
 the value in the standard, while a patent that received contribution score of 3 or 4
 was in the bottom 90% of patents that provided 35% of the value of the standard.
 (Leonard Decl. ¶ 107, Table 5.) As it turned out, the importance scores had no
 impact on Dr. Leonard’s estimate of their value.27 The critical distinction between
 a contribution score of 2 or 3 was whether its contribution was moderate, or
 marginal. (Kakaes Decl. ¶ 121.) Neither Dr. Kakaes nor Dr. Jayant provided a
 meaningful explanation on the difference between a moderate or marginal
 improvement, and it is not clear that this score can be used for determining
 whether a patent a top 10% or bottom 90% SEP. (TT Feb. 17, 2017, p. 142:16-
 24.) Dr. Leonard drew his top 10%:65% ratio from a paper by Dr. Jonathan
 Putnam, who found that across various industries the top 10% of patents contained
 65% of the value in the industry. (Leonard Decl. ¶¶ 100-101; Ex. 319.) The Court
 is not persuaded Putnam’s findings are applicable to telecommunications SEPs.
 Dr. Leonard also did not explain why a different skew was appropriate here
 compared to Innovatio, where he testified based on a different paper that the top
 10% of Wi-Fi SEPs provided 84% of the value. Innovatio, 2013 WL 5593609, at
 *43.

       Similarly, the Court is not persuaded by Dr. Leonard’s forward citation
 analysis, which he used as a check on the importance and contribution analysis.
 (Leonard Decl. ¶ 102.) Its results generally contradicted the importance and
 contribution analysis done by Dr. Kakaes, and the Court is not convinced on this
 record that it provides a meaningful way to value SEPs. (Kennedy Rebuttal Decl.
 ¶¶ 215-221.) It does not appear that any other court or company has used a
 27
  Because the importance scores were ultimately irrelevant, the Court need not discuss the
 validity of TCL’s attempt to quantify the importance of Ericsson’s SEPs.

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 forward citation analysis for such a task, and it is unclear whether companies
 would have the same incentives to cite to potential prior art, particularly in the
 context of multiple standards. In addition, while ignoring self-citations reduces
 the risk of gaming the system, it would also appear to ignore the possibility that
 one patent owner would naturally cite to itself because it is has been the leader in
 developing a particular technical area.

       Because the Court has found fatal flaws with certain steps in TCL’s top
 down approach, it does not accept Dr. Leonard’s final numbers. However, the
 Court does find some value in the technical analysis, particularly to show that
 Ericsson’s patent portfolio is certainly not as strong or essential as it has claimed.
 The Court uses this finding in part to assist it in determining the final FRAND
 rate.

       D.     Adjusting for Ericsson’s Weaker Portfolio outside of the United
              States.

        Generally speaking, Ericsson’s portfolio is weaker outside the U.S.
 (Leonard Decl. ¶¶ 132-134.) If Ericsson does not patent the same technology in
 other regions, then that technology remains in the public domain in those
 jurisdictions. (Id. ¶ 132.) A fair and reasonable royalty must be proportionally
 related to an SEP owner’s geographic patent portfolio strength, and ignoring
 disparities in geographic patent portfolio strength ignores the fundamental
 relationship between FRAND and domestic patent law. (ETSI IPR Policy § 15.7,
 Ex. 223 at 7.) This is because FRAND does not permit an SEP owner to charge a
 royalty for an IPR it does not own, and unpatented inventions are essentially in the
 public domain. (Leonard Decl. ¶ 132.) Nevertheless, the Court assumes that
 FRAND permits companies to agree to a global rate between themselves and
 structure their contracts accordingly, so long as such an agreement would not
 violate the patent law of each country where the products are sold. Many of the
 licenses presented to the Court during the course of the litigation reflect the fact
 that as a matter of commercial reality, firms regularly adopt a single world-wide
 rate.

       It would be very easy to construct a FRAND rate using any of the
 approaches presented in this case without examining where an SEP owner actually
 has enforceable patents. In a top down approach, one would simply calculate the

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 number of SEPs owned by Ericsson, divided by the total number of SEPs, and then
 multiply that by the total aggregate royalty. Indeed, TCL began its top down
 model in such a way. It is not until Dr. Leonard generated U.S.-specific numbers
 that TCL began to tie its FRAND royalty to patents filed in a particular country.
 (Leonard Decl. ¶ 94, Table 4.) However, to look at patent families in the abstract
 without regard to where actual patents are enforceable would result in a subsidy to
 consumers in countries where the SEP owner has more enforceable patents from
 consumers that are not legally obligated to pay such a royalty. In essence, a global
 patent rate that does not account for differences in national patent strength
 provides the SEP owner a royalty based on features that are unpatented in many
 jurisdictions. See Ericsson v. D-Link, 773 F.3d at 1232 (requiring patent royalties
 to apportion the value of the patent feature apart from the unpatented features of
 the standard).

        There is one important caveat to this general rule: patents can also be
 enforced where the product is manufactured. (Leonard Decl. ¶ 134.) This means
 that the SEP owner’s patent portfolio strength in the country where the products
 are made effectively sets a global floor for the manufacturer’s FRAND rate.
 Because TCL manufactures its products in China, the strength of Ericsson’s SEP
 portfolio in China will therefore determine the lowest FRAND rate for any product
 TCL sells globally. (Id.)

        There are two countervailing considerations for the Court in accounting for
 regional disparities in an SEP owner’s patent portfolio: (1) the regional disparities
 have to be supported by evidence in the record, and (2) final rate(s) should avoid
 complications that disproportionately increase the complexity and difficulty in
 understanding and enforcing any final judgment. Courts would be faced with an
 insurmountable task if they have to resolve disputes involving the technical
 nuances of patent law in dozens of jurisdictions, where as here the parties have
 requested a global adjudication, especially if the sum of all of those disputes is
 relatively trivial. Where geographic disparities are relatively insubstantial or
 unsupported by the evidence, the Court disregards them in favor of a more
 understandable, administrable, and enforceable royalty structure.28

 28
   For these reasons, the Court finds it unnecessary to create a separate rate for TCL’s definition
 of the Asia-Pacific region, which excludes China. The entire region is less than 2% of TCL’s
 total sales, and Ericsson’s patent strength in that region is sufficiently close to China’s for all
 standards that accounting for it separately would likely have less impact than a rounding error.

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        Dr. Leonard accounted for geographic disparities by determining how many
 SEPs Ericsson owns in the United States in order to make regional adjustments
 and create a global blended rate that is based on TCL’s sales in each region.
 (Leonard Decl. ¶¶ 94, 132-34.) He first determined Ericsson’s value share of
 SEPs in the United States. (Id. ¶ 94.) He then determined the country in each of
 TCL’s sales regions where Ericsson has the strongest patent portfolio by value
 share, which he applied to the entire region. (Id. ¶ 133.) He then expressed that
 region’s value share as a percentage of Ericsson’s U.S. value share (with China as
 a floor). Blending the regional value shares and TCL’s actual and projected sales
 for the course of the license to account for differences in selling prices, Dr.
 Leonard eventually created a single global rate. (Id. ¶¶ 138-39.) This process was
 designed to ensure that TCL’s total royalty payments would reflect the regional
 variations in Ericsson’s patent portfolio. However, because Ericsson’s portfolio is
 stronger in the U.S. than the rest of the world, a global blended rate still means
 that TCL’s sales throughout the world are paying a higher rate to subsidize TCL’s
 sales in the United States.

        Aside from the United States, the only other region where Ericsson has a
 stronger patent portfolio than China is Europe, and only for 2G and 3G. For the
 reasons described above, instead of trying to project future sales and use a
 weighted blended average to create a global rate, the Court instead adopts three
 setsof rates for TCL’s sales in: 2G, 3G, and 4G in United States; for 2G and 3G
 sales in Europe; and for 2G, 3G, and 4G sales in the rest of the world (“ROW”).
 Ericsson’s European value share is 72.2% and 87.9% of its United States
 portfolio’s value share for 2G and 3G respectively. (Ex. 1122.) For ROW,
 Ericsson’s value share relative to its U.S. portfolio is 54.9% for 2G, 74.8% for 3G,
 and 69.8% for 4G. (Id.) The Court would have preferred to have the regional
 patent strength presented by country and not region to avoid lumping together the
 patent regimes of different countries, but Dr. Leonard presented his conclusions
 only by region. (Ex. 1122.) However, because of Ericsson’s strength in China,
 the only relevant regional calculation of Dr. Leonard’s is for Europe. The Court is
 much less concerned about using a single regional rate for Europe because many if
 not most of Ericsson’s patents in Europe are European Patents. Microsoft Corp. v.
 Motorola, Inc., 696 F.3d 872, 878 n.3 (9th Cir. 2012) (noting that while European
 Patents are not a transnational patent, they are equivalent to a national patent in
 each designated state that is a signatory to the European Patent Convention).

 (Ex. 1122.)

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       The Court understands that these ratios are based on Dr. Leonard’s value
 shares, which incorporate the importance and contribution analysis which the
 Court rejected above. However, this is not a significant problem because the
 regional numbers stated above are a ratio of one value share to another. This
 means that the ratios are only impacted by the importance and contribution
 analysis to the degree that Ericsson has disproportionately registered its less
 valuable patents (in Dr. Leonard’s approach) in Europe and China compared to the
 United States. There is no reason to believe this is true, and if the importance and
 contribution analysis has any bearing on the value of patents (which the Court
 agrees it does, just not enough to apply it to the entire top down analysis), Ericsson
 would have a strong incentive to register those patents in foreign countries more
 frequently than others. For this reason, the Court is comfortable applying Dr.
 Leonard’s regional adjusted portfolio strength ratios.

 V. Calculating a Fair and Reasonable Royalty Rate.

       The basic formula to calculate a top down royalty rate using a simple patent
 count is:




 Filling in the numbers the Court has adopted above provides the following results:
 2G:
 USA:                             = 0.16402% of ASP
 Europe:                          = 0.11842% of ASP
 ROW:                             = 0.090049% of ASP

 The 2G and 3G figures which the Court calculates compare to Dr. Leonard’s final
 conclusion that a proper 2G/3G world wide blended rate is .21%. (Leonard Decl.
 ¶ 143.)

 3G:



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 Using TCL’s patent number:

 USA:                                  = 0.10309% of ASP

 Europe:                               = 0.090618% of ASP

 ROW:                                  = 0.07711% of ASP

 Using Ericsson’s patent number:

 USA:                                  = 0.12932% of ASP

 Europe:                               = 0.11367% of ASP

 ROW:                                  = 0.09673% of ASP

       For 4G there are 4 different combinations, using a 6% up to a 10% total
 aggregate royalty, and using just the number of patents TCL concedes are
 essential, or up to the total number that Ericsson disputes are also essential:



 That formula returns the following results:
   USA                          6%              10%
   69.88 Ericsson SEPs        0.28297        0.471611
   111.51 Ericsson SEPs       0.45145        0.752576
   Rest of World                6%              10%
   69.88 Ericsson SEPs        0.19751         0.32918
   111.51 Ericsson SEPs       0.31517         0.52529


       The 4G rates which the Court calculates compare to Dr. Leonard’s final
 conclusion that a proper 4G world-wide blended rate is .16%. (Leonard Decl. ¶
 139.)



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       The charts below compare the U.S. 3G and 4G rates from the Court’s top
 down analysis compared to the U.S. rates implied by Option A and Option B. The
 Court explains its conversion of unpacked rates to U.S. rates in Part 4, Section VI,
 below.




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       Even if one assumed the lowest possible rates under Option A (TCL sells
 exactly $3 billion entirely 4G sales) and under Option B (TCL’s ASPs are above
 the cap), there is a substantial disparity in rates.




       While the Court has some reservations about the top down analysis, there is
 no basis to reconcile the results of the top down analysis with Option A or Option
 B. Even if the Court assumed that every patent that Ericsson presented at trial was
 essential, applied a 10% total aggregate royalty, and ignored when patents expired,
 the 4G U.S. royalty rate would still only be .843%. Option A and Option B are
 therefore not fair or reasonable offers by the top down measure.

       As discussed below (Part 4, Section VI), the Court uses these numbers in
 conjunction with its analysis of comparable numbers to create its overall FRAND
 rate.

              PART 3: ERICSSON’S EX STANDARD APPROACH

      Ericsson presented the work of David Kennedy as a means of testing
 whether Ericsson’s Options A and B are fair and reasonable. (Kennedy Decl. ¶¶

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 225-29.) The ex-Standard approach is designed to estimate the value of SEPs
 independent of any value arising from incorporation of SEPs into a standard. (Id. ¶
 29.) The premise is that if the royalties sought by Options A and B are less than
 the ex-Standard value of the licensed technology, the analysis indicates that the
 royalties are fair and reasonable. (Id.)

       The Court found the analysis flawed at multiple steps and rejects the
 conclusions.

        Kennedy worked with Ericsson’s technical expert, Dr. Parkvall, to perform
 three steps: (a) isolate and identify the specific contributions of 4G SEPs to the
 cellular standards by comparison to the next best available non-infringing
 alternative, (b) estimate the economic value of the technical contribution of all 4G
 SEPs over the next best available non-infringing alternative; and (c) apportion
 Ericsson’s share of that economic value. (Id. ¶¶ 30, 230.)

        Dr. Parkvall performed what he referred to as a “technology by technology”
 analysis. He began by subdividing Ericsson’s SEPs into ten technology sub-areas.
 (Parkvall Decl. ¶¶ 55-69.) He then considered the Ericsson SEPs within each sub-
 area and identified the next best non-infringing way to implement the technology
 in the 2G, 3G, or 4G standard without using Ericsson’s SEPs. (Parkvall Decl. ¶¶
 57, 70; Kennedy Decl. ¶¶ 231-32.) At that point, Dr. Parkvall identified the
 benefits that each sub-area conferred on the 4G standard over and above the next
 best non-infringing alternative. (Parkvall Decl. ¶¶ 75, 93, 113, 145, 161, 184,
 214-15.) Dr. Parkvall calculated a value for certain of these benefits, including
 improved battery life, faster data speeds/throughput, fewer connection delays/less
 latency, better uplink peak-to-average ratios, increased spectral efficiency, and
 coverage improvements. (Id.; TT Feb. 28, 2017, p. 131:11-24.) For other benefits,
 including decreased interference, increased service quality, increased network
 coverage, cheaper handset components, increased voice quality, and increased
 security, Dr. Parkvall did not calculate a precise value, but simply testified to the
 fact that they confer value on a handset. (Parkvall Decl. ¶ 215.)

        Kennedy measured the dollar value that two of these benefits—improved
 battery life and faster data speeds—confer on a 4G device as compared to the
 alternative identified by Dr. Parkvall. (Kennedy Decl. ¶¶ 235-42, 248-57.) For
 the other two benefits—less latency and improved system capacity/network

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 performance—Kennedy analyzed the value they confer on a 4G device, without
 calculating a specific monetary value. (Id. ¶¶ 258-72.)

         To assign a dollar value to the improved battery life benefit, Kennedy relied
 on Dr. Parkvall’s testimony that 4G “sleep mode” technology provides a 53%
 improvement in battery life over the next best non-infringing alternative. (Id. ¶¶
 236-37; Parkvall Decl. ¶ 184.) He also relied on the results of a survey of 306
 American smartphone users that was conducted by International Planning and
 Research (“IP&R”) in 2012. (Kennedy Decl. ¶¶ 239-41.) However, Dr. Parkvall
 conceded that many companies other than Ericsson were involved in creating
 “Sleep Mode Solutions.” (TT, Mar. 11, 2017, ( Sealed Vol. 3) pp. 8:19-11:13.)
 Neither Dr. Parkvall nor Kennedy determined Ericsson’s proportional share of
 Sleep Mode Solutions patents, or the number of accepted technical contributions
 that relate to Sleep Mode Solutions submitted by Ericsson or any other companies.
 (Id.; see also Kakaes Rebuttal Decl., ¶¶ 284-85, Figures 49-52 (finding Ericsson’s
 share of Sleep Mode Solutions patents is just 2.3%, not 14.6%).)

       Using these two inputs, Kennedy arrived at a dollar value of $15.90.
 (Kennedy Decl. ¶¶ 241-42, Figure 57.) Because other companies have
 contributed technology to the 4G standard that works in tandem with Ericsson’s
 4G Essential Patents, he apportioned out Ericsson’s share of the $15.90 using the
 Signals Research Group (“Signals”) approved contribution counting data. (Id. ¶
 238) This led him to conclude that Ericsson’s share of the value conferred on a
 4G handset by improved battery life is $2.32 per handset. (Id. ¶ 242.)

        To assign a dollar value to the faster data speed benefit, Kennedy relied on
 Dr. Parkvall’s testimony that Ericsson’s 4G Essential Patents improve data rates
 through multiple technology clusters. (Id. ¶ 249; e.g., Parkvall Decl. ¶ 146)
 (testifying that a system without Ericsson technology would not achieve 4G
 system throughput or bitrates).) For his dollar figures, he relied on a 2012 survey
 by IP&R, as well as a 2013 survey of more than 30,000 consumers in 26 countries
 by Accenture. (Kennedy Decl. ¶¶ 248-54.) Using these surveys, he arrived at a
 dollar value of $26.24 to $33.00 per handset. (Id. ¶¶ 251-54, Figures 59, 60.)
 After apportioning Ericsson’s share based on contribution counts determined by
 Signals, (id. ¶¶ 252, 254), he concluded that Ericsson’s share of the value
 conferred on a 4G handset by faster data speeds is $3.83 to $4.82 per handset. (Id.
 ¶¶ 252, 254, Figures 59, 60.)

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         Taken together, Kennedy estimated that just two of the benefits of
 Ericsson’s 4G Essential Patents confer $6.15 to $7.14 of value on a 4G handset .
 The Court finds that Kennedy’s result are highly suggestive of royalty stacking;
 i.e, valuing individual components of a standard in manner that accedes the
 aggregate value of the standard. Kennedy concedes these figures have never been
 the basis for any of Ericsson’s licensing proposals, and no Ericsson licensee has
 ever paid anywhere close to $6.15 per phone for a license to Ericsson's 4G patents.
 (TT, Feb. 28, 2017, p. 133:13-23.)

        While the Court has doubts about the ex-Standard method as implemented
 here, Ericsson is correct that TCL did not challenge Kennedy’s ex-Standard
 methodology, but rather challenged the inputs to his calculations: Dr. Parkvall’s
 technical analysis, the surveys by IP&R and Accenture, and the use of contribution
 counting. (Kakaes Rebuttal Decl. ¶¶ 15-40, 285-85; Simonson Rebuttal Decl. ¶¶
 30-49.) The Court found TCL’s criticisms of Ericsson’s ex-Standard analysis
 persuasive.

        Kennedy’s apportionments are flawed because they relied on contribution
 counting, and because he apportioned based off of what percentage of the standard
 as a whole Ericsson owned, not the specific technologies he identified. (Kennedy
 Decl. ¶¶ 242, 252.) The Court identifies many of the problems with contribution
 counting below (see Part 4, Section IV.B.3 below). While Kennedy did use Dr.
 Ding’s patent counting results as an alternative, this still gave Ericsson credit
 regardless of how many patents it actually owned that were related to that
 technology. This is particularly confusing because Dr. Parkvall actually identified
 how many SEPs Ericsson owned for each technical area, but Kennedy did not use
 this information to determine. (E.g., Parkvall Decl. ¶ 134, 154, 178.) Ericsson is
 only entitled to 14.6% of the value longer of battery life or faster connections if it
 can show that it owns 14.6% of the patents that cover those inventions. Kennedy
 did not attempt to show that Ericsson is responsible for 14.6% of the specific
 features he valued.

       In addition, Dr. Itamar Simonson testified that the surveys used by Kennedy
 were irrelevant and biased. (Simonson Rebuttal Decl. ¶¶ 11, 33-37, 47-49.) The
 Court found Dr. Simonson’s testimony credible. Kennedy has no experience in
 survey work, and the basis for his reliance on the surveys is questionable. By
 contrast, Dr. Simonson is exceptionally well credentialed in survey work. (Ex.

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 2387.) Kennedy conceded that Dr. Simonson is more qualified to address matters
 related to the study of consumer behavior and survey design. (TT, Feb. 28, 2017,
 p.145:3-7.)

          The Court finds that Dr. Simonson’s criticisms of the survey work here are
 valid.

        First, the IP&R survey suffered from many defects which make it unreliable
 as a basis for measuring the value of any Ericsson patented technology.
 (Simonson Rebuttal Decl. ¶¶ 33-46.) For example, IP&R focused on one feature
 at a time instead of presenting the bundle of phone features consumers evaluate in
 reality, and also singled out certain features. (Id. ¶¶ 39-44.) Research shows that
 singling out features without simultaneously considering other features tends to
 greatly overstate the importance of the focal feature, as compared to its impact in
 actual purchase decisions. (Id., ¶¶ 24-26, 28, 33-46.) Also, research shows that
 asking survey respondents direct questions about their willingness to pay for
 individual features and feature differences has been shown to be unreliable and
 susceptible to various influences. (Id. ¶ 26, 38, 43.)

        Second, the survey from Accenture apparently focused on the value and
 interest in various mobile network services, not necessarily handset features. (Id.
 ¶ 48; Ex. 4845, pp. 2.) Otherwise, no information was provided by Ericsson
 showing the survey methodology, or the specific questions asked. (Simonson
 Rebuttal Decl. ¶ 47.) This prevents a proper assessment of the reliability of the
 survey (although, as noted above, any attempt to gauge feature value by asking
 questions about willingness to pay for specific features is unreliable). (Id.; see
 also id. ¶¶ 24-26, 28, 38.)

       In the end, the Court found that the ex-Standard approach lacked
 fundamental credibility. If one takes a step back and credits Kennedy’s work at
 face value, it is simply not logical that two features could have a value in excess of
 Ericsson’s entire portfolio. Either there is something radically wrong in Ericsson’s
 portfolio valuation, or Kennedy’s work is not reliable. The Court draws the latter
 conclusion.

            PART 4: COMPARABLE LICENSE ANALYSIS AND FRAND
                           DETERMINATION

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        The second component of the FRAND obligation is to offer a rate which is
 non-discriminatory. The parties agree that like, or close to, like rates must be
 offered to firms which are similarly situated. (TCL COL, ¶ 34; Ericsson COL, ¶
 17.) The parties point to different clusters of firms for the comparison. TCL
 contends that the relevant licensees are Apple, Samsung, Huawei, LG, and HTC.
 (TCL COL, ¶¶ 36 et seq.) Ericsson focuses on firms in the middle and lower end
 of the market: LG, HTC, CoolPad, Kaarbon, and ZTE. (Ericsson FOF, ¶ 317.)
 The Court identifies the relevant firms, and then analyzes their rates to test Option
 A and Option B for discrimination.

 I.    Summary of the Comparable License Analysis.

        The Court begins this section with an explanation of how it determined
 firms comparable to TCL for non-discrimination purposes, and then identifies the
 six firms that it finds are similarly situated to TCL: Apple, Samsung, LG, HTC,
 Huawei, and ZTE. The Court then explains the formula used to “unpack” a
 license. Unpacking is used to derive a one-way royalty rate so that licenses can be
 compared on a common basis. Here, unpacking requires the Court to account for
 cross-licenses, lump sum payments, pass-through rights, and other issues. The
 Court explains why it chose not to use dollar-per-unit rates and instead calculates
 its unpacked results as percentage royalties without caps or floors. The Court then
 explains how it determined appropriate discount rates, revenue of each licensee,
 and the appropriate portfolio strength ratio, or PSR. The Court then analyzes the
 licenses from the six comparable firms and compares them to the results of
 Ericsson’s Option A and Option B. The Court then explains why it rejected
 Ericsson’s proposed requirement of competitive harm, and finally the Court
 provides its conclusions from the comparable license analysis.

 II.   Summary of the Experts and their Qualifications.

       A. Unpacking.

      Dr. Matthew Lynde conducted the unpacking analysis for TCL, and David
 Kennedy conducted the unpacking analysis for Ericsson. Dr. Lynde is an
 economist at Cornerstone Research, an economic and financial consulting firm.
 (Lynde Decl. ¶ 1.) He holds a bachelors and Ph.D. in economics from the

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 University of California, Berkeley. (Id. ¶ 2.) His consulting work specializes in
 the economic and financial analyses of complex business and regulatory matters,
 and he has analyzed thousands of license agreements. (Id. ¶¶ 8-9.) He has
 testified extensively as an expert witness on the economic issues related to
 intellectual property and antitrust law. (Id. ¶ 8.) Kennedy is a Managing Director
 of the consulting firm Berkeley Research Group, LLC. (Kennedy Decl. ¶ 42.) He
 specializes in patent valuation, patent licensing, and patent sales, and has
 participated in or analyzed more than 150 patent-related transactions. (Id.) He
 holds a B.S. in Business Administration with a major in accounting from the
 University of Georgia, and has been a licensed Certified Public Accountant in
 Georgia since 1987. (Id. ¶ 50.)

       B. Similarly Situated Firms.

        To determine which firms are similarly situated to TCL, Ericsson relied on
 Dr. David Teece, while TCL relied on Dr. Janusz Ordover. Dr. Teece is a
 professor of Global Business at the Haas School of Business at the University of
 California, Berkeley, and received his Ph.D. in economics from the University of
 Pennsylvania. (Teece Decl. ¶ 2.) He co-founded and co-edits Industrial and
 Corporate Change, an academic journal that focuses on issues related to
 technological change, and has published hundreds of books and articles in the
 fields of industrial organization, technology management, and public policy. (Id.
 ¶¶ 2-3.) He has testified as an expert witness over 100 times, including in a
 number of RAND, FRAND, and antitrust trials. (Id. ¶¶ 6-8.) Dr. Ordover is a
 Emeritus Professor of Economics at New York University, and former Deputy
 Assistant Attorney General for Economics in the Antitrust Division of the U.S.
 Department of Justice. (Ordover Decl. ¶ 1.) He received his Ph.D. from New
 York University, and has written extensively on topics such as antitrust, the
 licensing of intellectual property, and the FRAND commitment. (Id. ¶ 2; Ex. 451.)

       C. Valuation of LG Patents.

        To estimate the value of certain patents that LG transferred to Ericsson as
 part of their license agreement, Ericsson relied on Michael Pellegrino, and TCL
 relied on Dr. Andrew Wolfe. Pellegrino is the president of Pellegrino and
 Associates, LLC, a boutique intellectual property valuation firm. (Pellegrino Decl.
 ¶ 15.) His firm has conducted hundreds of intellectual property valuations, and he

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 wrote the first and second editions of BVR’s Guide to Intellectual Property
 Valuation. (Id. ¶ 16.) He received a bachelor’s degree in computer science from
 the Indiana Institute of Technology, and a Master’s degree in business
 administration from Ball State University. (Id. ¶ 21.) Dr. Wolfe earned his
 B.S.E.E. in Electrical Engineering and Computer Science from The Johns Hopkins
 University, an M.S. in Electrical and Computer Engineering from Carnegie Melon,
 and a Ph.D. in Computer Engineering from Carnegie Melon. (Wolfe Decl. ¶ 2.)
 He has published more than 50 articles on computer architecture and computer
 systems, and has testified extensively on patent issues. (Id. ¶ 11; Ex. 1600.) He
 works as a consultant on intellectual property issues for Wolfe Consulting, and
 teaches graduate courses on computer organizations and architecture at the
 University of Santa Clara. (Ex. 1600.)

        The Court found that all of the experts were well-credentialed.

 III.   Determining The Relevant Firms.

        The Court concludes that for purposes of license comparisons the analysis
 should include all firms reasonably well-established in the world market. This
 implies a necessarily wide spectrum, and correctly so for several reasons. First,
 ETSI contemplates facilitating competition in the market, particularly from
 emerging firms. Second, excluding from the analysis the largest firms in the
 market would have the effect of insulating them, and further contributing to their
 dominant positions, by imposing a barrier in the form of higher rates for those not
 at the top end of the market. (See TT Mar. 1, 2017, pp. 171:22-173:25.) By the
 same token, TCL overstates the nature of the concern for small and medium sized
 firms.29 Third, permitting Ericsson to define similarly situated very narrowly by
 picking and choosing criteria with no relation to its SEPs or the FRAND
 commitment would effectively allow Ericsson to read the non-discrimination
 prong out of the FRAND commitment.

        In defining similarly situated firms, there is a similar thread among all
 experts in that they look to firms using the same technology and at a similar level
 in the value chain. (Ordover Decl. ¶ 61; TT Mar. 1, 2017, p. 104 (Teece); id., p. 6-
 7 (Kennedy).)
 29
  ETSI was concerned about the availability of arbitration to small firms in deterring
 discrimination. (Ex. 5289 at 4, 6.) However, an arbitration scheme was never adopted.

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        The Court finds that the concept of strategic groups advocated by Dr. Teece
 takes too narrow a focus. Under his approach, discrimination between firms in
 different strategic groups would never run afoul of FRAND, absent an adverse
 effect on standards development. (TT Mar. 1, 2017, pp. 170-76.) The Court finds
 that competition for purposes of FRAND is not limited to Dr. Teece’s definition of
 head-to-head competition. On the other hand, Dr. Ordover’s view that TCL is
 similarly situated with every other firm that uses the same technology is too broad
 and would impose the same rate on large global firms and local niche
 manufacturers. (TT Feb. 15, 2017, pp. 74-75.)

        The Court also believes that similarly situated should be broadly interpreted
 because the mobile phone market has been extremely dynamic over the last
 decade. In 2007, the six largest companies ranked by U.S. market share were, in
 order, Motorola, Samsung, LG, Nokia, Blackberry, and Apple. (Teece Decl. ¶
 163, Figure 16.) Within a decade Motorola, Nokia, Blackberry, and even
 Ericsson’s own handset division would be shuttered or divested, events which
 Brismark acknowledged no industry observer would have ever predicted.
 (Brismark Decl. ¶ 61.) TCL itself first entered the U.S. market in 2011, and within
 six years was the fourth largest manufacturer in the U.S. by market share. (Cistulli
 Decl. ¶ 3.) The volatility of the handset market over last decade requires the Court
 to exercise a broad view of who will be similarly situated to TCL over the course
 of the five-year license which the Court adopts.

        The parties agreed that Huawei, LG, HTC, and ZTE30 are similarly situated
 to TCL. (TCL COL, ¶ 36; Lynde Decl. ¶ 84; Ericsson FOF, ¶¶ 308, 310.) The
 Court agrees that these firms are similarly situated to TCL because they meet the
 Court’s criteria for well-established global firms. TCL argued that in addition, at
 least Apple and Samsung are also similarly situated to TCL. (TCL COL, ¶¶ 34-
 35.) Ericsson disagreed and argued that Coolpad and Karbonn, not Apple and
 Samsung, are similarly situated to TCL. (Ericsson FOF, ¶ 310.) The Court
 therefore needs to determine whether Apple, Samsung, Coolpad, and Karbonn are
 also similarly situated to TCL.


 30
   TCL appears to have dropped ZTE from its list of similarly situated firms, presumably because
 Dr. Lynde could not unpack rates from its licenses. However, whether a firm is similarly situated
 to TCL is a separate question from whether the firm’s effective rate can be calculated, and what
 that rate means for non-discrimination under the FRAND commitment.

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       For the reasons set forth below, the Court finds that six firm meet the
 Court’s criteria: Apple, Samsung, Huawei, LG, HTC, and ZTE. The Court
 appreciates Ericsson’s position that certain firms should be excluded from the
 analysis because their licenses post-date Option A and Option B, but for the
 moment the Court focuses on similarity.

       A. Factors Relevant to Finding Firms Similarly Situated.

         In determining which firms are similarly situated to TCL, the Court’s task is
 to identify other reasonably well-established firms in the global market. Certain
 factors obviously matter, such as the geographic scope of the firm, the licenses
 required by the firm, and a reasonable sales volume. These factors suggest that
 even among similarly situated firms, there may be degrees of similarity which may
 affect the weight that each unpacked rate has on the Court’s conclusions. The
 Court does not believe that factors such as the firm’s overall financial success or
 risk, brand recognition, the operating system of their devices, or the existence of
 retail stores have any bearing on whether Ericsson’s royalty rates for its SEPs are
 discriminatory.

       B. Local Kings are not Similarly Situated to TCL.

       In this case geographic scope is the most important factor in determining
 which firms are similarly situated to TCL. The Court heard testimony breaking
 down major firms into two types, global firms, and “local kings.” (Guo Decl. ¶ 7.)
 As the Court uses the term, a local king is a company that sells most or all of its
 devices in a single country, often the same country where it is headquartered and
 manufactures the devices.

        Local kings are not similarly situated to global firms for two reasons. First,
 their sales largely occur in one country, while a single country will generally
 account for a relatively small percentage of the global firm’s sales. Because the
 global firm will be dealing with different marketplaces, different regulatory
 environments, and consumers with different tastes and preferences, a global firm is
 unlikely to be similarly situated to a local king. Second, local kings receive a
 different license from Ericsson. A local king only needs license to Ericsson’s
 SEPs in one jurisdiction, and Ericsson is bound to limit its offer to a rate that
 reflects the SEP strength of its portfolio in that jurisdiction. However, for global

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 firms, Ericsson asserted that it provides a license at a global blended rate which
 averages out the higher rates Ericsson could charge in some countries with the
 lower rates it could charge in countries with weaker or non-existent patent
 protections.31 (Brismark Decl. ¶ 55.) Thus, a license between Ericsson and a local
 king does not reflect the rate that a global firm like TCL would have to pay.

        Ericsson argued that Karbonn and Coolpad are similarly situated to TCL,
 but Karbonn and Coolpad are both local kings. (Ericsson FOF, ¶ 327; Guo
 Rebuttal Decl. ¶¶ 49-53.) Karbonn sells handsets almost exclusively in India,
 while less than 3% of TCL’s sales occurred in India. (Teece Decl. ¶ 80; Guo
 Rebuttal Decl. ¶ 53; Ex. 1122.) It is unclear what percentage of Coolpad’s sales
 are made inside China, but both sides agreed it was “most.” (Guo Rebuttal Decl. ¶
 51; Teece Decl. ¶ 127.) Coolpad’s sales outside of China are so small that
 Kennedy assumed that all of its sales were in China when he unpacked its license
 with Ericsson. (Kennedy Decl. ¶ 204.) Coolpad’s 2014 annual report shows that
 roughly 93% of its total revenue in 2014 came from customers in China, and
 virtually all revenue was from the sale of mobile phones and phone accessories.
 (Ex. 2389 at 82-83.) This stands in stark contract to TCL, where over 90% of its
 sales occur outside its home country of China. (Guo Rebuttal Decl. ¶ 11.) Based
 on this evidence, Karbonn and Coolpad are not similarly situated to TCL.

        C. Apple and Samsung Are Similarly Situated to TCL

        TCL is a one of the largest cell phone companies in the world, and sells a
 wide range of products around the world. TCL sells mobile devices in every
 continent, with South America taking the largest share at 26.4% of TCL’s devices
 sold in 2015. (Guo Decl. ¶ 25, Figure 3.) TCL will require at least a multi-modal
 4G license for Ericsson’s SEPs, as well as 3G32 and 2G licenses. In 2015 it was


 31
    The Court is skeptical that Ericsson actually averages different levels of patent protection to
 create a global blended rate for global firms. First, there is no evidence that Ericsson actually
 does this in its business cases. Second, Ericsson’s preferred metric for determining its portfolio
 strength is contribution counting. Contribution counts, discussed more below, are a single
 number independent of geography or intellectual property rights, and thus cannot be used to
 reflect or average geographic distinctions in patent portfolios.
 32
    It is clear that at least some of TCL’s devices would have pass-through rights to Ericsson’s 3G
 SEPs because of a separate license agreement between Qualcomm and Ericsson, but the parties
 do not address the details of these devices or how that may affect the overall license.

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 the seventh largest mobile phone seller by volume. (PDX 23733.) For reference, in
 2015 Huawei was ranked fourth by volume, LG was ranked sixth, ZTE was ranked
 ninth, and HTC did not reach the top ten. (Id.)

        In 2015 Apple was the second largest seller of mobile phones in the world.
 (PDX 237.) Its devices cater to the high end of the market, but Apple also sells
 older and refurbished models at much lower price points to capitalize on
 customers at the lower segments of the market. (Brismark Decl. ¶ 75; Guo
 Rebuttal Decl. ¶ 33.) Apple sells its devices globally, manufactures them in
 China, and they are all multi-modal 4G devices. While Apple’s phones have
 similar specifications to some of TCL’s flagship products, both parties agree that
 Apple’s products command much higher selling prices because of the incredible
 value of its brand. (Ericsson FOF, ¶ 18; Cistulli Decl. ¶ 72.) Ericsson agreed the
 premium that consumers pay for Apple products (and Samsung products,
 discussed below) is largely a function of brand value and other intangibles
 unrelated to the value added by Ericsson’s SEPs. (Brismark Decl. ¶ 73.)

        In 2015 Samsung was the largest seller of mobile phones by volume. (PDX
 237.) Samsung also sells its phones globally. Similar to HTC, Samsung’s
 products cater the mid to high end of the market. Samsung’s products are similar
 to Apple’s because both companies sell their high-end products at a premium
 because of brand value, but that brand value has nothing to do with the value
 provided by Ericsson’s SEPs. Samsung, like TCL, sells feature phones and
 smartphones, and requires licenses for multi-mode 4G, as well as 3G and 2G.
 (E.g., Guo Rebuttal Decl. ¶¶ 17-18.)

        The Court cannot identify any dispositive reason why Apple and Samsung
 are not similarly situated to TCL with regard to Ericsson’s SEPs. All three firms
 are all global firms, Ericsson has asked all three to pay a global blended rate for a
 multi-modal 4G license, they all create phones of similar technical specifications,
 and they all have substantial sales volume. Although Apple does not require 2G
 or 3G licenses, Samsung does, and Ericsson does not suggest that Apple’s lack of
 2G or 3G products justifies TCL paying a higher 4G rate than Apple. Apple and
 Samsung do sell many more devices than TCL, but the Court views sales volume
 only as a filter to separate out niche and small firms from the reasonably well-
 33
  While PDX 237 is not in evidence, the Court found it to be an accurate summary of IDC data.
 (Ex. 1273.) The Court cites to this and other PDXs as accurate summaries of the evidence.

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 established global firms. Sales volume alone does not justify giving lower rates to
 otherwise similar firms. Ericsson identifies many other criteria in its attempt to
 show Apple and Samsung are not similarly situated, but exclusive applications,
 retail stores, brand recognition, and a proprietary operating system are irrelevant to
 determining a non-discriminatory rate for Ericsson’s SEPs. Ericsson would
 clearly prefer that Apple and Samsung be considered sui generis, but the
 prohibition on discrimination would mean very little if the largest, most profitable
 firms could always be a category unto themselves simply because they were the
 largest and most profitable firms.

 IV.   Determining the Rates for Assessing the Presence of Discrimination.

       The experts devoted substantial effort to analyzing the relevant licenses, an
 exercise made more complex in some cases by the presence of cross-licenses and
 lump sum payments. However, their license unpackings provided a common basis
 to compare the economic deal offered each licensee. One surprising result is that
 the experts’ conclusions for each firm largely agreed and were rarely widely
 disparate.

         There are certain terms which the parties used to describe various licensing
 arrangements which will make the analysis clearer. A cross-license or two-way
 license is in effect a reciprocal license: the licensee grants Ericsson the right to use
 its infrastructure SEPs in exchange for a smaller payment. A licensee’s cash
 payment takes the form of a lump sum or running royalties. A lump sum is a fixed
 payment or series of fixed payments regardless of how many units the licensee
 sells. A running royalty means that the licensee pays a royalty for each qualifying
 unit, usually either as a percentage of the unit’s net selling price, or on a dollar-
 per-unit basis. If the running royalty is calculated as a percentage of the net
 selling price, in some cases Ericsson’s royalty would be subject to a cap and a
 floor. For example, if the contract specified a 1% royalty, with a floor of $2 and
 cap of $4, then for a $300 device Ericsson would receive $3, for a $150 device it
 receive be $2 (because of the floor), and for a $500 device it would receive $4
 (because of the cap).

       A. The Unpacking Formula.




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        Some Ericsson licenses expressly state a clear one-way per unit royalty rate
 that the licensee must pay Ericsson for its SEPs. (E.g., Ex. 1277 at 18 (Huawei
 license).) However, the licenses with Apple, Samsung, HTC, LG, and ZTE all
 involve either lump sum payments, or meaningful cross-licenses. A license
 agreement with a lump sum payment or cross-license must be unpacked to arrive
 at a one-way rate. Unpacking a license involves evaluating all of its terms and
 other consideration so that the Court can calculate the effective one-way rate that
 each licensee pays Ericsson for its handset SEPs. (Lynde Decl. ¶ 86.)

       Both sides generally agree on the formula to use to unpack cross-licenses.
 (TCL FOF, ¶ 185; Ericsson FOF, ¶ 150.) The unpacking formula starts with the
 basic premise:




 Thus, if a licensor’s one-way rate was 10%, and the licensee made $500 selling
 products that required a license, the value to the licensee, or what it would have to
 pay, would be $50. In the case of a cross-license, both sides receive value from
 the license provided by the other party, and the party which receives less value
 will have to give cash or other consideration to make up the difference. This cash
 difference is called a net balancing payment. Using Ericsson as an example, this
 formula is expressed as:




 This equation has two unknown variables: Ericsson’s rate for its SEPs and the
 Licensee’s rate for its SEPs.34 In order to make this equation solvable, both sides
 used a PSR to state a licensee’s one-way rate as a ratio of Ericsson’s one-way rate.
 (Kennedy Decl. ¶ 111; Lynde Decl. ¶ 93.) The PSR is:

 34
   Until late 2011 Ericsson through its joint venture with Sony produced cell phones and thus
 required a cross-license for those handsets. (Brismark Decl. ¶ 11.) After Ericsson divested its
 mobile phone business in February 2012, it now requires a cross-license only for its
 infrastructure equipment. (Kennedy Decl. ¶ 117.) With the exception of Samsung and ZTE, all
 of the other comparable licensees only required a license for Ericsson’s handset SEPs.

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 The PSR assumes that each party’s one way license rate reflects the relative
 strength of its patent portfolio. (Lynde Decl. ¶ 93.) Using a PSR, the unpacking
 formula can be stated as:



 (Kennedy Decl. ¶ 112; Lynde Decl. ¶ 95.) Importantly, the net balancing
 payments and revenues must be stated in dollars of the same year, which generally
 requires determining the net present value of past and future payments and
 revenue. (Ericsson FOF, ¶ 152.) In addition, because the unpacking formula
 calculates a royalty rate, it can only be used for one standard at a time. This is not
 a problem for the revenue inputs or the PSR, which can be determined individually
 for each standard, but it is a problem if the licensee paid Ericsson a single lump
 sum that covers multiple standards. This will be addressed in the apportionment
 section below.

        In unpacking the license agreements, the experts are not required to follow
 the assumptions Ericsson made in its business cases. Ericsson created a business
 case after signing each license agreement to memorialize some of its projections
 and assumptions, and to act as a “memo to the file.” (Brismark Decl. ¶¶ 60-61.)
 Ericsson did not use the business cases before the Court in its actual negotiations,
 and they represent nothing more than after-the-fact attempts to model certain
 projections. (Id.) Ericsson’s business cases do not reflect how much licensees are
 actually paying over the course of the license. Most importantly, experts are free
 to provide their own expertise and analysis based on experience and industry
 practice. (Kennedy Rebuttal Decl. ¶¶ 116-17.)

       TCL’s expert Dr. Lynde appears to have generally tried to follow Ericsson’s
 methodology reflected in its business case or testimony. However, Ericsson’s
 expert Kennedy appears to have sometimes followed Ericsson’s business case,
 sometimes followed Dr. Lynde, and sometimes made his own assumptions.
 (Kennedy Decl. ¶ 115.) Sound methodology should preclude the experts from
 cherry-picking facts from the business cases or each other’s reports they choose to
 accept; rather, they must provide a factual basis for their opinions. The Court is
 very cognizant of just how easy it is to pick particular assumptions or approaches
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 in order to manipulate the unpacking analysis to arrive at a preferred rate for each
 license.35 The more that the unpacking analysis can be manipulated, the less it
 represents what the parties actually agreed to do, and therefore the less useful it is
 to the Court.

        Because the purpose of unpacking comparable licenses is to establish
 comparable rates, the licenses should all be unpacked in a similar manner. If a
 particular license is treated differently, the explanation for why needs to be in the
 record. It is not sufficient to simply say that Ericsson did it that way in its
 business case because: (1) Ericsson’s decisions in its business case are not binding
 on this Court; (2) as explained above, Ericsson created these business cases after-
 the-fact to explain the license; and (3) the business cases themselves are just
 Ericsson’s projections and at best reflect only Ericsson’s view of the license, not
 the licensee’s view, or what the licensee actually ended up paying.

       The Court will now address four common issues that arose in how to apply
 the unpacking formula.

        1. Treatment of Released Sales.

        In a typical license, the licensee will buy his peace for past unlicensed sales
 with a one-time payment, or a release payment. Released sales are those that were
 unlicensed at the time they were made, but then retroactively covered by a
 subsequent license agreement. (Kennedy Decl. ¶ 26.) In the case of a cross-
 license where Ericsson’s own infrastructure sales were not licensed under the
 licensee’s infrastructure SEPs, Ericsson would also receive the benefit of a release
 of liability for its own past unlicensed sales.

        Dr. Lynde initially treated released sales as separate from prospective sales,
 and thus treated any initial lump sum payment made by the licensee as separate
 from the prospective rate, unless he had evidence that Ericsson allocated some of
 the initial lump sum payment towards prospective sales. (E.g., Lynde Decl. ¶
 106.) Sensing that this may be problematic, Dr. Lynde later unpacked the Apple
 and Samsung licenses to include the release payments. (Lynde Rebuttal Decl. ¶¶

 35
  For example, with the Samsung license, keeping all of the inputs exactly the same and changing
 only the discount rates and 3G/4G apportionment factor to those used by the experts in other
 unpackings, Samsung’s one-way effective 4G rate can range from

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 78-80.) Because Dr. Lynde had already unpacked the HTC license with the
 release payment and did not unpack the ZTE licenses, the only license he did not
 unpack with the release payment was the LG license.

       Kennedy generally incorporated the release period into his analysis.
 However, with the LG license he only included the released sales from the years in
 Ericsson’s business case, and therefore excluded released sales from years not
 included in Ericsson’s business case. (Kennedy Decl. ¶ 116.)

         The license agreements themselves do not spell out any basis to allocate
 lump sum payments between past and future sales. Although Ericsson’s actual
 release of a licensee from past liability is often triggered by the payment of an
 initial lump sum, the Court interprets this as a timing issue, and not that the parties
 agreed to pay different rates for past and future sales, or that they agreed that the
 initial lump sum would exclusively and entirely cover all released sales. (E.g., Ex.
 5331 at 13, 15.) Following Dr. Lynde’s approach would invite SEP-holders to
 manipulate their internal discussions and opinions towards whatever their goals
 are for the next FRAND dispute. This is particularly true where, as here, Dr.
 Lynde’s decisions are based entirely on after-the-fact statements made by
 Brismark. (E.g., Lynde Decl. ¶ 105, citing Brismark Depo., May 18, 2016,
 p.183:3-15.)

        The Court generally views released sales as part and parcel of the forward-
 looking terms of the license agreements. The Court decides this based on a
 pragmatic view of the negotiations between sophisticated parties. When Ericsson
 and Apple negotiated their license agreement, they both knew that there were
 unlicensed sales, and they had even engaged in substantial litigation across the
 globe over that very issue. (Brismark Decl. ¶ 108.) To then exclude released sales
 and the initial lump sum payment ignores the reality that, particularly for lump
 sum deals, the released sales are being paid for as part of the same transaction.
 The Court is therefore skeptical of any unpacking which ignores released sales and
 an initial lump sum payment for the purposes of determining a FRAND rate. The
 Court believes that parties to these license agreements generally care much more
 about the total amount they have to pay and the total value they receive, rather
 than whether a payment is labeled as a release from past liability or for the future
 license. Brismark himself seemed to generally share that view: when he was asked
 at his deposition how Ericsson divided the lump sum payments from Apple into

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 released and prospective sales he responded, “We haven’t done that because it’s a
 one-time payment and it’s for past and for future.” (Brismark Depo., May 18,
 2016, p. 185:1-11.) In addition, it is very likely that a licensee may choose to pay
 a larger lump sum in exchange for lower rates, a lower cap, a lower floor, or a
 lower percentage or dollar-per-unit running royalties. Ignoring these possibilities
 ignores the substantial flexibility that FRAND leaves parties with to structure their
 licenses in a friendly and bilateral manner. (ETSI Guide on IPR § 4.3, Ex. 224 at
 7.)

        It is certainly possible that parties could specifically agree to different
 royalty rates for released and prospective sales, but that is not the case for any of
 the licenses the Court unpacked.36 The Court agrees with Kennedy that released
 sales should generally be included in unpacking each license. The Court will
 therefore treat released sales and release payments the same as projected sales and
 prospective payments and calculate a single rate over the course of the combined
 license and release period.

        2. Apportioning Lump Sum Payments Between Multiple Standards.

        In order to determine the licensee’s one-way effective royalty rate for each
 standard, the Court must determine exactly how much the licensee paid Ericsson
 for each standard. All of the comparable licenses except Huawei’s contain a lump
 sum component. A lump sum payment creates a challenge for unpacking a license
 that covers multiple standards (e.g., 2G, 3G, 4G) because the effective royalty rate
 for each standard needs to be unpacked separately, even though the licensee paid a
 single lump sum net balancing payment that covers multiple standards. In some
 cases, the license agreement also covers things beyond handset SEPs, such as
 external modems, personal computers, implementation patents. The experts
 therefore had to determine how much the licensee paid for handset SEPs, and then
 apportion the net balancing payment across the licensed standards so that they
 could apply the unpacking formula for each standard.37 However, each
 36
    Ericsson’s license with ZTE in 2011 for 2G/3G actually did state different percentage running
 royalty rates for released and prospective sales. (Ex. 1197 at 8.) However, this license was
 superseded by an amended license in 2015 and was not unpacked by either expert. (Ex. 1200.)
 37
    The Court has previously ruled that implementation patents will not be covered by this FRAND
 adjudication because they are not SEPs. (Docket No. 1055 at 7.) TCL also did not show that
 Ericsson’s cross-licenses to implementation patents had any net value that would require
 adjusting the licensees’ net balancing payments in either direction.

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 apportionment will affect each later standard, and the more assumptions the
 experts made, the more the license reflects the expert’s decisions rather than the
 parties’ agreed upon royalties rates.

        Dr. Lynde generally unpacked the licenses he examined twice, once for 4G,
 and then again for a blended 2G/3G rate. (Lynde Decl. ¶ 21.) Dr. Lynde
 apportioned the net balancing payments based on the licensee’s proportion of
 revenue for each standard. (Id. ¶ 96.) Kennedy generally unpacked lump sum
 licenses four times, for 4G, 3G, 2G EDGE, and 2G GSM/GPRS. (Kennedy Decl.
 ¶ 133.) Kennedy claimed that he apportioned the balancing payments according
 to Ericsson’s own assumptions regarding the breakdown of revenue between the
 various standards by units. (Kennedy Decl. ¶¶ 129-133.) It is unclear, however,
 that Ericsson made those assumptions, or that it applied them to the lump sum
 payments. Kennedy actually appears to use estimates about the types of units in
 each projection to decide for himself how to apportion the lump sum payments
 between standards. (See Lynde Rebuttal Decl. ¶¶ 70-72.) It becomes particularly
 problematic when Kennedy apportioned between 3G, 2G EDGE, and 2G
 GSM/GPRS, because each additional unpacking relies on the previous
 apportionment assumptions such that any error compounds throughout the
 remaining calculations. This leads to some questionable results. For example,
 Kennedy concluded that Samsung agreed to pay virtually the same rate for 2G
 EDGE as it did for a multi-modal 4G license that included 2G functionality, and
 that Samsung actually paid more for 2G GSM/GPRS than for multi-modal 3G
 license that included 2G GSM/GPRS. (Kennedy Decl. ¶ 173.) The Court has
 trouble believing that Ericsson asked Samsung for less money the more its patents
 were used. Kennedy has not cited sufficient evidence to convince the Court that
 his apportionments regarding 2G have any basis in the license agreements or how



         However, licenses to Ericsson’s SEPs for external modems and personal computers
 certainly do have value, and are a material term of this FRAND dispute. Ericsson’s licenses with
 HTC and Samsung cover the licensees’ sale of personal computers with cellular connectivity.
 (Ex. 1275 at 6 (HTC); Ex. 1276 at 4 (Samsung).) Ericsson’s licenses with Apple and LG cover
 both personal computers and external modems with cellular connectivity. (Ex. 5331 at 2
 (Apple); Ex. 199 at 2, 4 (LG).) Because both experts applied the entire balancing payment to
 handsets, the unpackings treated the licensees as paying 0% for external modems and personal
 computers in exchange for a higher royalty rate on handsets. The Court will treat TCL the same
 way.

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 the parties interpreted them.38 Therefore, Kennedy’s apportionments of net
 balancing payments between the 2G standards, and between 2G and 3G are not
 credible. Kennedy and Dr. Lynde do not disagree substantially over the 4G
 apportionment ratios for the projections that they both unpacked. Accordingly, the
 Court generally adopts Dr. Lynde’s methodology for apportioning the net
 balancing payments between standards. (Lynde Decl. ¶¶ 96, 99; Lynde Rebuttal
 ¶¶ 70-73.)

        3. Dollar-per-unit Rates, Caps, and Floors.

        While Ericsson has in the past entered into some licenses with dollar-per-
 unit rates or licenses with caps and floors, the Court declines to adopt a dollar-per-
 unit approach in determining FRAND rates here.

       First, use of dollar-per-unit royalties is at odds with industry practices
 generally and specifically Ericsson’s own past licencing practices, a point which
 Ericsson’s expert Kennedy acknowledged at trial. (TT Mar. 1, 2017, pp. 8-9.) For
 example, in Ericson’s business cases for Samsung, LG, and HTC, Ericsson used
 running royalties, as did the actual licenses for Coolpad, Karbonn, Doro, Sharp,
 Huawei, ZTE, and LG. (TT (Sealed) Mar. 1, 2017, pp. 5-7, 10.)

        Second, a percentage-based royalty better aligns the incentives of the SEP-
 holder and the licensee than a dollar-per-unit royalty. This furthers ETSI’s
 express policy objectives of both rewarding SEP-holders and making their
 intellectual property available to the public. (ETSI IPR Policy § 3, Ex. 223 at 1.)


 38
   This is also true because Kennedy never calculated a 2G PSR. Both experts cited to each other
 when they justifed why they used a 3G PSR to unpack a combined 2G/3G rate. (Lynde Decl. ¶
 93 n.3; Kennedy Decl. ¶ 131.) However, Dr. Lynde at least explained that it is because 2G
 patents are less important and more likely to have expired, and he created a blended 2G/3G rate
 and does not try to unpack each 2G standard. (Lynde Decl. ¶ 93 n.3.) Kennedy explained that
 the method he used to determine PSRs (contribution counting, discussed below in the PSR
 section) does not exists for 2G. Thus, rather than introduce inconsistencies from using a new
 metric, he just used the same 3G PSR. (Kennedy Decl. ¶ 131.) A 3G PSR cannot be used to
 calculate rates for 2G GSM/GPRS or 2G EDGE. The only comparable licensee that
 sells 2G products whose 2G net balancing payments could be determined is Samsung, so
 in unpacking the Samsung license the Court chose to apportion out the 2G net balancing
 payment and calculate just 3G and 4G rates.

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        Third, in this case, Ericsson itself has repeatedly reaffirmed that royalties
 should be a percentage running royalty. Option A and Option B both largely
 stated handset royalties as a running percentage rate, and in its interrogatories
 Ericsson confirmed that its royalty rate should be calculated as a percentage of the
 handset price. (Ex. 131 at 15-18.)

        Finally, there is no support in the record that a package of SEPs has a fixed,
 determinable value which would justify a fixed dollar-per-unit rate or a percentage
 rate as modified by floors or caps. Brismark explained that Ericsson seeks to
 apply a floor to its license agreements so that it can obtain a certain minimum
 amount of revenue for itself. (TT Feb. 28, 2017, pp. 50:23-51:2.) However, as
 noted above, the Court rejects Kennedy’s ex-Standard analysis. In addition, on the
 stand Brismark explained that its existing caps and floors are solely the product of
 negotiations, not any sort of analysis of whether they are fair or reasonable. (TT
 Feb. 28, 2017, pp. 116:13-117:17.)

        To be sure, in the course of private negotiations, parties may enter into a
 variety of licensing schemes that reflect each party’s unique assessment of the risk
 of a particular arrangement. However, the Court prefers to conduct its FRAND
 analysis on principles of general application which do not require the Court to
 discern the peculiarities of those risk assessments.

       For these reasons, the Court will unpack these licenses as Ericsson has, a
 percentage of the net selling price of the licensed devices without a cap or floor.

       B. The Inputs to the Unpacking Formula.

       As explained above, unpacking a cross-license requires four inputs to
 determine Ericsson’s one-way rates, the PSR, and the present value of: the net
 balancing payments, Ericsson’s revenues, and the licensee’s revenues. However,
 many of the disputes over these inputs are caused by the parties’ use of different
 discount rates, different revenue projections, and different PSRs. The Court will
 address each of these inputs in turn.

       1. Determining the Appropriate Discount Rate.




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       In order to unpack and evaluate a license the monetary terms of the
 unpacking formula (net balancing payments, licensee’s revenue, and Ericsson’s
 revenue) must be expressed in comparable units. This means that a discount must
 be applied to future payments so that they can be expressed in present value
 terms.39

       In its business cases, Ericsson would sometimes use a discount rate to
 indicate the size of the risk associated with each licensee. (Lynde Rebuttal Decl. ¶
 74.) When Ericsson specified a discount rate in its business cases, it was usually
 10% or 12%. Dr. Lynde generally adopted the discount rate Ericsson used in its
 business case to unpack the entire license. (Lynde Decl. ¶ 99.) On the other hand,
 Kennedy applied a number of different discount rates depending on the type of
 payment and licensee. (Kennedy Decl. ¶ 120.) He adjusted past sales at the
 Treasury Bill rate, future revenue and running royalties at 10% or 12%, and lump
 sums payments at the prime rate (slightly higher than the Treasury Bill rate). (Id.)

        For example, in unpacking the Samsung license, Kennedy used a 12%
 discount rate for Samsung’s revenue, but only a 10% discount rate for Ericsson’s
 revenue. (Id. ¶ 171.) He also used a 10% for ZTE’s future 3G sales and
 Ericsson’s sales, but a 12% discount rate for ZTE’s future 4G sales. (Id. ¶ 157.)
 However, Kennedy did not explain why Samsung’s projected revenue should be
 treated differently than ZTE’s, or why Ericsson’s revenue should be treated
 differently depending on which license is being analyzed. In order to avoid
 obvious cherry-picking problems and create comparable rates, and because there is
 no basis in the record to do otherwise, the Court will apply a uniform 10%
 discount rate to all revenue projections of both Ericsson and its licensees.

       Kennedy also applied much lower discount rates to future fixed payments,
 usually around 3%. (Kennedy Rebuttal Decl. ¶ 110.) He did so because future
 fixed payments are much more certain and valuable, and thus the risk is better
 measured by applying the company’s cost of debt. (Kennedy Decl. ¶ 120.) This
 39
   It appears that the parties have unpacked all payments to the beginning of each license. If the
 Court declared the final rate as a running dollar-per-unit royalty, it would then have to go an
 additional step and determine how to implement that over the five-year license by either having
 the nominal rate increased to keep Ericsson’s return constant in present dollars, or keeping the
 nominal rate the same and having TCL pay a higher effective rate in the first half the license to
 balance out the second half. Because the Court states its ultimate rates as a running percentage
 royalty, it need not worry about how the time value of money will affect these rates.

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 leads to him discounting future fixed payments from anywhere between 1.7% and
 3.8%. (Id. ¶¶ 190, 157.) The Court agrees that future fixed payments are more
 valuable than percentage payments because they are certain. However, the Court
 does not believe that the revenue projections for Samsung should be discounted at
 a rate more than four times higher than its lump sum payments, particularly when
 Ericsson used the same discount rate for both. (Id. ¶ 171 (applying a 2.9%
 discount rate for fixed payments, and 12% for future revenues).) The Court will
 apply a 5% discount rate to future fixed payments.

        The revenue from a licensee and/or Ericsson’s released sales must also be
 adjusted so that it can be stated in dollars of the same year as the projected sales.
 Because the licensee (or Ericsson, in the case of a cross-license) sold the product
 before paying for the license, the licensee effectively received an interest-free loan
 from the SEP-holder. Revenue from released sales must therefore be adjusted
 upward. The Court will adopt Kennedy’s discount rate of using the Treasury Bill
 rate of 0.56% for released revenue. (Kennedy Decl. ¶ 120.)

         To summarize, the Court adopts a 10% discount rate for all revenue
 projections, a 5% discount rate for future fixed payments, and a 0.56% adjustment
 for all past revenue. The Court also uses the mid-year convention for calculating
 discounted values, treating all the licenses that start in December or January as
 starting on January 1, and the LG license as starting on June 30, or halfway
 through the year. Finally, the Court treats all lump sum payments made in the first
 quarter of each year as if they occurred on January 1 of that year.

        2. Estimating Revenue

        In order to unpack a lump sum or cross-license there must be some estimate
 of the amount of money that a licensee has earned from its sales of products
 compliant with each standard. The experts used two sources for revenue
 information: Ericsson’s internal projections in its businesses cases and data from
 International Data Corporation (“IDC”), a third-party market analyst. IDC data is
 based on actual handset sales,40 which makes it much more reliable, but more

 40
  It is unclear whether the revenue projections in Ericsson’s business cases for Apple, Samsung,
 HTC and LG are based on the licensee’s wholesale or retail sales. These were all lump sum
 deals, so Ericsson would not necessarily have had a business reason to prefer one over the other.
 Brismark stated only that its business cases “endeavor to use the most reliable sales data

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 limited because only data through 2015 was available, and IDC does not report
 infrastructure revenue. (Lynde Decl. ¶ 101.) Dr. Lynde and Kennedy both
 unpacked the comparable licenses with business case data. Where Ericsson made
 multiple projections in a business case, the experts either agreed on which one to
 apply, or they unpacked the license using multiple business case projections. Dr.
 Lynde also unpacked the Samsung, LG, and HTC licenses based on IDC data
 through 2015. Although Kennedy did not unpack any licenses with IDC, for the
 reasons discussed below the Court believes that independent third-party data
 serves as a valuable check on a party’s internal and unvalidated projections.

       First, IDC data is heavily relied on by experts for both sides, as well as the
 representatives for both Ericsson and TCL. Dr. Kakaes, Dr. Lynde, Cistuli, Dr.
 Guo, Brismark, Dr. Teece, Kennedy, and Pellegrino all used IDC data.

        Second, in many cases, Ericsson’s business cases dramatically
 underestimated the licensee’s revenue when compared to IDC data. For example,
 Ericsson’s business case for HTC projected that from 2014-2015 HTC would earn
 around              in 4G revenue off of               4G units. IDC reported that
 during that period HTC actually earned over $11 billion on 28.5 million units.
 Similarly, Ericsson projected that from 2013-2015 LG would earn                   in
 4G revenue off of              4G units. IDC reported that during that period LG
 actually earned over $29 billion in 4G revenue on 75 million 4G units. Ericsson’s
 high projection estimated that from 2011 through 2015 Samsung would earn
         in 4G revenue off of              4G units. IDC reported that Samsung
 actually earned $248 billion in 4G revenue off of 472 million units. Discrepancies
 of this magnitude are not attributable to rounding errors or using different discount
 rates, and they always occur in the direction that favors Ericsson.41 IDC’s business
 model relies on providing accurate data.

        Third, IDC data reflects actual sales, not the projections of one party to the
 license. Ericsson’s business cases could, at best, only reflect the rate Ericsson
 available at the time, either from market analysts or from the licensee.” (Brismark Decl. ¶ 61.)
 To the extent that the business case data is wholesale data, it would tend to produce higher rates
 than IDC data. The Court keeps this problem in mind in ultimately setting a FRAND rate, and
 uses business case projections as the lower limit of the licensee’s revenue, and IDC data as the
 upper limit.
 41
    This is so because licensee revenue is in the denominator of the unpacking equation; thus lower
 licensee revenue means a higher effective royalty rate.

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 thought the licensee would pay over the course of the license and release period.
 However, the non-discrimination prong of FRAND does not incorporate an SEP-
 holder’s projections; it applies to the actual terms and conditions. (ETSI IPR
 Policy, § 6.1, Ex. 223.) When Ericsson accepted the certainty that came with lump
 sum payments, it also accepted the risks and consequences of the licensee
 outperforming its projections. Excluding third-party data would allow Ericsson to
 take the benefits that come with lump sum deals (including Kennedy’s lower
 discount rate for lump sum payments, which increases Ericsson’s effective royalty
 rate) but none of the risk.

        The one challenge posed by using IDC data in this case was that it was only
 available through 2015. In order to unpack a license with IDC data, the net
 balancing payment therefore had to be apportioned between the years covered by
 IDC data, and the remaining years of the license. The Court chose to apportion the
 net balancing payment proportionally based on the number of years of the license
 and release covered by IDC data. For example, Ericsson’s license with HTC
 licensed HTC’s sales in 2015 and 2016, and provided a release of liability for
 HTC’s unlicensed sales in 2014. IDC data covers HTC’s sales up through 2015,
 so the Court apportioned 2/3 of the total net balancing payment to the period
 covered by IDC data.

       3. Using the Appropriate PSR

       As noted above, the Portfolio Strength Ratio, or PSR, is the strength of
 Ericsson’s SEP portfolio relative to the licensee’s SEP portfolio, on a standard-by-
 standard basis. (Lynde Decl. ¶ 91.) Although both experts agreed on how to use a
 PSR and what it represents, they used numbers derived from very different
 sources. TCL used PSRs derived from Dr. Ding’s patent counting study of how
 many essential patents each company owned. (Id.) Ericsson instead calculated its
 PSRs based on contribution counting, which is an estimate of how many ideas it
 contributed to the development of the 3G and 4G standards. (Mallinson Decl. ¶
 65-66.) Ericsson’s use of contribution counting actually creates results more
 favorable to TCL, while TCL’s results actually created results more favorable to
 Ericsson. The Court first addresses issues common to both PSR approaches, and
 then addresses TCL’s use of patent counting and Ericsson’s use of contribution
 counting.



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       Whether a PSR is calculated through patent counting or contribution
 counting, it still contains two basic assumptions. The first is that an SEP
 portfolio’s strength is directly proportional to its size. The second is that each
 patent or contribution is treated equally, regardless of individual value of the
 invention, or whether it is for a handset, infrastructure device, or both. Both
 assumptions are also shared by the top down analysis discussed above. In the top
 down approach treating each patent equally was an express feature of the
 methodology advocated by Ericsson and others. However, it is less clear that
 assumption is valid in the context of negotiations between sophisticated parties.

        Dr. Lynde and Dr. Ding calculated PSRs for TCL based off of patent counts.
 Based on Dr. Ding’s patent census, Dr. Lynde calculated how many SEPs are
 owned by each licensee. (Lynde Decl. ¶ 91.) The PSRs are the number of SEPs
 owned by Ericsson that the licensee needs, divided by the number of SEPs owned
 by the licensee that Ericsson needs. Because Ericsson no longer makes handsets,
 the denominator of the PSR is the number of infrastructure SEPs owned by the
 licensee. (Id. ¶ 94; Ex. 1239.) Patent counting, while not perfect, does reflect the
 number of SEPs that are owned by each company. In addition, patent counts will
 reflect changes to a company’s portfolio from purchases, expirations, and transfers
 of SEPs.

        Ericsson calculated its PSRs based on standards contribution counting.42
 (Kennedy Decl. ¶ 122.) A contribution is a technical submission of an idea to a
 3GPP working group. (Mallinson Decl. ¶ 65.) A contribution is then “approved”
 by the working group when it is included in the 3GPP technical specifications,
 which are ultimately provided to ETSI. (Id.) Ericsson used standard contribution
 counts calculated by Signals, who conducted a study paid for by Ericsson to
 update Ericsson’s own report on its contribution counts. (Mallinson Decl. ¶ 68.)
 Ericsson developed this methodology because it was concerned that there were
 alternative studies showing that it owned a low proportional share of 4G SEPs.
 (TT Feb. 28, 2017, p. 34:7-23.) Ericsson argued that because companies that
 participate in the standardization process often seek patent protection for their
 approved standard contributions, contribution counting can serve as a good proxy
 for the strength of their SEP portfolios. (Ericsson FOF, ¶ 162.) The Court
 disagrees.
 42
  This is a different concept than TCL’s importance and contribution analysis discussed in the
 Top Down section. (See p.40, supra.)

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        Standards contribution counting counts contributions, not patents.
 Contributions can be made for ideas that are unpatented, unpatentable, patented by
 someone else, or split into multiple contributions. (TT Feb. 28, 2017, pp. 37-38;
 Bekkers Decl. ¶¶ 76-86.) Brismark testified that Ericsson has never actually done
 any analysis to determine whether its own contribution counts correlate to its
 SEPs. (TT Feb. 28, 2017, p. 38.) Ericsson’s internal documents show that it has
 inflated its contribution counts by “hijacking” the contributions of other
 companies as well as requiring its subsidiaries to vote for Ericsson’s proposals.
 (Ex. 1076 at 1; Bekkers Decl. ¶¶ 99-100.) TCL raised many additional flaws with
 standards contribution counting at trial that the Court notes here. (TCL FOF, ¶¶
 127-129; Bekkers Decl. ¶¶ 80, 90.)

        The two major flaws with contribution counting are the absence of any
 evidence that it corresponds to actual intellectual property rights, and its inability
 to account for transferred or expired patents. (Bekkers Decl. ¶¶ 82-83; Mallinson
 Decl. ¶ 6.) For example, if Ericsson sold off a substantial portion of its SEP
 portfolio, Ericsson would still claim the exact same royalty as before it sold its
 SEPs based on an unchanged standards contribution count. Thus, contribution
 counting does not reflect the roughly two hundred U.S. patents that Ericsson has
 divested over the last decade. (E.g., Ex. 1126.) Contribution counting also
 permits Ericsson to demand royalties well beyond the expiration of the
 corresponding patents, if those contributions were actually tied to patents at all.
 These are incorrect results. While contribution counting may have its uses, it
 cannot be used to determine a FRAND rate for a patent portfolio, or unpack a
 cross-license. Except for the LG license (discussed below), the Court will adopt
 Dr. Lynde’s PSRs for unpacking each license.

       C. Unpacking the Comparable Licenses.

       1. The Apple License.

        Apple is a U.S.-based consumer electronics company and the second largest
 smartphone vendor by volume. (Brismark Decl. ¶ 103.) In 2008 Apple and
 Ericsson signed an agreement to license Ericsson’s 2G and 3G SEPs. (Ex. 257.)
 That license expired on January 14, 2015. (Id. at 3.) After the expiration of that
 license, the parties engaged in extensive litigation in 2015 which resulted in a new
 global cross-license in December 2015, that will expire in January, 2022. (Ex;

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 5331; Brismark Decl. ¶ 104.) The 2015 license settled a total of 51 litigations
 between Ericsson and Apple around the world.

       Under the 2015 license, Apple agreed to make a one-time payment of

                                         (Ex. 5331 at 15.) Ericsson also received a
 cross-license to Apple’s infrastructure SEPs, as well as a release of any past
 unlicensed sales. (Id. at 10, 13.)

        Ericsson’s business case for its license with Apple contains three sets of
 projections. (Ex. 4946.) Both experts unpacked the license according to
 Ericsson’s mid projections. (Lynde Decl. ¶ 110; Kennedy Decl. ¶ 188.) Dr. Lynde
 does not unpack this license with IDC data because IDC data was only available
 through 2015, and the license was signed on December 19, 2015. (Lynde Decl. ¶
 113.) Although this license does give Apple the option of paying a running
 royalty instead of a lump sum, neither expert believes that Apple’s sales are ever
 likely to drop low enough for Apple to make that choice. (Kennedy Decl. ¶ 189.)

        The primary dispute between the experts concerns how to resolve two issues
 related to released sales. The first issue was how to treat Apple’s 4G sales from
 2012-2014, for which Apple paid Ericsson the 2008                               for
 2G and 3G SEPs, but            for 4G functionality. The second issue was how to
 treat released sales in 2015. Both of these issues are relevant to the unpacking
 analysis because they affect the determination of Apple revenue figures and the
 allocation of the net balancing payments.

        Based on his understanding of Brismark’s deposition testimony, Dr. Lynde
 believed that Ericsson internally allocated Apple’s initial lump sum payment such
 that Apple paid         for all released sales from 2012-2015. (Lynde Decl. ¶ 106.)
 He credited Apple with already having paid         for the sales from 2012-2014, and
 therefore deducted          for each 4G sale from 2012-2014, and            from each
 4G sale in 2015 from the net balancing payment. (Id.) However, at trial it was
 clear that this understanding of Brismark’s deposition testimony was incorrect,
 and that Brismark meant the           figure to be illustrative, not what Ericsson
 actually calculated Apple to have paid per 4G unit. (TT Feb. 16, 2017, p. 57:24-
 59:24; Brismark Depo., May 18, 2016, p. 184:10-20.) The Court therefore cannot



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 accept Dr. Lynde’s assumption that Apple paid          for released 4G sales from
 2012-2015.

         Kennedy instead adopted an assumption made by Brismark that Apple
 would pay the same rate for future sales and past sales, less the     per unit that it
 already paid for sales from 2012-2014. (Kennedy Decl. ¶ 193.) Kennedy assigned
 all of the net balancing payments to 2015-2022 sales, and calculated that Apple
 will pay        for each 4G unit. (Id.) Because Apple already paid        per unit for
 2G and 3G functionality for its phones from 2012-2014, Kennedy assumed that
 Apple owed no additional royalties from those phones. (Id.) In essence, he found
 that Ericsson asked for a royalty of    for its 4G SEPs from Apple from 2012-
 2014 when it signed its 2015 license with Apple. Ericsson estimated that Apple
 sold               LTE devices during this period. (Ex. 4946.) Ericsson’s business
 case also shows that Ericsson factored in the foregone LTE royalties as part of the
 release for this license. (Id.) Given the extensive litigation that occurred in 2015
 between Apple and Ericsson, and Ericsson’s own estimates that it was owed
 hundreds of millions of dollars in royalties for these units, the Court does not
 accept Kennedy’s conclusion that Ericsson simply dropped its claims for 4G
 devices sold by Apple from 2012-2014. Instead, the Court finds that Apple paid
 for 4G functionality on its devices from 2012-2014 as part of its lump sum
 payments.

        Neither expert provided a satisfactory method to unpack Apple’s released
 sales. Dr. Lynde created a disjointed payment schedule based on an incorrect
 assumption, while Kennedy assumed that Ericsson gave up hundreds of millions
 of dollars. The simplest way for the Court to treat Apple’s released sales where it
 paid for 2G and 3G but not 4G SEPs, without having to determine the marginal
 value that 4G functionality added to a 2G/3G device, is simply to treat Apple’s
 per unit payments from 2012-2014 as a down payment on the 4G functionality that
 it would license from Ericsson in December 2015. This means adding the present
 value (adjusted to 2016 dollars) of those down payments to Apple’s net balancing
 payments, and adding the revenue from those released sales to Apple’s revenue.

        The parties also disagreed on how to calculate the non-cash value Apple’s
 cross-license provided to Ericsson, if any. Dr. Lynde calculated that, based on its
 business case, Ericsson would earn a little over            in 4G infrastructure
 sales from 2012-2021, while Kennedy conservatively treats the Apple license as

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 providing no additional value. (Ex. 2457; Kennedy Decl. ¶ 191.) However, the
 difference between their figures is very small given the order of magnitude
 difference in revenue between Apple and Ericsson. The Court will adopt
 Kennedy’s approach in order to avoid the uncertainty added from Ericsson’s
 revenue estimates or using a PSR. Because Apple almost exclusively sells multi-
 mode 4G devices, the net balancing payment does not need to be apportioned
 between standards. Apple’s one-way effective rate is therefore just its net
 balancing payment divided by its 4G revenue.

       Apple Revenue: From 2012-2014 Apple earned $227,376,433,685 in 4G
 revenue according to IDC data. (Ex. 1000.) Using Ericsson’s projections in its
 business case, from 2015-2021 Apple will earn                   in 4G revenue.
 (Ex. 4946.) Apple will therefore earn                 in 4G revenue from
 2012-2021 that is licensed under the 2015 agreement.

       Net Balancing Payments: Apple’s net balancing payments to Ericsson
 contain two parts, the amount represented by Apple’s down payment of        per
 device from 2012-2014, and the total amount of cash Apple must pay Ericsson
 under the 2015 license agreement. Based on IDC numbers, Apple produced
 312,409,549 4G units from 2012-2014. At       a unit, in 2016 dollars this was
              . Apple also paid             in cash from 2016 through 2021,
 which is                 in 2016 dollars. These numbers add up to a total net
 balancing payment of                 .

       Conclusion: Dr. Lynde calculated that Apple pays a royalty rate of       ,
 while Kennedy calculated that Apple pays a royalty rate of       . Based on the
 above numbers, the Court calculates that Apple pays an effective 4G royalty rate
 of         .

       2. The Samsung License.

        In January 2014, Ericsson and Samsung executed a global patent
 cross-license. (Ex. 1276.) The license included a release for the companies’ past
 unlicensed sales going back until 2011, as well as future sales until
      . (Id. at §§ 8, 13; Kennedy Decl. ¶ 163.) The license covers SEPs for 2G,
 3G, and 4G, but excludes CDMA. (Lynde Decl. ¶ 119; Ex. 5316 at 6.) The
 license confers substantial grant back value on Ericsson, and settled extensive

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 litigation between Ericsson and Samsung. (Brismark Decl. ¶¶ 121-22.) Under the
 license, Samsung agreed to make a one-time payment of                , and annual
 royalty payments of either a             lump sum or per unit royalties of    per
 unit (2G),     per unit (3G) and  per unit (4G). (Ex. 1276 at 9-11.) Samsung
 also committed to purchase a                    of thin modems from Ericsson.
 (Id. at 11; Ex. 4024.)

        Part of the consideration Ericsson received in its 2014 license agreement
 with Samsung was a commitment from Samsung to
          . (Brismark Decl. ¶ 123; Ex. 4024.) Both experts attributed a value of
                 to this commitment. Kennedy did this because Dr. Lynde did
 (Kennedy Decl. ¶ 170), and Dr. Lynde only included it to be conservative because
                                                        (Lynde Decl. ¶ 117.) Dr.
 Lynde stated that he was not aware of any support provided by Ericsson for a
                                                             (Id.) However, the
 Court cannot accept a conclusion merely because                                 ; the
 conclusion must be supported by the record. The only evidence regarding the
 actual number of                                            from Brismark, who
 stated that Samsung
 (Brismark Depo., May 18, 2016, pp. 130:14-132:4.)
                                                                              , but
 Ericsson closed its modem division 7 months after signing the Samsung license.
 (Brismark Decl. ¶ 123.) Given the short period of time Ericsson would have had
 to provide thin modems, and absence of any evidence regarding how many were
 actually sold, the Court has no basis for attributing any value to the thin modem
 commitment.

        From April 2011 through January 2014 Samsung was licensed to Ericsson’s
 SEPs for certain 2G and 3G units that incorporated components made by ST-
 Ericsson, Ericsson’s former joint venture with ST Microelectronics. (Id. ¶ 124;
 Ex. 4796.) However, Dr. Lynde does not appear to address these licensed sales in
 his calculations. The Court therefore made its own calculations to determine
 Samsung’s released revenue, and the appropriate ratios for apportioning the net
 balancing payments between standards. Instead of creating a blended 2G/3G rate
 like Dr. Lynde, the Court chose to remove the amount it calculated was for 2G,
 and calculate just 3G and 4G rates.



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        Ericsson and TCL have both unpacked the Samsung license using
 Ericsson’s high and mid business case projections. (Ex. 4936.) TCL has
 additionally unpacked the license using actual IDC data for sales from 2011
 through 2015, or half of the license and release period. The experts have also
 unpacked this license with different discount rates, excluding and including
 released sales, and excluding or including infrastructure payment. Issues related
 to the appropriate discount rate and release payment have been discussed above.
 The Court will also include Samsung’s infrastructure revenue because it represents
 part of the overall value of the license that Samsung received. Both experts
 combine Samsung’s infrastructure revenue and SEPs with Samsung’s handset
 revenue and SEPs in calculating Samsung’s revenue and the PSR, implicitly
 treating infrastructure revenue and patents/contributions the same as handset
 revenue and patents/contributions.

         Ericsson Revenue: Ericsson’s provides the same revenue projections for
 itself in the mid and high business cases. During the license and release period
 Ericsson made $28,843,350,789 in 3G revenue, and $49,819,274,967 in 4G
 revenue. During the period covered by IDC data Ericsson made $21,478,610,988
 in 3G revenue, and $19,773,222,860 in 4G revenue.

        Net Balancing Payments: As explained above, the Court assigned no value
 to the thin modem commitment. Discounted at 5% for future fixed payments,
 Samsung’s total net balancing payment is               . For the IDC unpacking
 it would be half of that, or             .

        Following Dr. Lynde’s approach, the Court assumes that the net balancing
 payment was apportioned between standards according to the same ratio as the
 licensee’s revenue. (Lynde Rebuttal Decl. ¶ 71.) As explained above, this method
 was not perfect, but it was superior to Kennedy’s method. Under the mid
 projection Samsung’s net balancing payments were           for 4G,         for
 3G, and         for 2G. For the high projection, Samsung’s net balancing
 payments were            for 4G,         for 3G, and      for 2G. Under the IDC
 unpacking, Samsung’s net balancing payments            were allocated for 4G,
          for 3G, and      for 2G.

       PSR: As the Court explained above, it has adopted Dr. Lynde’s PSRs, which
 for Samsung are 1.33 for 4G and 2.98 for 3G.

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        Samsung Revenue: The parties calculated Samsung’s revenue based on
 Ericsson’s mid and high business case projections, and TCL also calculated
 Samsung’s revenue based on IDC data. (Ex. 1273.) Because IDC does not report
 on infrastructure revenue, for the IDC unpacking the Court will add Ericsson’s
 high business case projection for Samsung’s infrastructure revenue from 2011-
 2015.

             Mid Projections:
                         3G:
                         4G:

             High Projections:
                         3G:
                         4G:

             IDC Data:
                          3G:
                          4G:

       Conclusion: Having now established the necessary inputs, the Court applies
 the unpacking formula for each projection. Samsung’s rates based on each
 revenue projection are the following:


             Mid Projection           High Projection          IDC Data
 3G:
 4G:

       3. The Huawei License.

        China-based Huawei is one of the world’s largest suppliers of mobile
 devices and infrastructure equipment. (Brismark Decl. ¶ 115.) In January 2016,
 after an arbitration designed to resolve a negotiating impasse, Ericsson and
 Huawei executed a global patent cross-license to their respective 2G, 3G, and 4G
 Essential Patents until December 31, 2018. (Id.; Ex. 1277 at 7.) The arbitrators
 determined that Huawei would pay running percentage royalty rates of          for
 2G and multi-mode 3G, and            for multi-mode 4G. (Ex. 1277 at 18.) Because

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 this license expressly states the running percentage royalty rate Huawei will pay
 for Ericsson’s SEPs, it does not need to be unpacked.

       4. The LG License.

         LG Electronics is a South Korea-based electronics company that
 manufactures a wide range of mobile devices. (Brismark Decl. ¶ 117.) Ericsson
 and LG are parties to a global patent cross-license that became effective as of June
 27, 2014, and will expire on                        . (Ex. 199 at 5.) Pursuant to the
 license, LG agreed to (a) make cash payments of                    to Ericsson, plus
 additional cash royalties in the event that LG’s sales exceeded specified
 thresholds, as consideration for a license under Ericsson’s SEPs, (Ex. 199 at 11-
 12.), and (b) assign to Ericsson, or an entity selected by Ericsson, the rights to ten
 U.S. patent families (“LG patents”). (Ex. 198.) The license also releases LG from
 liability for 2G sales in 2013 and the first half of 2014, as well as all of LG’s
 unlicensed 4G sales. (Lynde Decl. ¶ 132.) At the time of the license, Ericsson
 believed that all of LG’s phones were manufactured with Qualcomm chipsets.
 (Brismark Decl. ¶ 120.) LG would therefore not have to pay Ericsson any 3G
 royalties because of the flow through provisions of a separate license agreement
 between Ericsson and Qualcomm. (Id.) Because the Court will not unpack 2G
 rates, only the 4G rate from the LG license needs to be unpacked.

        The primary dispute between the parties in unpacking this license is the
 value of the ten patents LG assigned to Ericsson. Ericsson’s expert Michael
 Pellegrino estimated that based on Ericsson’s ability to license these patents to
 infringing companies, eight of the LG patents are worth $170,051,079 if they are
 encumbered by Ericsson’s existing license agreements, and $274,518,453 if they
 are not encumbered by Ericsson’s existing license agreements. (Pellegrino Decl. ¶
 14.) At the time the license was signed, Ericsson internally valued the ten patents
 at $125 million. (Brismark Decl. ¶ 119.) However, TCL’s experts argued that the
 ten LG patents actually had little to no value. (Lynde Decl. ¶ 135; Wolfe Decl. ¶
 17.)

       The Court ultimately agrees with TCL that these patents have little value.
 The Court need not address issues with Pellegrino’s valuation model because the
 underlying technical assumptions were all made by Ericsson. (Pellegrino Rebuttal
 Decl. ¶¶ 14, 16.) Ericsson had Pellegrino value eight implementation patents that

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 it received from LG, but not the two SEPs. (Pellegrino Decl. ¶ 78 n.26.) Ericsson
 did not provide any estimate of the value of the two SEPs and therefore waived
 any argument concerning their value. Brismark explained the process Ericsson
 went through to review the value of the eight implementation patents, but at trial
 Ericsson never successfully demonstrated any features from any cellphone on the
 market that actually infringe the eight LG patents. (Brismark Rebuttal Decl. ¶¶
 39-43.) For example, Ericsson argued that technology disclosed by U.S. Patent
 No. 8,078,134 - considered by Ericsson to be particularly important to the value of
 the transferred patents - was “a defining feature of the iPhone when it first
 launched.” (Pellegrino Decl. ¶¶ 84, 85, 257.) If true, then the patent is invalid
 because Apple released the first iPhone before the patent’s priority date. (TT Mar.
 2, 2017, pp. 36:23-37:3.) If not true, the claims do not read on products in the
 marketplace. (TT Feb. 22, 2017, pp. 59:23-60:18.) Left with no evidence that any
 products on the marketplace actually infringe the eight disputed LG patents, the
 Court has no basis to find that they have any value.

       The remaining issue in unpacking the LG license was how to calculate the
 appropriate PSR. Dr. Lynde attempted to unpack this license using the patent
 counts he had used for other licenses, but it returned results that he deemed to be
 “implausible.” (TT, 2/16/17, p. 34:2-10.) Dr. Lynde therefore used Kennedy’s
 contribution count to unpack the LG license. (Lynde Decl. ¶ 141.) While the
 Court found that contribution counting was generally not credible, it will use
 contribution counts when both parties have done so.

       LG Revenue: Ericsson prepared a business case scenario for its license with
 LG. (Exs. 32, 4069.) The Court will therefore unpack this license using the
 business case estimates, as well as the IDC data. This licenses releases LG’s
 unlicensed 4G sales as far back as 2011, and Ericsson’s business case included
 LG’s 4G sales data since 2011, but Kennedy only unpacked this license with data
 from 2013 onwards. (Compare Ex. 4069 with Ex. 5316 at 14-16.) Ericsson’s
 business case for LG included at least two different projections for LG’s revenue
 from 2011-2017, along with discounting LG’s fixed payments at both 4% and
 12%. (Ex. 4096; Ex. 32 at 1-2.) It also appeared to contain a third projection of
 LG’s revenues that assumed a unilateral license. (Ex 4096 (“BC”); Ex. 32 at 9.)

       Kennedy stated that he found Ericsson’s projections to be reasonable, but
 did not acknowledge that there were multiple projections or explain why he used

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 the projection he selected. (Kennedy Decl. ¶ 176.) It appears he used the lowest
 of the three projections. Dr. Lynde stated that he followed Kennedy in using the
 lowest projections; neither expert explains why they selected that projection.
 (Lynde Decl. ¶ 138.) Based on this projection, LG will earn                    in
 4G revenue from 2011-2017. Based on IDC data, LG earned $33,068,403,004 in
 4G revenue from 2011-2015.

        Net Balancing Payments: The LG license required LG to pay a release
 payment of                in June 2014, and additional payments of
                                                                            .
 (Kennedy Decl. ¶ 174.) If LG revenues exceeded certain caps, then LG would
 also have to pay additional royalties on that revenue. Neither expert suggested
 that LG will hit those revenue caps. The license requires LG to pay Ericsson
 discounted total of                 as a net balancing payment. Multiplying that
 number by 5/7 to account for the number of years covered by IDC data means that
 LG will make a discounted net balancing payment of                    for the years
 covered by IDC data. As explained above, the Court assigned no additional value
 for the ten patents that Ericsson received as part of the LG license.

       Ericsson Revenue: The Court adopts Ericsson’s estimates of its own
 nominal revenue from 2011-2017 from its business case. (Ex. 4096 (“BC”).)
 Discounted as described above, Ericsson projected it will earn $33,811,399,155
 over the course of the license, and $20,382,731,453 during the period covered by
 IDC data.

       PSR: The Court adopts the PSR used by both parties of 5.14 for 4G.

       Conclusion: Having now established the necessary inputs, the Court applies
 the unpacking formula based on business case and IDC data.

                    Business Case             IDC Data
 4G:

       5. The HTC License.

       HTC is a Taiwanese supplier of 3G and 4G smartphones and tablets.
 (Brismark Decl. ¶ 113.) Effective December 31, 2014, Ericsson and HTC entered

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 into a          global cross-license agreement. (Ex. 1275.) Under this agreement,
 Ericsson and HTC provided each other with worldwide licenses to their respective
 patents necessary to comply with the 2G, 3G, CDMA, WiFi, and/or 4G standards,
 Ericsson provided a release for HTC’s unlicensed 2014 sales, and HTC paid
 Ericsson             . (Id.) HTC sales of 2G products are negligible, so both
 experts calculated only 4G and 3G rates.

        Both sides have unpacked this license according to Ericsson’s high
 projections, and TCL has also unpacked it with the available IDC data. (Ex. 5316
 at 11 (Ericsson business case calculations); Exs. 1232, 1234 (TCL business case
 calculations); Exs. 1232, 1233 (TCL IDC calculations).)

       HTC Revenue: Both experts are close enough to be virtually identical for
 the purposes of unpacking. According to Ericsson’s business case, HTC would
 earn
           . Based on IDC data, HTC would earn $11,653,381,244 in 4G revenue
 and $2,600,958,978 in 3G revenue for the two years covered by IDC data.

       Net Balancing Payments: Because the license required HTC to make its
       n payment at the beginning of the license, no discount rate needs to be
 applied to royalty payments. (Kennedy Decl. ¶ 183.) For his calculations based
 on IDC data, Dr. Lynde applied               of the             lump sum payment
 because IDC data covers two out of the              covered by the HTC license
 and release. (Lynde Decl. ¶ 101.) The Court adopts these figures for the net
 balancing payment.

        Ericsson Revenue: Kennedy and Dr. Lynde agree that the Ericsson business
 case for HTC includes Ericsson’s estimates of its own 4G revenue of around $19.6
 billion from 2014-2016. The HTC business case does not contain projections for
 Ericsson’s 3G revenue. Kennedy appears to use Ericsson’s 3G revenue from the
 LG business case. (Ex. 5316 at 13.) Dr. Lynde provided no value for Ericsson’s
 3G revenue because “[t]he Ericsson Business Case for HTC did not model
 Ericsson 2G/3G revenues.” (Exs. 1231, 1232.) However, neither expert directly
 addresses the relevant question, which is whether the cross-license with HTC for
 its 3G SEPs provided Ericsson with value that needs to be unpacked. Because Dr.
 Lynde determined that HTC did have 3G infrastructure SEPs, the value they added
 to HTC’s consideration needs to be unpacked to determine Ericsson’s 3G effective

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 royalty rate. (Ex. 1239.) The Court will follow Kennedy in using Ericsson’s
 estimates of its own 3G revenue from the LG Business case. (Ex. 4069.)
 According to Ericsson’s business cases, from 2014-2016 it would earn
 $18,319,314,937 in 4G revenue, and $8,510,906,341 in 3G revenue. For the
 period covered by IDC data, Ericsson would earn $11,385,908,345 in 4G revenue,
 and $6,033,282,125 in 3G revenue.

      PSR: As the Court explained above, it has adopted Dr. Lynde’s PSRs. His
 PSRs for HTC are 13.5 for 3G and 8.31 for 4G.

       Conclusion: Having now established the necessary inputs, the Court applies
 the unpacking formula for each projection. HTC’s rates based on each revenue
 calculation are the following:

                       Business Case             IDC Data
 3G:
 4G:

           6. The ZTE License

       ZTE is a China-based vendor of mobile phones and Ericsson’s competitor in
 the market for network infrastructure equipment. Ericsson has two separate
 global patent license agreements with ZTE: a 2G/3G               executed in
 2011 and amended in 2015, and an 4G                effective on April 1, 2014,
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 with an amendment date on July 1, 2016. (Ex. 1197 (2011 2G/3G license); Ex.
 1200 (2015 amended 2G/3G license); Ex. 1194 (2014 4G license); Ex. 4040 (2016
 amended 4G license).) The 3G license expires                     . (Kennedy
 Decl. ¶ 153.) Both amended licenses ultimately expire                     . (Ex.
 1200 at 1; Ex. 4040 at 4.)
                        (Brismark Decl. ¶ 127.)

        Ericsson prepared a business cases for both the 2015 amended 2G/3G
 license and the 2014 4G license. (Ex. 4855; Ex. 4023.) Ericsson also prepared
 another business case for ZTE’s sales in China, which may have been used as part
 of negotiating the original 2014 4G license. (Ex. 1196.)

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      This last amendment was retroactive and not actually signed until October 2016.

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        Kennedy unpacked the 2015 amended 2G/3G license, and the 2014 4G
 license. (Kennedy Decl. ¶¶ 152-53.) He did not unpack the original 2011 2G/3G
 license, or the 2016 amended 4G license. Dr. Lynde did not unpack any of the
 ZTE licenses. (Lynde Decl. ¶ 145.) Dr. Lynde provided multiple reasons for why
 he could not unpack the ZTE 4G licenses. (Id. ¶¶ 145-151.) The most persuasive
 reasons are that: (1) the business cases used by Ericsson and analyzed by Kennedy
 did not provide regional breakdowns of sales that matched the territory
 breakdowns in the license, (Ex. 1194 at 27); (2) the 4G license became effective
 on April 1, 2014, and the amended 2016 4G license became effective on July 1,
 2016, replacing both the 2014 4G license, and the 2015 amended 2G/3G license;
 and (3) the 2014 4G license was valid for a fairly short period of time and
 therefore has minimal relevance to the question of ZTE’s effective 4G royalty rate.
 (Lynde Decl. ¶¶ 145, 151.)

        Kennedy responded to some of Dr. Lynde’s criticisms in his rebuttal
 declaration, but he did not address these issues. (Kennedy Rebuttal Decl. ¶¶ 70-
 72.) When cross-examining Dr. Lynde, counsel for Ericsson attempted to show
 that Ericsson’s business case did provide regional breakdowns, but his questions
 missed the mark. (TT (Sealed) Feb. 16, 2017, pp. 14-15.) Ericsson’s business
 case for the 2014 4G ZTE license clearly contains regional breakdowns, but the
 breakdowns do not match the regional breakdowns in the license agreement. The
 license contains separate rates for China, Territory 1, and the rest of the world,
 which it calls Territory 2. (Ex. 1194 at 7.) Territory 1 includes virtually all of
 Europe, and countries such as the United States, Canada, Korea, and Japan. (Id.)
 For the business case to be useful in unpacking this license, the regional
 breakdowns in the business case would have to correspond to the regional
 breakdowns in the license. However, Ericsson’s business case contained
 breakdowns ZTE revenue for China, the United States and Western Europe
 (combined for infrastructure, separated for handsets), and the rest of the world
 (RoW). (Ex. 4023.) It is unclear what Ericsson’s business case considers Western
 Europe, but it would be hard to accept that it included countries in Asia and North
 America. By having regional breakdowns that included only part of Territory 1,
 Kennedy’s unpacking moved many countries from Territory 1 to Territory 2, and
 therefore calculated that ZTE would pay royalties for sales in those countries at
       instead of       . The Court does not know how much Kennedy’s overall
 rates were impacted by relying on data that did not correspond to the territory



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 definitions in the license. The Court therefore does not accept the results of
 Kennedy’s unpacking analysis of the 2014 ZTE 4G license.

         The Court also found it could not unpack the 2015 amended 2G/3G license.
 This license required ZTE to pay
                                                                          where the
 entire functionality is provided by Qualcomm, who has pass-through rights with
 Ericsson. (Ex. 1200 at 2; Kennedy Decl. ¶ 153.) For Option A, Option B, and
 Ericsson’s license agreement with LG, Ericsson agreed that if the licensee had
 pass-through rights from Qualcomm it will not owe additional 3G royalties.
 (Brismark Decl. ¶¶ 93, 120.) It is unclear why Ericsson treated ZTE’s devices
 with pass-through rights differently than those made by LG and TCL. It is
 possible that the        license for these devices was actually Ericsson’s royalty
 rate for its    SEPs in a device with                          . This is supported by
 Ericsson’s reference rates from October 2015, which suggest a range of 1%-1.3%
 for 2G SEPs for devices with Qualcomm chipsets. (Ex. 59.) It could also be that
 the        represents a royalty for 3G standards besides WCDMA. Brismark does
 not even mention the rate for devices with pass-through rights in his summary of
 this license. (Brismark Decl. ¶ 128.) Kennedy unpacked the license as if the
 revenue from devices with pass-through rights is 3G revenue. (Ex. 5316 at 18.)
 However, without knowing ZTE’s pass-through rights it is impossible to know
 whether the        that ZTE must pay is actually for 2G SEPs, 3G SEPs, or
 something else entirely.

        In addition, despite the 2015 amended 2G/3G license containing express
 percentage rates for 3G units of                , and              devices with pass-
 through rights, Ericsson’s preferred unpacking calculated ZTE to be paying           ,
 which is higher than Ericsson’s reference rates for 3G. (Ex. 59.) However,
 Brismark states that Ericsson uses its reference price sheets as a starting point in
 its negotiations, in part specifically so that Ericsson can ensure that it complies
 with FRAND. (Brismark Decl. ¶ 71.) That Kennedy calculated an effective rate
 which is higher than the rates that Ericsson says it starts with is difficult to
 understand.

       For these reasons, the Court does not accept Kennedy’s unpacking of ZTE’s
 2015 amended 2G/3G license.



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       D. The Terms of Offers A and B.

       As explained above, the Court ordered Ericsson to file its FRAND
 contentions as part of this litigation. (Docket No. 120.) Ericsson eventually filed
 two offers, Option A and Option B. (Docket No. 138, 205.)

       Under Option A, TCL would pay $30 million for its first $3 billion in
 handset sales for any standard, implying a 1% effective royalty rate. (Ex. 458.)
 For sales after $3 billion a year, TCL would pay a running percentage royalty of
 0.8% for 2G GSM/GPRS, 1.1% for 2G EDGE, 1.5% for multi-mode 3G, and 2.0%
 for multi-mode 4G. For all running royalties (including those for external modems
 and personal computers), TCL would receive a 50% discount for sales in China.

         Neither expert unpacks Option A’s handset royalties to a percentage rate.
 The Court therefore unpacks Option A to determine the effective rate that TCL
 would have to pay because of the unique multi-standard lump sum provision that
 covers a fixed amount of sales and then turns into a running percentage rate per
 standard. If TCL sells exactly $3billion, then it will have to pay Ericsson 1%, but
 if it sells more or less than that, its effective rate for each standard would be
 somewhere between 1% and the express running royalty rate for sales after $3
 billion, less the China discount. Option A does not specify how to determine
 which sales are part of the $3 billion. For example, if TCL sells $4 billion, does it
 pay $30 million for the first $3 billion in sales, the last $3 billion, or perhaps the
 the $3 billion with the lowest royalty rates? The Court assumes that Option A
 allocates the $3 billion and corresponding lump sum payment proportionally by
 standard according to TCL’s revenue breakdown for that year. The Court also
 assumes that 20% of TCL’s sales were in China. (Ex. 1252; see Ex. 5311.) The
 Court unpacks Option A as a straight one-way license, declines to apply a discount
 rate, and unpacks it using TCL’s actual 2014 and 2015 sales data. (Ex 1252.)
 TCL’s net balancing payments each year per standard consists of the $30 million
 lump sum apportioned per standard by revenue, plus the running percentage
 royalty for each standard on its share of revenue over $3 billion. The Court
 ignores TCL’s licensed 2G sales for the first quarter of 2014 because even if 100%
 of TCL’s 2G sales from that quarter were licensed, its impact on the final results is
 negligible.




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       The Court calculates that for 2014 and 2015 combined, Option A would
 have required TCL to pay 1.0079% for 2G, 1.0535% for 3G, and1.0738% for 4G.

         For 2G and 3G external modems, TCL would pay 1.5% for 2G and 3G with
 a floor of $0.40 per product, and for 4G external modems it would pay $3 if TCL
 sold them for more than $60, and $2 if they sold them for less than $60. (Id. at
 10.) For personal computers, TCL would pay $0.5 for GPRS, $0.75 for EDGE,
 $2.25 for 3G single mode, $2.75 for 3G multi-mode, and $3.5 for multi-mode 4G.
 (Id. at 11.)

       Under Option B, for mobile phones, TCL would pay percentage running
 royalty rates as follows: 0.8% of the net selling price for 2G GSM/GPRS, 1.0%
 for 2G EDGE, 1.2% for 3G, and 1.5% for 4G with a $2.00 floor and a $4.50 cap.
 (Ex. 459.) For external modems, TCL would pay $0.75 per unit for 2G or 3G, and
 1.5% of the net selling price for 4G with a $2.00 floor. (Id.) For personal
 computers, the rates are the same as the non-China rates in Option A. (Id.)

         While 4G rate for Option B is expressed as a running percentage royalty, it
 still needs to be unpacked because 4G units that are sold for less than $133 will
 pay a higher effective percentage because of the $2 per-unit floor. Using TCL’s
 actual sales data for 2014 and 2015, Dr. Lynde calculated that because of the floor
 TCL would expect to pay $28,696,918 on 4G royalties, based on $1,443,651,809
 in total 4G revenue. (Ex. 1253.) Option B therefore unpacks to an effective 4G
 royalty rate of 1.9878% over 2014 and 2015. Option B’s 2G GSM/GPRS and 2G
 EDGE rates blended by revenue per standard from 2014-2015 result in a 0.8701%
 blended 2G royalty rate.

       1. The Effect of Post Offer A and B Licenses.

        Licenses for two the six firms which the Court has identified as
 relevant–Apple and Huawei–came into effect after Offers A and B were made.
 The Apple license was executed on December 19, 2015. (Ex. 5331 at 1.) The
 Huawei license was executed on January 13, 2016. (Ex. 1277.) The Court finds
 these rates to be informative, but declines to use them for a direct comparison in
 the FRAND analysis for several reasons.




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        First, the concept of “most favor nation,” or here “most favored licensee,”
 was never part of the ETSI FRAND equation, and in fact was rejected. (Bekkers
 Decl. ¶ 60.) Second, as a practical matter, Ericsson could not have been expected
 to factor into Offers A and B rates that had yet to be determined. Third, in many
 instances, Ericsson’s business cases projected declining ASPs, and thus a lower
 economic return in later years. (E.g. Ex. 4936 (Samsung Business Case); Ex. 4069
 (LG Business Case); Ex. 4929 (HTC Business Case).) In some sense, Huawei and
 Apple are reflective of the declining returns already assumed in the licenses which
 the Court finds comparable.

       The Court uses the Apple and Huawei rates as bench marks to test
 reasonableness of the license comparisons which it uses, but not as absolute
 standards which must be met.

       E. Competitive Harm.

         Ericsson’s experts suggest that discrimination must have the effect of
 impairing the development or adoption of standards. (Ericsson FOF, ¶ 306.)
 While both Dr. Teece and Dr. Lynde took this position, the Court finds that harm
 to the competitor firm offered discriminatory rates is sufficient. To be sure, one of
 the goals ETSI is to foster standardization and its resultant benefit to all firms, but
 that is not to the exclusion of protecting individual harmed firms. Indeed,
 Ericsson would engraft into the FRAND analysis the distinction which American
 antitrust law makes between the harm to competition, which is actionable, and
 mere harm to a competitor which is not. See Brunswick Corp. v. Pueblo Bowl-O-
 Mat, Inc., 429 U.S. 477, 488 (1977). The Sherman Act and its long history
 provide no guide to understanding ETSI’s non discrimination under FRAND.

 V.    Ericsson’s Offers to TCL were Discriminatory


        The Court found the following rates on the charts below based on each
 revenue source. However, Dr. Lynde’s 3G rates are technically blended 2G/3G
 rates. The charts demonstrate two things. First, the Court’s analysis and the
 parties’ analysis were reasonably congruent. Second, the rates among firms
 differed, but they also in large measure showed a definable cluster.



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       The Court now compares rates of comparable licensees against the rates
 Ericsson asked TCL to pay in Option A and Option B, based on when Ericsson
 signed each license and offered Option A and Option B in this case.




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       Discrimination cannot be judged based solely on whether an offer
 discriminates on the day it is made because license agreements last for multiple
 years. To determine whether a license is discriminatory, it must be compared
 against what similarly situated firms are paying throughout the entire course of the
 proposed license. Figure 8 shows the years that TCL would have to pay the rates
 in Option A and Option B against the rates similarly situated are paying for those
 same years.

       The Court readily acknowledges that these unpackings are not perfect.




 However, by any measure, Option A and Option B are radically divergent from the
 rates which Ericsson agreed to accept from licensees similarly situated to TCL.
 TCL has carried its burden and demonstrated that Option A and Option B are
 discriminatory and do not meet FRAND terms.

 VI.   Setting a FRAND Rate.

        Having found that Option A and Option B were not fair or reasonable and
 were discriminatory, the Court must now set a prospective rate. The Court begins
 by looking at the combination of rates derived from the top down and comparable
 license analyses. At this stage it is important to remember that the comparable

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 licenses unpacked to a “global” rate, while the top down analysis resulted in a U.S.
 rate, along with a modification for sales outside the Unite States which will also
 have to be added. In order to compare rates calculated from the top down analysis
 and the comparable license analysis, the comparable license rates must be
 converted to U.S. rates.

       The Court starts with the assumption that the global value of a 4G license
 equals the value of the license in the U.S. plus the value of the license outside the
 U.S. Essentially, that the whole must equal the sum of its parts.




 Recall from above that:




 Combining these two formulas,




 In the top down section the Court adopted Dr. Leonard’s finding that Ericsson’s
 patent strength outside of the United States for 4G was based on the floor set by
 Ericsson’s patent strength in China because TCL manufactures its devices in
 China. Ericsson’s 4G patent strength in China is 69.80% of its U.S. patent
 strength. Adding this to the above formula,




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 This can be restated as:




        The Court’s unpacked rates are the global rates, and the Court uses IDC data
 to determine each licensee’s proportion of sales in the United States. (Ex. 1273.)
 Based on the IDC data, the Court determined the U.S. rate below for each
 comparable licensee. On average, this resulted in a 30.35% increase in the
 licensee’s rate.




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        For 3G Ericsson’s patent portfolio in China sets a global floor, except for
 sales in the United States and Europe. Ericsson’s 3G patent portfolio in Europe is
 87.90% of its U.S. portfolio, and it’s China portfolio is 74.80% of its U.S. rate.
 Because the Court lacked the data to determine Samsung, Huawei, or HTC’s sales
 in Europe, the Court will multiply their 3G global rates by 1.25 to create a U.S.
 rate. This resulted in the following U.S. rates:




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      Now that the comparable license rates are stated in the same terms as the top
 down rates they can be compared against each other.




        In this case the comparable licenses and top down analysis act as a
 reasonable check on each other, with the top two rates and bottom two rates each
 containing one result from each analysis. In order to further narrow down the
 data, the Court will discard the top two and bottom two results to determine the
 central data points for a FRAND rate for Ericsson’s 4G SEP portfolio.




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        The Court acknowledges that it cannot determine an appropriate FRAND
 royalty with exactitude. However, with abundant and largely congruent data
 before the Court, the Court finds that 0.45% is an appropriate FRAND for
 Ericsson’s 4G SEP portfolio in the United States. This means that the FRAND
 rate for Ericsson’s portfolio for the Rest of the World (“RoW”) is 0.314%. Below
 is a chart comparing the Court’s U.S. rate, the Court’s RoW rate, all 4G rates, and
 Option A and Option B converted to a comparable U.S. rate.




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  Figure 14 shows the 3G numbers previously accepted by the Court:




         Here the top down analysis gave lower royalty rates than the comparable
  licenses analysis. The Court questions the reliability of the 3G rates from the top
  down where the difference between those rate and the market derived rates differ
  by more than 100%. The Court does note that 3G rates were less important to
  Samsung, HTC, and Huawei, who all generate substantially more 4G revenue than
  3G revenue. The top down numbers reflect a U.S. rate, and modifiers must be
  applied to determine rate for Europe and the RoW. The Court adopts a 3G U.S.
  royalty rate of 0.30% for Ericsson’s 3G SEPs. This means that Ericsson’s 3G SEP
  royalty rate in Europe is 0.264%, and the RoW rate is 0.224%. These figures
  shown in Figure 15 below against the other 3G data points used by the Court, as
  well as the rates for Option A and Option B.




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         As explained above, the Court calculated 2G rates based on the top down
  analysis, but could not reliably unpack 2G rates from any comparable licenses.
  The Court therefore adopts its results from the top down section of 0.16% for 2G
  sales in the U.S., 0.12% for 2G sales in Europe, and 0.09% for 2G sales in the
  RoW.




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        Figure 17 summarizes the Court’s effort to establish FRAND rates:




  VII. Determing a Release Payment for TCL’s Unlicensed Sales.

         Ericsson had the burden of proving that it was entitled to a release payment,
  and the FRAND amount of that release payment. (E.g., Docket No. 1278 at 19-
  21.) Ericsson believes the release payment should be calculated at the prospective
  rate set by the Court. (Ericsson FOF, ¶ 351.) TCL argued that it should not owe a
  release payment because Ericsson failed to meet its burden because it failed to
  provide an amount that it believed TCL owed as a release payment, and because
  Ericsson harassed TCL with litigation in demanding the non-FRAND rates in
  Option A and Option B. (TCL COL, ¶ 74.) Alternatively, TCL’s expert Dr.

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  Leonard concluded that TCL owed either $17,780,024 or $23,715,192, depending
  on whether certain sales are time-barred. (Leonard Decl. ¶ 152.) The Court
  adopts Ericsson’s position that the past unlicensed sales should be calculated at
  the prospective rate, and finds that none of TCL’s sales from 2007 onwards are
  time-barred.

         The two elements Ericsson had to prove were its entitlement to a release
  payment and the FRAND amount of that release payment. (E.g., Docket No. 1278
  at 19-21.) Ericsson met its burden to prove that TCL made unlicensed sales.
  (E.g., Ex. 142.) Ericsson never proposed a dollar amount for a release payment in
  a witness declaration, its trial brief, or its proposed findings, but buried in
  Kennedy’s report calculating the effective rates for Option A and Option B there
  are numbers that do appear to be a calculation of TCL’s royalties due under
  Option A and Option B for each year from 2007-2014. (Ex. 5315 at 4, 8.)
  Although Kennedy never presented them as such, at closing arguments Ericsson’s
  counsel argued that based on these numbers, from 2007-2014 TCL would owe
  $97.2 million under Option A, or $98.5 million under Option B. Because the
  Court has found that Option A and Option B were not FRAND, the Court cannot
  accept either of these totals. In addition, Kennedy’s calculations are inherently
  flawed because they ignore the fact that TCL’s 3G devices already licensed to
  Ericsson’s 3G SEPs because they incorporate Qualcomm chipsets. Ericsson’s
  evidence therefore does not carry its burden regarding the amount of the release
  payment. However, as with all cases, the Court looks to all of the evidence
  regardless of which side produced it. (Ninth Circuit Model Civil Instruction No.
  1.6.) Here, the Court looks to other evidence in the record to calculate a FRAND
  release payment despite the shortcomings in Ericsson’s evidence.

         In order to determine the amount that TCL owes Ericsson for its past
  unlicensed sales, the Court must determine the appropriate revenue figures,
  discount them, and then apply the final rates calculated above. The Court adopts
  Dr. Leonard’s figures for TCL’s unlicensed revenue from 2007-2015. (Ex. 1124
  at 5.) The Court applies the same discount rate it did to the past sales figures for
  comparable licensees of 0.56% to reflect the fact that TCL received the benefit of
  Ericsson’s SEPs well before it must pay for them. The Court discounts these
  figures to the end of 2017 and uses the midyear convention for simplicity. Finally,
  the Court applies the final rates to the discounted revenue numbers concludes that



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  TCL must pay Ericsson $16,449,071 as a release payment for unlicensed sales
  from 2007-2015.

         In calculating the revenue figures for each standard, the Court treats all of
  TCL’s 3G sales as multi-mode devices that have pass-through rights to Ericsson’s
  3G SEPs, and thus subject to the 2G rate. The Court acknowledges that this
  creates a very real risk of stacking,44 because Ericsson demanded that TCL pay 2G
  royalties on a 3G multi-mode devices as if they did not have 3G functionality.
  However, such devices do have 3G functionality, and therefore receive far less
  value from Ericsson’s 2G SEPs because they only use 2G functionality when they
  cannot connect to a 3G network. Ericsson should have proposed a methodology to
  determine the marginal value that 2G adds to a 3G device, which would be some
  proportion of the 2G rate.45 If TCL’s 4G devices also have similar pass-through
  rights, Ericsson also should have proposed a methodology to calculate a FRAND
  royalty rate on a 4G device which already has 3G functionality. Kennedy’s
  calculation of the release payments under Option A and Option B requires TCL to
  pay the full 3G rate in each offer for all of TCL’s 3G sales. (Ex. 5315 at 4, 8.)
  This ignores the reality that TCL’s 3G devices are already licensed to Ericsson’s
  3G SEPs, and ignores both the express terms of those offers the Court’s grant of
  Ericsson’s own motion for partial summary judgment that such a term is not a
  breach of FRAND. (Ex. 458 at 11; Ex. 459 at 9-10; Docket No. 1055 at 8.)
  TCL’s expert Dr. Leonard acknowledged that TCL should only have to pay a
  proportion of the 2G rate on its 3G devices with pass-through rights, but
  “conservatively” included the full amount in his calculations. (Leonard Decl. ¶
  150.) Because Dr. Leonard calculated a blended 2G/3G rate, this means that in his
  calculations it did not matter whether TCL’s devices had to pay a 2G or 3G rate.
  Because the Court calculated separate 2G and 3G rates, the Court’s approach
  actually leads to a smaller payment than the FRAND amount calculated by Dr.
  Leonard. While there are real concerns about stacking in the future if Ericsson
  believes that it is entitled to the full rate for each standard all backwards-
  compatible devices, such concerns are not present in this case because Ericsson is
  only demanding multi-standard royalties on 3G devices with Qualcomm chipsets,


  44
     Stacking in this sense is Ericsson’s proposed approach of literally stacking the full price of each
  standard for backwards-compatible devices for devices that have 3G pass-through rights.
  45
     The Court granted summary judgment for Ericsson that the Pass-Through Rates term for the
  prospective license did not violate FRAND. (Docket No. 1055 at 8.)

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  and the Court’s calculated 2G and 3G rates are relatively low compared to the total
  aggregate royalties for 2G and 3G.


         The FRAND amount for TCL’s unlicensed sales from 2007-2015 is
  $16,449,071. For sales from 2016 to the commencement of the license in this
  case, the release payment must be calculated as described above using the Court’s
  final rates.

                              PART 5: CONCLUSIONS OF LAW

  I.     Jurisdiction and Venue.

         The Court has jurisdiction over these actions pursuant 28 U.S.C. §§ 1331,
  1338(a), 1367(a), 2201, and 2202. In its July 28, 2014 Order, the Court explained
  in detail the basis for jurisdiction under 28 U.S.C. §§ 1331 and 1338. (Docket No.
  39, pp. 6-8.) The facts requisite to federal jurisdiction are admitted. (Docket No.
  1376, Pretrial Conference Order, pp. 1-2.)

         Venue for these actions if proper under 28 U.S.C. §§ 1391(a), (c), and (d).

  II.    Applicable Law.

         As discussed in the background section, the ETSI IPR scheme creates a
  contract with third party obligations. The arrangement is governed by French
  law.46 (Ex. 223, Clause 6.)

  III.   Legal Principles Underlying Court’s Factual Analysis.

  46
    Federal Rule of Civil Procedure 44.1 provides that once a party gives notice of its intent to raise
  an issue of foreign law, it becomes the district court’s responsibility to determine the relevant
  foreign law and apply it to the issue at hand. Fed. R. Civ. P. 44.1; Republic of the Philippines v.
  Marcos, 862 F.2d 1355, 1361 (9th Cir. 1988) (en banc). In making this determination, courts may
  consider “any relevant material or source, including testimony, whether or not submitted by a
  party or admissible under the Federal Rules of Evidence.” Fed. R. Civ. P. 44.1. Here the Court
  had the benefit of well-qualified legal experts on both sides. (Fauvarque-Cosson Decl.; Stoffel-
  Munck Decl.)



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        The Court summarizes the legal principles which guide its factual analysis.

        A. Valuing SEPs.

         “When the standard becomes widely used, the holders of SEPs obtain
  substantial leverage to demand more than the value of their specific patented
  technology.” Microsoft Corp. v. Motorola, Inc., No. C10-1823, 2013 WL
  2111217, at *10 (W.D.Wash. Apr. 25, 2013) This monopoly power can lead
  standard-essential patent owners to overvalue their patents and “engage in
  anti-competitive behavior.” Microsoft Corp. v. Motorola, Inc., 795 F.3d 1024,
  1031 (9th Cir. 2015). “The tactic of withholding a license unless and until a
  manufacturer agrees to pay an unduly high royalty rate for an SEP is referred to as
  ‘hold-up.’” Id.; see also Ericsson v. D-Link, 773 F.3d at 1209.

         Because of these risks, standards organizations require that patents be
  licensed on FRAND terms and conditions. See Broadcom Corp. v. Qualcomm Inc.,
  501 F.3d 297, 313-14 (3d Cir. 2007). The FRAND obligation is designed to
  “encourag[e] participation in standard-setting organizations but also ensur[e] that
  SEPs are not overvalued.” Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1332 (Fed.
  Cir. 2014) (overruled on other grounds by Williamson v. Citrix Online, LLC, 792
  F.3d 1339, 1349 (Fed. Cir. 2015)); In re Innovatio, 2013 WL 5593609, at *9
  (“[P]atent hold-up is a substantial problem that [F]RAND is designed to
  prevent.”).

        In valuing SEPs, courts have made clear that “the patentee’s royalty must be
  premised on the value of the patented feature, not any value added by the
  standard’s adoption of the patented technology . . . [so that] the royalty award is
  based on the incremental value that the patented invention adds to the product, not
  any value added by the standardization of that technology.” Ericsson v. D-Link,
  773 F.3d at 1232-33 (emphasis in original); Commonwealth Scientific & Indus.
  Research Organization v. Cisco Systems, Inc., 809 F.3d 1295, 1305 (Fed. Cir.
  2015) (“CSIRO”); In re Innovatio, 2013 WL 5593609 at *9 (“The court’s
  [F]RAND rate therefore must, to the extent possible, reflect only the value of the
  underlying technology and not the hold-up value of standardization.”).

        B. The Non-Discrimination Obligation.



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        No American cases have definitively addressed the non-discrimination
  requirement.

         Testifying as an economics expert rather than an expert on French law, Dr.
  Teece testified that FRAND is not violated if there is a “smidgen” of a difference
  in rates between similarly-situated companies. He defined a “smidgen” to mean a
  “small difference,” which would not extend to the difference between a 0.5% and
  2% rate. (TT, Mar. 1, 2017, pp. 102:18-104:8.) Ericsson’s expert Dr. Huber
  opined that FRAND anticipates a range of rates depending on circumstances, and
  that there is not necessarily a single fixed rate which satisfies FRAND. (Huber
  Decl. ¶¶ 36-42.)

          The Court concludes there is no single rate that is necessarily FRAND, and
  different rates offered to different licensees may well be FRAND given the
  economics of the specific license. (Id.) Based on the drafting history of ETSI’s
  IPR Policy, Dr. Huber concluded that “the drafters did not intend
  ‘non-discriminatory’ to ensure the exact same treatment or identical license terms
  for all licensees to the same portfolio of essential patents.” (Id. ¶ 44.)
  Significantly, Dr. Huber was the only legal expert with experience in and an
  understanding of the ETSI standards process to opine on the meaning of non-
  discrimination. It necessarily follows that TCL cannot claim that anything other
  than the nominally lowest rate in marketplace is per se discriminatory.

         C. The Role of Licenses in the Analysis.

         Licenses are a proper measure for determining whether an offered rate
  meets the FRAND requirements, but not the exclusive measure. While there may
  flaws in the consideration of licenses, the Court does not accept TCL’s seeming
  blanket rejection of comparable licenses. TCL also raises a question whether all
  or any comparable licenses are in fact fair and reasonable, and why a licensee
  agreeing to a rate makes it by definition fair and reasonable. TCL COL, ¶ 20;
  See In re Innovatio, 2013 WL 5593609 at *39 (Judge Holderman explaining that
  determining what is FRAND requires more “quantitative and analytical rigor” than
  simply deferring to the patent owner’s licenses).47

  47
    Elsewhere Ericsson has argued “[t]he fact that many companies have entered into WCDMA
  licenses with Qualcomm since 1999 does not establish that the royalties or other terms included
  in those licenses are fair, reasonable and non-discriminatory.” (Ex. 77 at 6.)

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         Actual licenses to the patented technology at issue are probative as to what
  constitutes a fair and reasonable royalty for those patent rights because such actual
  licenses reflect the economic value of the patented technology in the market place.
  CSIRO, 809 F.3d at 1303; Ericsson v. D-Link, 773 F.3d at 1227; Apple v.
  Motorola, 757 F.3d at 1315.

          The Court finds that by looking at an array of licenses, concerns about
  FRAND compliance of any particular license, asymmetric information, and
  litigation pressures are substantially diminished. (See Leonard Decl. ¶ 50;
  Leonard Rebuttal Decl. ¶ 4; Lynde Decl. ¶¶ 40-42; Ordover Decl. ¶ 48.) TCL does
  acknowledge that prior licenses have “some” value, especially for larger licensees
  with the resources to test an SEP-holder’s demands. (TCL COL ¶ 29.) In the end,
  TCL’s concerns are overblown given the substantial congruence the Court found
  in its 4G results between the top down and comparable licenses analyses. The fact
  that TCL’s and Ericsson’s differing approaches and the Court’s assessments of
  them provide remarkably similar ranges convinces the Court that its final rates are
  FRAND.

        D. Similarly Situated Firms.

        For purposes of non-discrimination component of FRAND, one must look
  to similarly situated firms. Here those firms are: Apple, Samsung, Huawei, LG,
  HTC, and ZTE. None of the legal experts opined on how one would define the
  appropriate set of firms to assess discrimination.

        E. American Case Law re Royalties.

        The Court acknowledges that Georgia-Pacific Corp. v. United States
  Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970), and its progeny establish a
  multi-faceted test for establishing a reasonable royalty in a patent infringement
  case. Ericsson’s approach using comparative licenses partially overlaps Georgia-
  Pacific. However, the Court did not find useful a full-blown Georgia-Pacific
  analysis in the unique context of a FRAND dispute.

  IV.   The FRAND Obligation.




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         In assessing the breach of contract claim, the parties focus on two
  components: the mutual duty of the parties to negotiate in good faith and the duty
  to offer a rate which are in fact FRAND.

        The Court finds that Ericsson negotiated in good faith and did not commit a
  breach of contract by virtue of its conduct. Indeed, negotiations came to an end
  when TCL initiated this suit shortly after it had received an offer to which it
  signaled an initial favorable reaction. (See Ex. 37 at 2.)

       The parties take diametrically opposing positions on whether the licensor
  must make an offer which in fact meets all FRAND requirements.

          In TCL’s view, the duty under French law to negotiate in good faith is not
  the full extent of the FRAND duty. (Stoffel-Munck Rebuttal Decl. ¶ 22; TT, Mar.
  1, 2017, pp. 99:19-100:12.) Rather, the contractual duty is to grant a FRAND
  license. (Stoffel-Munck Rebuttal Decl. ¶ 22.) TCL contends that this is consistent
  with the plain language of the policy which refers to a duty to negotiate in good
  faith, as well as a duty to be prepared to grant FRAND licenses. The ETSI Guide
  states that one of the “rights” granted to members is “to be granted licenses” on
  FRAND terms. (Id. ¶¶ 23-31 (emphasis supplied); ETSI Guide on IPR § 1.4, Ex.
  224 at 4.)

         In Ericsson’s view, there is a range of offers which can satisfy the FRAND
  obligation. The FRAND commitment does not require each offer and
  counter-offer exchanged during the course of negotiations to be FRAND. Huber
  Rebuttal Decl. ¶¶ 29-29; cf. Ericsson v. D-Link, No. 6:10-CV-473, 2013 WL
  4046225, at *25 (E.D. Tex. Aug. 6, 2013) (aff’d in part, vacated in part, rev’d in
  part, 773 F.3d 1201 (Fed. Cir. 2014)) (holding that, in RAND licensing under the
  IEEE patent policy, “both sides’ initial offers should be viewed as the starting
  point in negotiations. Even if a court or jury must ultimately determine an
  appropriate rate, merely seeking a higher royalty than a potential licensee believes
  is reasonable is not a RAND violation”); Microsoft Corp. v. Motorola Inc., 864 F.
  Supp. 2d 1023, 1038 (W.D. Wash. 2012) (“Because the IEEE and the ITU
  agreements anticipate that the parties will negotiate towards a RAND license, it
  logically does not follow that initial offers must be on RAND terms.”). In sum,
  Ericsson believes there is no duty to bring good faith negotiations to conclusion



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  with an offer which is in fact FRAND; it need only be prepared to offer FRAND
  terms.

        The Court concludes that it need not resolve the legal question whether the
  FRAND duty under ETSI requires the licensor to offer rates which are in fact
  FRAND. There are two reasons. First, no damages will flow from any putative
  breach because the Court granted partial summary judgment on TCL’s damages
  claim, in part because the Court excluded evidence of legal expenses which had
  not been timely produced. (Docket No. 1061, pp. 20-21.) Second, while finding a
  breach would be necessary for granting specific performance under TCL’s breach
  of contract claim, it would also be superfluous.

         Both TCL and Ericsson assert claims for declaratory relief. (Docket No.
  1376, Pretrial Conference Order, 3, 6.) The Declaratory Judgment Act provides
  that a district court may “declare the rights . . . of any interested party . . . whether
  or not further relief is or could be sought.” 28. U.S.C. § 2201. The availability of
  declaratory relief depends on whether there is a live dispute between the parties,
  and a request for declaratory relief may be considered independently of whether
  other forms of relief are appropriate. Powell v. McCormack, 395 U.S. 486,
  517-518 (U.S. 1969). A declaratory judgment can then be used as a predicate to
  further relief, including an injunction. (Id. at 499 (citing 28 U. S. C. §2202).)

        TCL seeks a declaratory judgment that Ericsson has not offered TCL license
  terms conforming to applicable legal requirements, including failing to offer
  FRAND rates. (Docket No. 31, ¶113.)

         Ericsson seeks a declaratory judgment that Ericsson has (a) complied with
  its IPR licensing declarations to ETSI, ETSI’s IPR Policy, and any applicable laws
  during its negotiations with TCL in regard to FRAND terms for a license to
  Ericsson’s 2G, 3G, and 4G SEPs, and (b) in fact offered to grant TCL a license to
  Ericsson’s 2G, 3G, and 4G SEPs on FRAND terms. (Ericsson Inc v. TCL., Case
  No. 2:15-CV-02370, Docket No. 17, pp. 18-19.)

         Just as it would on the breach of contract claim, TCL bears the burden of
  proof on its declaratory relief claim, as well as on Ericsson’s claim for declaratory
  relief. (Docket No. 1074, p. 4.)



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  V. Options A and B are Not FRAND.

         As suggested by its findings of fact, the Court holds that TCL is entitled to a
  declaration that Offers A and B are not FRAND rates. TCL has carried its burden
  of showing that Options A and B are not FRAND. For like reason, TCL is entitled
  to a declaration of the FRAND rates here.

         Whether judged at the time the amended FRAND contentions were made in
  May 2015, or at the time of trial, Ericsson’s offers are not fair and reasonable, and
  are discriminatory. This is demonstrated not only by TCL’s evidence, but also
  Ericsson’s evidence. In particular, as of May 2015, Ericsson had already entered
  into licenses with Samsung, LG, and HTC–all of whom are similarly situated to
  TCL–at rates substantially lower than Option A and Option B. (TCL FOF, 40-42;
  TCL COL, 34-43; TT, 2/28/17, (Sealed Vol. 1) pp. 17:11-24, 20:24-23:3.) This is
  true whether one uses Dr. Lynde’s “business case” rate determinations, Dr.
  Lynde’s IDC rate determinations, or Kennedy’s “business case” rate
  determinations.

         Although the Court makes limited use of the Apple and Huawei licenses as
  reasonableness checks, Ericsson’s proposed rates are also discriminatory vis-à-vis
  these firms.

         Ericsson’s use of floors in its rates is itself discriminatory. In the absence of
  a credible showing that Ericsson’s SEPs add a measurable incremental value, there
  is no basis for essentially discriminating on the basis of the average selling price
  where a floor would result in a higher effective rate for lower priced phones.
  Here, the Court has rejected Kennedy’s ex Standard analysis. There is no predicate
  in this record for floors.

  VI.   Setting FRAND Rates.

       The Court finds that the following rate are supported by the record and
  mandated by the FRAND obligation under ETSI:




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  The rates which the Court adopts are both fair and reasonable and non-
  discriminatory.

  VII. Release Payment.

        Ericsson is entitled to a release payment that is calculated in the same
  manner, and with the same rates, as the going-forward rates adjudicated here,
  covering all of TCL’s unlicensed sales from January 1, 2007 onward.

  VIII. The Elements of the Adjudicated License.

        The Court sets out the terms of the FRAND license adopted here.

         With respect to End User Terminals (i.e., handsets and tablets), so long as
  they are TCL Products (as defined in Option B at §§ 1.7 and 1.25), TCL shall pay
  as a percentage of the Net Selling Price (as defined in Option B at § 1.16) the rates


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  set forth in Figure 17. In order to avoid confusion, products TCL sells under the
  Blackberry brand are TCL Products.

         With respect to the sale of External Modems and Personal Computers, so
  long as they are TCL Products (as defined in Option B at §§ 1.9, 1.20, 1.25), TCL
  shall receive a royalty-free license because the licenses for these devices have
  already been accounted for in the unpacking analysis for handsets.

         The License Period shall be five years from the date of the injunction which
  the Court enters. (Docket No. 1055, p. 9.) The license and related obligations
  shall extend to the TCL parties to this litigation and any company or other legal
  entity they control (i.e., more than 50% voting power). The present record does
  not permit the Court to calculate royalties for the period between the termination
  of the release period and the commencement of the injunction. In settling the form
  of injunction, the parties shall meet and confer to resolve the issue, and if unable
  to do so, the Court will receive additional evidence and resolve the issue. The
  royalty rates during this interim period shall be the same as adopted by the Court.

         TCL’s reporting and payment obligation shall be as set forth in sections 6.2
  and 6.3 of Option B. The license shall also include the terms for pass-through
  rights and the terms which the which the Court previously found to not be a breach
  of FRAND. (Docket No. 1055 at 6-8.)

         The FRAND amount to compensate Ericsson for TCL’s unlicensed past
  sales is $16,449,071.

        Because the Court’s final judgment will take the form of an injunction, as
  opposed to a fully integrated license agreement, certain terms and conditions must
  be modified or removed in order to give effect to an injunction. (See Docket No.
  1055 at 9.) The parties are directed to submit a proposed form of injunction that
  conforms to the Court’s findings and conclusions within thirty (30) days.


  Dated: March 9, 2018                          ______________________
                                                         James V. Selna
                                                     United States District Judge



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